     Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 1 of 212




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


ADVANTAGE BEHAVIORAL HEALTH
SYSTEMS; ALBANY AREA COMMUNITY                     Civil Action No.
SERVICE BOARD d/b/a ASPIRE
BEHAVIORAL HEALTH &                           _______________________
DEVELOPMENTAL DISABILITY SERVICES;
GEORGIA MOUNTAINS COMMUNITY
SERVICES d/b/a AVITA COMMUNITY                JURY TRIAL DEMANDED
PARTNERS; CLAYTON COMMUNITY
MH/SA/DS SERVICE BOARD; COBB
COUNTY COMMUNITY SERVICE BOARD;
COMMUNITY SERVICE BOARD OF
MIDDLE GEORGIA; GATEWAY
COMMUNITY SERVICE BOARD; GEORGIA
PINES COMMUNITY SERVICE BOARD;
HIGHLAND RIVERS COMMUNITY
SERVICE BOARD d/b/a HIGHLAND RIVERS
HEALTH; LOOKOUT MOUNTAIN
COMMUNITY SERVICE BOARD; MIDDLE
FLINT AREA COMMUNITY SERVICE
BOARD D/B/A MIDDLE FLINT
BEHAVIORAL HEALTHCARE; NEW
HORIZONS COMMUNITY SERVICE
BOARD; PINELAND BEHAVIORAL
HEALTH AND DEVELOPMENTAL
DISABILITIES CSB; RIVER EDGE
BEHAVIORAL HEALTH; COMMUNITY
MENTAL HEALTH CENTER OF EAST
CENTRAL GEORGIA d/b/a SERENITY
BEHAVIORAL HEALTH SYSTEMS;
SATILLA COMMUNITY SERVICES d/b/a
UNISON BEHAVIORAL HEALTH; and VIEW
POINT HEALTH


                                   1
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 2 of 212




                    Plaintiffs,

v.

TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.; ENDO HEALTH
SOLUTIONS, INC; ENDO
PHARMACEUTICALS INC.,; PAR
PHARMACEUTICAL, INC.; PAR
PHARMACEUTICAL COMPANIES, INC.,
F/K/A PAR PHARMACEUTICAL HOLDINGS,
INC.; QUALITEST PHARMACEUTICALS,
INC.; ALLERGAN PLC F/K/A ACTAVIS,
PLC; ACTAVIS LLC; ACTAVIS PHARMA,
INC. F/K/A WATSON PHARMA, INC.;
ALLERGAN FINANCE, LLC F/K/A ACTAVIS
INC. F/K/A WATSON PHARMACEUTICALS,
INC.; WATSON LABORATORIES, INC.;
ALLERGAN USA, INC.; MALLINCKRODT
LLC; SPECGX LLC; MCKESSON
CORPORATION; CARDINAL HEALTH INC.;
AMERISOURCEBERGEN DRUG
CORPORATION; J M SMITH
CORPORATION; and JOHN DOE
DEFENDANTS 1 through 80,

                   Defendants.

                                  COMPLAINT

     Plaintiffs, Advantage Behavioral Health Systems; Albany Area Community

Service Board d/b/a Aspire Behavioral Health & Developmental Disability

Services; Georgia Mountains Community Services d/b/a Avita Community

Partners; Clayton Community MH/SA/DS Service Board; Cobb County

                                      2
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 3 of 212




Community Service Board; Community Service Board of Middle Georgia;

Gateway Community Service Board; Georgia Pines Community Service Board;

Highland Rivers Community Service Board d/b/a Highland Rivers Health;

Lookout Mountain Community Service Board; Middle Flint Area Community

Service Board d/b/a Middle Flint Behavioral HealthCare; New Horizons

Community Service Board; Pineland Behavioral Health and Developmental

Disabilities CSB; River Edge Behavioral Health; Community Mental HealthCenter

of East Central Georgia d/b/a Serenity Behavioral Health Systems; Satilla

Community Services d/b/a Unison Behavioral Health; and View Point Health

(hereinafter collectively referred to as the “Georgia CSBs” or “CSBs”), hereby file

this Complaint pursuant to their statutory and common law authority against

Defendants Cephalon, Inc.; Teva Pharmaceutical Industries Ltd.; Teva

Pharmaceuticals USA, Inc.; Endo Health Solutions, Inc.; Endo Pharmaceuticals

Inc.; Endo International plc; Par Pharmaceutical, Inc.; Par Pharmaceutical

Companies,    Inc.   f/k/a   Par   Pharmaceutical    Holdings,    Inc.;   Qualitest

Pharmaceuticals, Inc.; Allergan PLC f/k/a Actavis, PLC; Actavis LLC; Actavis

Pharma, Inc. f/k/a Watson Pharma, Inc.; Allergan Finance, LLC f/k/a Actavis, Inc.

f/k/a Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Allergan USA,

Inc.; Mallinckrodt LLC; Mallinckrodt plc; SpecGx LLC; McKesson Corporation;


                                        3
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 4 of 212




Cardinal Health, Inc.; AmerisourceBergen Drug Corporation; J M Smith

Corporation; and John Doe Defendants 1 through 80 (Defendants are sometimes

referred to herein as “Manufacturer Defendants,” “Distributor Defendants,” or

collectively as “Defendants”) for Defendants’ violations of the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C. §§1961 et seq. (“RICO”),

creation of a public nuisance, violations of the Georgia Drug Dealer Liability Act,

O.C.G.A. §§51-1-46 et seq., and other causes of action related to their past and on-

going campaign of unlawfully, dangerously and deceptively marketing and

distributing opioids. The Plaintiff CSBs allege as follows:

                                INTRODUCTION

      1.     Dangerous opioid drugs produced and/or distributed by the

Defendants are killing people across Georgia at alarming rates, and the CSBs are

the first line responders at the center of Georgia’s opioid epidemic.

      2.     The CSBs’ role as opioid first line responders is even more

pronounced as a result of coronavirus, COVID-19, which has upended all facets of

American life, including the delivery of health care by the CSBs to those with

likely opioid abuse disorder.

      3.     It is the policy in the State of Georgia that no person shall be denied

care and treatment for drug dependency or drug abuse nor shall services be delayed


                                          4
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 5 of 212




at a facility of the state or a political subdivision of the state because of the

inability to pay for such care and treatment. 1

      4.     It is further the policy in the State of Georgia to hold those who create

and financially benefit from illegal drug markets responsible to pay civil damages

to persons who are injured as a result of such illegal drug use and proliferation.2

Those persons include “governmental entities, and others who pay for drug

treatments.”3

      5.     The Defendant Drug Manufacturers have generated billions of dollars

in drug sales through their deceptive and illegal marketing of opioids as safe and

effective with a low risk for addiction, and the Defendant Drug Distributors have

generated billions of dollars in drug distribution costs while failing to prevent the

diversion of dangerously excessive opioids in the State of Georgia.

      6.     As a result of the Defendants’ conduct, lives have been forever

altered, and the CSBs have suffered excessive expenditures and other significant

economic damages arising from their treatment of Georgians with likely opioid

abuse disorder.




1
  O.C.G.A. § 37-7-120.
2
  O.C.G.A. § 51-1-46.
3
  O.C.G.A. § 51-1-46(b).

                                           5
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 6 of 212




      7.      As further alleged below, the CSBs submit claims for the services

they provide to Georgians with likely opioid abuse disorder to government payors

such as the Georgia Department of Behavioral Health and Developmental

Disabilities (“DBHDD”) and Medicaid, and to private insurance companies just

like other healthcare providers. The CSBs also obtain funding from the counties

they serve.    Yet, the damages sought by the CSBs are unique to the CSBs

themselves. They are not pass-through entities. The CSBs seek the damages they

have specifically incurred as a result of Defendants’ conduct.

      8.      One Plaintiff CSB alone has calculated that its past costs related to

treating clients with opioid abuse or likely opioid abuse disorder have exceeded the

reimbursement it received from its funding sources by more than $17.3 million

dollars. The Plaintiff CSBs also project losses due to patients with opioid abuse

disorder or likely opioid abuse disorder missing their appointments as costing the

CSBs a combined $100 million in the past and in the years ahead.

      9.      In fact, the Plaintiff CSBs have calculated the costs of treating clients

with opioid abuse or likely opioid abuse disorder ranging from approximately $700

- $1,700 per year.

      10.     In total, the Plaintiff CSBs have spent over $155 million treating

patients with an opioid abuse or likely opioid abuse disorder in the past, and they


                                           6
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 7 of 212




anticipate spending nearly $250 million on these costs in the next fifteen years.

Combined with the cost of missed appointments, the total impact of Defendants’

illegal conduct on the Plaintiff CSBs is more than $500 million.

      11.   These costs are only going to continue as the damages caused by

Defendants’ continue to mount.

      12.   The CSBs bring this action pursuant to their statutory and common

law authority to redress the financial harm caused by Defendants’ improper

conduct and to recover damages and other relief to compensate the CSBs for the

excessive and significant costs they have borne as a result of Defendants’ tortious

conduct.

      13.   In communities with ever-climbing opioid addiction and overdose

death rates, the CSBs’ role in providing a comprehensive system of care for

substance abuse and mental health services has never been more critical. The

CSBs have borne the costs, both in money and heartache, of Defendants’ tortious

actions, which proximately caused and continue to cause injury and damage to the

CSBs. Accordingly, the CSBs bring this action to recover money and resources

the CSBs have spent to combat and otherwise respond to the opioid epidemic

throughout the State of Georgia. The CSBs seek all available: (a) damages for any

and all of the CSBs’ costs associated with Defendants’ unlawful conduct as well as


                                         7
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 8 of 212




losses sustained for uncompensated or undercompensated care provided to patients

with likely opioid abuse disorders; (b) damages for, and abatement of, the public

health epidemic which is a nuisance that Defendants have created, and as a result

of which, the CSBs have suffered special injuries; (c) other damages sustained by

the CSBs as a result of Defendants’ conduct; (d) treble damages; (e) disgorgement

of Defendants’ unjust profits; (f) punitive damages; and (g) any other equitable

relief within this Court's powers to redress and halt Defendants’ unlawful practices.

      14.    Specifically, the CSBs seek economic damages from Defendants as

reimbursement for the healthcare costs associated with past, present, and future

efforts to permanently eliminate the hazards to public health and safety and abate

this crisis and to make the CSBs whole from the harm caused by the Defendants.

Categories of past and continuing sustained damages include but are not limited to:

(1) costs for providing medical care and detoxification services to patients

suffering from opioid disorders or other related addiction or disease; (2) costs for

providing treatment, counseling, rehabilitation, and other mental health or

substance abuse services to patients suffering from likely opioid disorders or other

related addiction or disease; (3) costs associated with providing residential

housing, vocational training, transportation and ongoing support services to

patients suffering from likely opioid disorders or other related addiction or disease


                                         8
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 9 of 212




and their families; (4) costs associated with providing care and counseling for

children whose parents suffer from likely opioid related disabilities or

incapacitation; (5) costs for treating pregnant or parenting women with likely

opioid abuse disorders; and (6) lost revenue for writing off uncompensated or

undercompensated care related to likely opioid abuse disorder.

                                      PARTIES

                                    PLAINTIFFS

      15.    CSBs are public corporations created by Georgia’s General Assembly

that provide substance abuse services.

      16.     The State of Georgia has recognized “its responsibility for its citizens

who are mentally ill or developmentally disabled including individuals … who

abuse alcohol, narcotics, or other drugs: and its “obligation to such citizens to meet

their needs through a coordinated system of community facilities, programs, and

services.” O.C.G.A. § 37-2-1(a). The State has further recognized the “policy of

this state to provide adequate mental health, …, addictive disease, and other

disability services to all of its citizens” and “the policy of this state to provide such

services through a unified system which encourages cooperation and sharing of

resources among all providers of such services, both governmental and private.”

O.C.G.A. § 37-2-1(b).


                                           9
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 10 of 212




         17.   CSBs are statutorily responsible for providing mental health,

developmental disabilities, and addictive disease services to Georgia residents.4

         18.   As the State’s safety net provider for these critical services, the CSBs

ensure that mental health and addiction prevention, treatment, and recovery

support services are available to individuals and families in Georgia, irrespective

of their patients’ ability to pay.

         19.   While they are subject to high-level oversight by Georgia’s

Department of Behavioral Health and Developmental Disabilities (DBHDD), daily

operations and personnel matters are managed by the CSBs’ boards and supporting

staff.

         20.   Unlike a traditional “public agency,” the CSBs obtain their funding

through a variety of sources. In addition to state funding, federal funding, and

county funding, they also obtain funding from private insurance companies and

cash-paying patients based on the healthcare services they provide.

         21.   The statute creating CSBs specifically authorizes the CSBs to “enroll

and contract with [DBHDD], the Department of Human Services, the Department

of Public Health, or the Department of Community Health to become a provider of

mental health, developmental disabilities, and addictive diseases services or health,


4
    O.C.G.A. § 37-2-6(a).

                                           10
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 11 of 212




recovery, housing, or other supportive services.” O.C.G.A. § 37-2-6(a). Thus,

although considered “public agencies”, the CSBs are required to, on their own,

become enrolled providers of these programs.

      22.    Much like other healthcare providers, such as public hospital systems,

the CSBs then submit claims to the applicable program or insurance provider for

the services they provide.

      23.    While not permitted to operate for a profit, Georgia law further

expressly authorizes the CSBs to “fix fees, rents, rates, and charges that are

reasonably expected to produce revenues, which, together with all other funds of

the community service board, will be sufficient to administer, operate, and

provide” their statutorily-mandated services. O.C.G.A. §37-2-6.1(f).

      24.    Despite being public bodies, CSBs have “the power to bring an action

in [their] own name[s].” O.C.G.A. §37-2-6.3(b).

      25.    Even more, Georgia law states that the “debts, obligations, and

liabilities of a community service board are not debts, obligations, or liabilities of

the state or of the counties in which such board operates.” O.C.G.A. §37-2-6.3(d).

Therefore, the losses suffered by the CSBs as a result of Defendants’ conduct are

unique to the CSBs and not shared by the state or the counties in which the CSBs

operate.


                                         11
          Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 12 of 212




      26.      Thus, the CSBs have standing to recover damages incurred as a result

of Defendants’ acts and omissions and have standing to bring all claims pled

herein.

      27.      There are 23 CSBs serving six regions designated by the Georgia

Department of Behavioral Health and Developmental Disabilities (“DBHDD”).

      28.      The statutory framework that created and empowers the CSBs also

confers broad authority to take the necessary actions to carry out their mission and

serve their respective communities.

      29.      CSBs provide a wide range of services to fulfill the needs of adults

and children with complex behavioral and addictive disease disorders, including

opioid addiction. CSBs manage local provider networks, develop educational

programs, and administer state and federal grants.

      30.      CSBs also provide inpatient and outpatient services, including Crisis

Stabilization Units offering psychiatric stabilization and detoxification services.

CSBs operate multiple residential treatment centers for patients requiring intensive

care to treat substance abuse disorders. Some CSBs operate specialized recovery

facilities to treat pregnant or parenting women with substance abuse disorders, as

well as residential and outpatient centers to treat adolescents with substance abuse

disorders. CSBs also provide psychiatric evaluation, counseling in individual and


                                         12
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 13 of 212




group settings, peer-to-peer support programs, medication management and court

services. Patients who complete treatment at a CSB may qualify for transitional

housing, vocational training, transportation, and other support services.

      31.    CSBs provide health services irrespective of financial circumstances

under contracts with the DBHDD, the Department of Human Services, the

Department of Public Health, and the Department of Community Health and other

state and federal agencies. Some services are billed on a sliding fee schedule or

reimbursed on a fee-for-service basis by Medicaid, Medicare, or commercial

insurance.

      32.    The CSBs are on the front lines of the state-wide recognized opioid

epidemic. The fiscal requirements and extraordinary costs created by the opioid

crisis in Georgia continues to make unprecedented, excessive demands on, and

stretch the CSBs budgets, resulting in economic losses directly tied to

uncompensated and undercompensated care provided to patients with likely opioid

abuse disorder.

      33.    Plaintiff Advantage Behavioral Health Systems is a CSB with a

principal address of 250 North Avenue, Athens, Georgia 30601.               Advantage

Behavioral Health Systems provides addictive disease services, including




                                         13
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 14 of 212




addressing and treating opioid addiction and related issues in the following

counties:

      •      Barrow
      •      Clarke
      •      Elbert
      •      Greene
      •      Jackson
      •      Madison
      •      Morgan
      •      Oconee
      •      Oglethorpe
      •      Walton

      34.    Plaintiff Albany Area Community Service Board d/b/a Aspire

Behavioral Health & Developmental Disability Services (hereinafter “Aspire”) is a

CSB with a principal address of 601 11th Avenue, Albany, Georgia 31701. Aspire

provides addictive disease services, including addressing and treating opioid

addiction and related issues in the following counties:

      •      Baker
      •      Calhoun
      •      Dougherty
      •      Early
      •      Lee
      •      Miller
      •      Terrell
      •      Worth




                                         14
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 15 of 212




      35.    Plaintiff Georgia Mountains Community Services d/b/a Avita

Community Partners (hereinafter “Avita”) is a CSB with a principal address of

4331 Thurmond Tanner Parkway, Flowery Branch, Georgia 30542. Avita provides

addictive disease services, including addressing and treating opioid addiction and

related issues in the following counties:

      •      Banks
      •      Dawson
      •      Forsyth
      •      Franklin
      •      Habersham
      •      Hall
      •      Hart
      •      Lumpkin
      •      Rabun
      •      Stephens
      •      Towns
      •      Union
      •      White

      36.    Plaintiff Clayton Community MH/SA/DS Service Board is a CSB

with a principal address of 157 Smith Street, Jonesboro, Georgia 30236. Clayton

Community MH/SA/DS Service Board provides addictive disease services,

including addressing and treating opioid addiction and related issues in Clayton

County.




                                            15
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 16 of 212




      37.   Plaintiff Cobb County Community Service Board is a CSB with a

principal address of 3830 S. Cobb Drive, Suite 300, Smyrna, Georgia 30080.

Cobb County Community Service Board provides addictive disease services,

including addressing and treating opioid addiction and related issues in Cobb

County.

      38.   Plaintiff Community Service Board of Middle Georgia is a CSB with

a principal address of 2121-A Bellevue Road, Dublin, Georgia 31021. Community

Service Board of Middle Georgia provides addictive disease services, including

addressing and treating opioid addiction and related issues in the following

counties:

      •     Bleckley
      •     Burke
      •     Dodge
      •     Emanuel
      •     Glascock
      •     Jefferson
      •     Jenkins
      •     Johnson
      •     Laurens
      •     Montgomery
      •     Pulaski
      •     Screven
      •     Telfair
      •     Treutlen
      •     Wheeler
      •     Wilcox


                                     16
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 17 of 212




      39.   Plaintiff Gateway Community Service Board is a CSB with a

principal address of 600 Coastal Village Drive, Brunswick, Georgia 31520.

Gateway Community Service Board provides addictive disease services, including

addressing and treating opioid addiction and related issues in the following

counties:

      •     Bryan
      •     Camden
      •     Chatham
      •     Effingham
      •     Glynn
      •     Liberty
      •     Long
      •     McIntosh

      40.   Plaintiff Georgia Pines Community Service Board is a CSB with a

principal address of 1102 Smith Avenue, Suite H, Thomasville, Georgia 31792.

Georgia Pines Community Service Board provides addictive disease services,

including addressing and treating opioid addiction and related issues in the

following counties:

      •     Colquitt
      •     Decatur
      •     Grady
      •     Mitchell
      •     Seminole
      •     Thomas


                                     17
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 18 of 212




      41.    Plaintiff Highland Rivers Community Service Board d/b/a Highland

Rivers Health (hereinafter “Highland Rivers”) is a CSB with a principal address of

1503 N. Tibbs Road, Dalton, GA, 30720. Highland Rivers provides addictive

disease services, including addressing and treating opioid addiction and related

issues in the following counties:

      •      Bartow
      •      Cherokee
      •      Fannin
      •      Floyd
      •      Gilmer
      •      Gordon
      •      Haralson
      •      Murray
      •      Paulding
      •      Pickens
      •      Polk
      •      Whitfield

      42.    Plaintiff Lookout Mountain Community Service Board is a CSB with

a principal address of 501 Mize Street, LaFayette, Georgia 30728.        Lookout

Mountain Community Service Board provides addictive disease services, including

addressing and treating opioid addiction and related issues in the following

counties:

      •      Catoosa
      •      Chattooga
      •      Dade


                                       18
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 19 of 212




      •      Walker

      43.    Plaintiff Middle Flint Area Community Service Board d/b/a Middle

Flint Behavioral HealthCare is a CSB with a principal address of 415 N. Jackson

Street, P.O. Drawer 1348, Americus, GA 31709. Middle Flint Area Community

Service Board provides addictive disease services, including addressing and

treating opioid addiction and related issues in the following counties:

      •      Crawford
      •      Crisp
      •      Dooly
      •      Houston
      •      Macon
      •      Marion
      •      Peach
      •      Schley
      •      Sumter
      •      Taylor
      •      Webster

      44.    Plaintiff New Horizons Community Service Board is a CSB with a

principal address of 2100 Comer Avenue, Columbus, Georgia 31904.          New

Horizons Community Service Board provides addictive disease services, including

addressing and treating opioid addiction and related issues in the following

counties:

      •      Chattahoochee

                                         19
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 20 of 212




      •      Clay
      •      Harris
      •      Muscogee
      •      Quitman
      •      Randolph
      •      Stewart
      •      Talbot

      45.    Plaintiff Pineland Behavioral Health and Developmental Disabilities

CSB (hereinafter “Pineland”) is a CSB with a principal address of 5 West Altman

Street, Statesboro, Georgia 30458. Pineland provides addictive disease services,

including addressing and treating opioid addiction and related issues in the

following counties:

      •      Appling
      •      Bulloch
      •      Candler
      •      Evans
      •      Jeff Davis
      •      Tattnall
      •      Toombs
      •      Wayne

      46.    Plaintiff River Edge Behavioral Health is a CSB with a principal

address of 175 Emery Highway, Macon, Georgia 31217. River Edge Behavioral

Health provides addictive disease services, including addressing and treating

opioid addiction and related issues in the following counties:

      •      Baldwin


                                         20
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 21 of 212




      •      Bibb
      •      Fulton
      •      Jones
      •      Monroe
      •      Putnam
      •      Twiggs
      •      Wilkinson

      47.    Plaintiff Community Mental Health Center of East Central Georgia

d/b/a Serenity Behavioral Health Systems (hereinafter “Serenity”) is a CSB with a

principal address of 3421 Mike Padgett Highway, Augusta, Georgia 30906.

Serenity provides addictive disease services, including addressing and treating

opioid addiction and related issues in the following counties:

      •      Columbia
      •      Lincoln
      •      McDuffie
      •      Richmond
      •      Taliaferro
      •      Warren
      •      Wilkes

      48.    Plaintiff Satilla Community Services d/b/a Unison Behavioral Health

(hereinafter “Unison”) is a CSB with a principal address of 1007 Mary Street,

Waycross, Georgia 31503. Unison provides addictive disease services, including

addressing and treating opioid addiction and related issues in the following

counties:


                                         21
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 22 of 212




      •        Atkinson
      •        Bacon
      •        Brantley
      •        Charlton
      •        Clinch
      •        Coffee
      •        Pierce
      •        Ware

      49.      Plaintiff View Point Health is a CSB with a principal address of 175

Gwinnett Drive, Suite 260, Lawrenceville, Georgia 30046. View Point Health

provides addictive disease services, including addressing and treating opioid

addiction and related issues in the following counties:

      •        Gwinnett
      •        Newton
      •        Rockdale

      50.      The CSBs bring this action pursuant to their statutory and common

law authority, including the authority granted to them by O.C.G.A. § 37-2-6.3(b).

      51.      The CSBs have standing to recover damages incurred as a result of

Defendants’ actions and omissions. The CSBs have standing to bring all claims

pled herein.




                                         22
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 23 of 212




                                 DEFENDANTS

                            Manufacturer Defendants

      52.     At all relevant times, the Manufacturer Defendants have been in the

business of manufacturing, selling, promoting, and/or distributing both brand name

and generic opioids throughout the United States, including the Northern District

of Georgia.

                         Teva and Associated Companies

      53.     Defendant Cephalon, Inc. is a Delaware corporation with is principal

place of business in Frazer, Pennsylvania. Its registered agent is Corporations

Creations Network, Inc. located at 3411 Silverside Road Tatnall Building, Suite

104, Wilmington, DE 19810.

      54.     Defendant Teva Pharmaceuticals USA, Inc. is a Delaware corporation

with its principal place of business in North Wales, Pennsylvania and is a wholly

owned subsidiary of Teva Pharmaceutical Industries Ltd.

      55.     Teva Pharmaceuticals USA, Inc. acquired Cephalon in October 2011.

      56.     Cephalon, Inc., Teva Pharmaceuticals USA, Inc., and their DEA

registrant subsidiaries and affiliates (collectively “Cephalon/Teva”) are in the

business of manufacturing, selling, promoting, and/or distributing both brand name

and generic opioids throughout the United States, including in Georgia. These


                                        23
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 24 of 212




opioids include, but are not limited to, Actiq and Fentora. Actiq and Fentora are

both formulations of fentanyl citrate, a very potent opioid.

       57.    The Cephalon/Teva Defendants may be served with process through

Teva Pharmaceuticals USA, Inc.’s registered agent at the following address:

Corporate Creations Network Inc., 2985 Gordy Parkway, 1st Floor, Marietta, GA

30066.

                            Endo and Associated Companies

       58.    Defendant Endo Health Solutions, Inc. is a Delaware corporation with

its principal place of business located at 1400 Atwater Drive, Malvern,

Pennsylvania 19355.

       59.    Defendant Endo Pharmaceuticals Inc. is a Delaware corporation with

its principal place of business located at 1400 Atwater Drive, Malvern,

Pennsylvania 19355, and is a wholly owned subsidiary of Endo Health Solutions,

Inc.

       60.    Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its

principal place of business in Chestnut Ridge, New York and is a wholly owned

subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical

Holdings, Inc.    Defendant Par Pharmaceutical Companies, Inc. is a Delaware

corporation with its principal place of business in Chestnut Ridge, New York. Par


                                         24
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 25 of 212




Pharmaceutical, Inc. and Par Pharmaceutical Companies, Inc. (collectively “Par

Pharmaceuticals”) were acquired by Endo International PLC in September 2015

and serve as operating companies of Endo International PLC.

       61.   Defendant Qualitest Pharmaceuticals, Inc. is an Alabama corporation

with   its   principal   office   located   in   Huntsville,   Alabama.     Qualitest

Pharmaceuticals, Inc. was acquired by Endo International PLC in 2010 and merged

with Par Pharmaceuticals in 2010.

       62.   Endo Health Solutions, Inc., Endo Pharmaceuticals Inc., Par

Pharmaceuticals, Qualitest Pharmaceuticals, Inc., and their DEA registrant

subsidiaries and affiliates (collectively, “Endo”) are or have been in the business of

manufacturing, selling, promoting, and/or distributing both brand name and

generic opioids throughout the United States, including in Georgia. These include

generic oxycodone, oxymorphone, hydromorphone, and hydrocodone products and

the branded opioids Opana (oxymorphone hydrochloride); Opana ER (extended

release Opana); Percodan (oxycodone and aspirin); Percocet (oxycodone and

acetaminophen); and Zydone (hydrocodone and acetaminophen).

       63.   The Endo Defendants may be served with process through Endo

Pharmaceuticals Inc.’s registered agent at the following address: CT Corporation

System, 289 South Culver Street, Lawrenceville, GA 30046-4805.


                                            25
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 26 of 212




                      Allergan and Associated Companies

      64.   Defendant Allergan PLC is an Irish public limited company with its

principal place of business in Dublin, Ireland and administrative headquarters and

all executive offices located in Madison, New Jersey.

      65.   Defendant Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc. is a limited liability company incorporated in Nevada and

headquartered in Madison, New Jersey. Allergan Finance, LLC is a wholly-owned

subsidiary of defendant Allergan PLC f/k/a Actavis plc. Watson Pharmaceuticals,

Inc. acquired Actavis, Inc. in October, 2012. The combined company changed its

name to Actavis PLC in October, 2013.

      66.   Actavis PLC acquired Allergan PLC in March 2015. The combined

company changed its name to Allergan PLC in June 2015.

      67.   Defendant Watson Laboratories, Inc. is a Nevada corporation with its

principal place of business in Corona, California, and is a wholly-owned subsidiary

of Allergan PLC f/k/a Actavis PLC. Watson Laboratories, Inc. was sold to Teva

Pharmaceutical Industries Ltd. as part of Allergan plc’s 2016 sale of its generic

business to Teva.    Prior to the sale, Watson Laboratories, Inc. was a direct

subsidiary of Actavis, Inc. (n/k/a Allergan Finance, LLC). Between 2000 and

2015, Watson Laboratories Inc. held the Abbreviated New Drug Applications


                                        26
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 27 of 212




(“ANDA”) for Norco and was the manufacturer of the drug. Watson Laboratories,

Inc. was also the ANDA holder of various generic opioids.

      68.    Defendant Actavis Pharma, Inc. f/k/a Watson Pharma, Inc. is a

Delaware corporation with its principal place of business in New Jersey. Actavis

Pharma, Inc. f/k/a Watson Pharma, Inc. was previously responsible for sales of

Kadian and Norco. Actavis Pharma, Inc. f/k/a Watson Pharma, Inc. was sold to

Teva Pharmaceutical Industries Ltd. as part of Allergan PLC’s 2016 sale of its

generics business to Teva.

      69.    Defendant Actavis LLC is a Delaware limited liability company with

its principal place of business in Parsippany, New Jersey. Actavis LLC is an

indirect subsidiary of Watson Laboratories, Inc. Watson Laboratories, Inc., in turn,

was a direct subsidiary of Actavis, Inc. (n/k/a Allergan Finance LLC). Actavis

LLC was sold to Teva Pharmaceutical Industries Ltd. As part of Allergan PLC’s

2016 sale of its generic business to Teva.

      70.    Defendant Allergan USA, Inc. is incorporated in Delaware and

headquartered in Madison, New Jersey.           Allergan USA, Inc. is currently

responsible for Norco and Kadian sales. Allergan USA, Inc. is a wholly-owned

subsidiary of Allergan PLC f/k/a Actavis PLC.




                                         27
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 28 of 212




      71.    Allergan PLC f/k/a Actavis PLC, Actavis LLC, Actavis Pharma, Inc.

f/k/a Watson Pharma, Inc., Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc., Watson Laboratories, Inc., and Allergan USA, Inc.

(collectively, “Allergan”) are or have been in the business of manufacturing,

selling, promoting, and/or distributing both brand name and generic opioids

throughout the United States, including Georgia. These opioids include, but are not

limited to, the branded drugs Kadian and Norco, a generic version of Kadian, and

generic versions of Duragesic and Opana. Allergan also manufactured

promethazine with codeine, which, when mixed with citrus flavored soda, is a

commonly abused opioid “cocktail,” until it stopped manufacture in 2014 due to

negative associations of this drug.

      72.    The Allergan Defendants may be served with process through their

registered agent at the following address: CT Corporation System, 289 South

Culver Street, Lawrenceville, GA 30046-4805. Alternatively, they may be served

at the following address of Actavis Pharma, Inc.’s registered agent: Corporate

Creations Network, Inc., 2985 Gordy Parkway, 1st Floor, Marietta, GA 30006.




                                        28
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 29 of 212




                       Mallinckrodt and Associated Companies

      73.    Defendant Mallinckrodt LLC, a wholly owned subsidiary of

Mallinckrodt PLC, is a Delaware limited liability company with its principal place

of business in St. Louis, Missouri.

      74.    Defendant SpecGx, LLC is a Delaware limited liability company with

its headquarters in Clayton, Missouri, and is a wholly owned subsidiary of

Mallinckrodt PLC.

      75.    Mallinckrodt LLC, SpecGx LLC, and their DEA registrant

subsidiaries and affiliates (collectively, “Mallinckrodt”) are or have been in the

business of manufacturing, marketing, selling and distributing opioids throughout

the United States, including the State of Georgia, including generic formulations of

morphine sulfate, extended release, morphine sulfate, fentanyl transdermal, oral

transmucosal fentanyl citrate, oxycodone with acetaminophen, hydrocodone

bitartrate and acetaminophen, hydromorphone hydrochloride, hydromorphone

hydrochloride,   extended    release,     naltrexone   hydrochloride,   oxymorphone

hydrochloride,      methadone         hydrochloride,    oxycodone       hydrochloride,

buprenorphine, and naloxone.




                                           29
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 30 of 212




      76.   Mallinckrodt is the largest supplier of opioid pain medications and

among the top ten generic pharmaceutical manufacturers in the United States,

based on prescriptions.

      77.   The Mallinckrodt Defendants may be served with process through

Mallinckrodt LLC’s registered agent at the following address: CT Corporation

System, 289 South Culver Street, Lawrenceville, GA 30046-4805.

               Purdue and Associated Companies (Bankruptcy)

      77a. Purdue Pharma L.P., Purdue Pharma, Inc., and The Purdue Frederick

Co. Inc. (collectively “Purdue”) are similarly situated to the named Manufacturer

Defendants, being, at all relevant times, in the business of manufacturing, selling,

promoting, and/or distributing brand name opioids (i.e., Oxycontin) throughout the

U.S. and Georgia. Purdue, however, is not a named defendant here because of the

bankruptcy filings of the Purdue entities and Judge Drain's Second Amended Order

Pursuant to 11 U.S.C. §105(a) Granting Motion for a Preliminary Injunction, dated

November 6, 2019. By omitting Purdue as a named defendant, the Plaintiff CSBs

do not waive their rights and claims against Purdue, and, for the record, the

Plaintiff CSBs have duly filed their claims as creditors of Purdue in accordance

with the established bankruptcy process. Notwithstanding the foregoing, because

of Purdue's central role in the opioid story in Georgia, the Plaintiff CSBs include


                                        30
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 31 of 212




herein good faith allegations regarding Purdue's conduct in order to inform and

explain the conduct of the named defendants who each and all acted similarly to

and in concert with Purdue.

                              Distributor Defendants

      78.    At all relevant times, Distributor Defendants were engaged in

“wholesale distribution” as defined under state and federal law. Distributor

Defendants distributed, supplied, sold, and placed into the stream of commerce

prescription opioids, without fulfilling their legal obligations to monitor, detect,

report, investigate, or otherwise prevent the fulfillment of suspicious orders 5,

thereby leading to the foreseeable diversion of these dangerous drugs for

illegitimate and/or non-medical purposes.

      79.    Distributor Defendants' failure to meet their obligations is the reason

for the substantial volume of prescription opioids plaguing the United States,

including in the Northern District of Georgia.




5
  For purposes of this Complaint, this duty to monitor, detect, report, investigate, or
otherwise prevent the fulfillment of suspicious orders, is referred to as
"obligations." For purposes of this Complaint, the term "suspicious orders" shall
mean any orders of prescription opioids that are required to be investigated and/or
reported under Georgia and/or federal law.

                                          31
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 32 of 212




                             McKesson Corporation

      80.    Defendant McKesson Corporation (“McKesson”) is a Delaware

corporation with its principal place of business in San Francisco, California.

      81.    At all relevant times, McKesson operated as a licensed pharmacy

wholesaler throughout the United States, including in Georgia, and delivered

substantial amounts of opioid drugs to buyers throughout the United States,

including Georgia.

      82.    Moreover, McKesson operates a distribution center located at 2975

Evergreen Drive, Duluth, Georgia.

      83.    McKesson is the largest pharmaceutical distributor in North America

and delivers approximately one-third of all pharmaceuticals used there. According

to McKesson's 2017 Annual Report, the company's “pharmaceutical distribution

business operates and serves thousands of customer locations through a network of

27 distribution centers, as well as a primary redistribution center, two strategic

redistribution centers and two repackaging facilities, serving all 50 states and

Puerto Rico.”

      84.    Defendant McKesson Corporation may be served with process

through its registered agent at the following address:         Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, GA 30092.


                                         32
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 33 of 212




                              Cardinal Health, Inc.

      85.    Defendant Cardinal Health, Inc. (“Cardinal Health”) is an Ohio

corporation with its principal place of business in Dublin, Ohio.

      86.    At all relevant times, Cardinal Health operated as a licensed pharmacy

wholesaler throughout the United States, including in Georgia, and distributed

substantial amounts of opioid drugs to buyers in the State of Georgia. Cardinal

Health is a global distributor of pharmaceutical drugs and medical products, and is

one of the largest distributors of opioids in the United States. In December 2013,

Cardinal Health entered a ten-year agreement with CVS Caremark to form the

largest generic drug sourcing operation in the United States. In 2016, Cardinal

Health generated $121 billion in revenue.

                     AmerisourceBergen Drug Corporation

      87.    Defendant         AmerisourceBergen           Drug        Corporation

(“AmerisourceBergen”) is a Delaware corporation with its principal place of

business in Chesterbrook, Pennsylvania. AmerisourceBergen is the second largest

pharmaceutical distributor in North America.

      88.    According to its 2016 Annual Report, AmerisourceBergen is “one of

the largest global pharmaceutical sourcing and distribution services companies,




                                         33
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 34 of 212




helping both healthcare providers and pharmaceutical and biotech manufacturers

improve patient access to products and enhance patient care.”

      89.      At all relevant times, AmerisourceBergen operated as a licensed

pharmacy wholesaler throughout the United States, including in Georgia, and

delivered substantial amounts of opioid drugs to buyers in Georgia.

AmerisourceBergen is registered with the Georgia Secretary of State as a Delaware

corporation.

      90.      Defendant AmerisourceBergen may be served with process through

its registered agent at the following address: CT Corporation System, 289 South

Culver Street, Lawrenceville, GA 30046-4805.

                              J M Smith Corporation

      91.      J M Smith Corporation is a Delaware corporation with its principal

place of business in Spartanburg, South Carolina. Smith Drug Company is a

division of J M Smith Corporation responsible for operating J M Smith

Corporation's pharmaceutical distribution business. J M Smith Corporation and

Smith Drug Company are referred to as “Smith Drug” throughout this Complaint.

      92.      Smith Drug is a wholesale pharmaceutical distributor primarily

serving the eastern United States. At all relevant times, Smith Drug operated as a

licensed pharmacy wholesaler in Georgia and delivered substantial amounts of


                                        34
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 35 of 212




opioid drugs to buyers in Georgia. Smith Drug operates a distribution center in

Valdosta, Georgia.

      93.    Defendant Smith Drug may be served with process through its

registered agent at the following address: CT Corporation System, 289 South

Culver Street, Lawrenceville, GA 30046-4805.

                       John Doe Defendants 1 Through 80

      94.    John Doe Defendants 1 through 10, whether singular or plural, are

those entities or persons who marketed and promoted the use of prescription opioid

drugs through false, scientifically unsupported or misleading representations: (1) in

advertising, medical education presentations, speaking engagements, medical

literature, publications, websites, and/or statements to physicians and medical

students; (2) through funding or employing “Key Opinion Leaders” as described

more fully below; and/or (3) through funding or participating in “Front Groups” as

described more fully below.

      95.    John Doe Defendants 11 through 20, whether singular or plural, are

those entities or persons that are wholesale distributors of prescription opioid drugs

who: (1) failed to implement an effective system to monitor the distribution of

opioid drugs; (2) failed to identify and report suspicious orders of opioid drugs

destined to pharmacies and individuals in Georgia to the DEA or Georgia Drugs


                                         35
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 36 of 212




and Narcotics Agency; (3) failed to maintain effective controls against diversion of

opioid drugs for other than legitimate uses in violation of the Georgia Controlled

Substances Act and related laws concerning distribution of controlled substances;

and/or (4) otherwise failed to comply with the Georgia Controlled Substances Act

and related laws concerning distribution of controlled substances.

      96.    John Doe Defendants 21 through 30 whether singular or plural, are

those officers, directors, executives, or agents who were directly and personally

involved in developing and executing the marketing efforts of Manufacturer

Defendants or of John Doe Defendants 1-10.

      97.    John Doe Defendants 31 through 40, whether singular or plural, are

those entities or persons who had a responsibility to monitor, detect, report,

investigate, or otherwise prevent the fulfillment of suspicious orders of controlled

substance prescriptions and who failed in their duty to do so.

      98.    John Doe Defendants 41 through 50, whether singular or plural, are

those officers, directors, executives, entities, or agents who participated in the

“Opioid Promotion Enterprise” described in Count I of this Complaint or who,

through proceeds derived from the “Opioid Promotion Enterprise,” including real

property or personal property of any nature (including money), acquired or

maintained, directly or indirectly, any interest in or control of the enterprise.


                                           36
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 37 of 212




      99.    John Doe Defendants 51 through 60, whether singular or plural, are

those officers, directors, executives, entities, or agents who participated in the

“Opioid Diversion Enterprise” described in Count I of this Complaint or who,

through proceeds derived from the “Opioid Diversion Enterprise,” including real

property or personal property of any nature (including money), acquired or

maintained, directly or indirectly, any interest in or control of the enterprise.

      100. John Doe Defendants 61 through 70, whether singular or plural, are

those officers, directors, executives, entities, or agents who participated in a RICO

Enterprise which caused or contributed to this opioid crisis or who, through

proceeds derived from a RICO Enterprise, including real property or personal

property of any nature (including money), acquired or maintained, directly or

indirectly, any interest in or control of the enterprise.

      101. John Doe Defendants 71 through 80, whether singular or plural, are

those officers, directors, executives, entities, or agents who, by virtue of their

position and the legal duties vested in them, had an obligation to monitor, detect,

investigate, refuse, and/or report suspicious orders of prescription opioids.

      102. The John Doe Defendants are incorporated where any Defendant is

referenced in this civil action.




                                           37
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 38 of 212




                                Defendants’ Agents

         103. All of the actions described in this Complaint are part of, and in

furtherance of, the unlawful conduct alleged herein and were authorized, ordered,

and/or done by Defendants' officers, agents, employees, or other representatives

who were actively engaged in the management of Defendants' affairs within the

course and scope of their duties and employment and/or with Defendants' actual,

apparent, and/or ostensible authority.

                           JURISDICTION AND VENUE

         104. This Court has diversity subject matter jurisdiction over this action

under 28 U.S.C. § 1332 because the amount in controversy exceeds $75,000, and

there exists complete diversity between the parties, i.e., no defendant is a citizen of

Plaintiffs’ home state of Georgia.

         105. Additionally, 28 U.S.C. § 1331 grants this Court federal question

subject matter jurisdiction over Plaintiffs’ RICO claims as they arise under the

Racketeer Influenced and Corrupt Organizations Act (“RICO”). 6 This allows the

Court to also exercise supplemental jurisdiction over Plaintiffs’ other claims




6
    18 U.S.C. §§ 1961 et seq.

                                          38
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 39 of 212




because they form part of the same case or controversy as the federal RICO

claims.7

        106. This Court has personal jurisdiction over Defendants because Georgia

law grants jurisdiction over nonresidents who transact business within the state,

commit a tortious act or omission within the state, or cause a tortious injury that

occurs within the state if they derive a substantial source of revenue from goods

consumed within the state or engage in persistent conduct within the state.8

Defendants, by and through their authorized agents, servants, and employees,

regularly transacted business in Georgia; manufactured, supplied, and distributed

opioids in Georgia from which they received substantial revenue; and further,

through their acts and omissions, tortuously caused injuries in Georgia by engaged

in a persistent course of conduct in Georgia which violated Georgia law. Because

Defendants purposefully directed their actions toward Georgia, consented to be

sued in Georgia by registering an agent for service of process, and submitted to the

jurisdiction of Georgia when obtaining a manufacturer or distributor license, they

have the requisite minimum contacts with Georgia for this Court to constitutionally

assert personal jurisdiction over Defendants.



7
    28 U.S.C. §1367(a).
8
    O.C.G.A. § 9-10-91.

                                        39
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 40 of 212




       107. This Court also has personal jurisdiction over all of the Defendants

under 18 U.S.C. § 1965(b). The Court may exercise nationwide jurisdiction over

the named Defendants where the “ends of justice” require national service and

Plaintiffs demonstrate national contacts. Here, the interests of justice require that

Plaintiffs be allowed to bring all members of the nationwide RICO enterprise

before the Court in a single trial.9

       108. Venue is proper in the Atlanta Division of this District under Northern

District of Georgia Local Rule 3.1.      Venue is further proper in this District

pursuant to 28 U.S.C. §1391 and 18 U.S.C. §1965 because a substantial part of the

events or omissions giving rise to the claim occurred in this District and each

Defendant transacted affairs and conducted activity that gave rise to the claim of

relief in this District.

                            FACTUAL ALLEGATIONS

I.     THE OPIOID CRISIS IN GEORGIA

       109. “It is accurate to describe the opioid epidemic as a man-made plague,

twenty years in the making. The pain, death, and heartache it has wrought cannot


9
 See, e.g., Iron Workers Local Union No. 17 Insurance Fund v. Philip Morris Inc.,
23 F. Supp. 2d 796 (1998) (citing LaSalle Nat. Bank v. Arroyo Office Plaza, Ltd.,
1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); Butcher’s Union Local No. 498 v.
SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).


                                         40
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 41 of 212




be overstated.”10    As the Director of the Centers for Disease Control and

Prevention (“CDC”) has noted: “We know of no other medication routinely used

for a nonfatal condition that kills patients so frequently.”11

      110. Georgia finds itself in the midst of an unprecedented prescription drug

crisis, with hundreds of deaths attributable to opioid prescription drug overdoses

every year.12

      111. The State of Georgia had the eleventh highest number of opioid

overdoses in the United States between 1999 and 2014.13          Opioid-involved

overdose deaths have not just increased - but exploded by an astonishing 1,000% -

since 1999 when these drugs were first meaningfully introduced to the State of

Georgia.14


10
   In re: National Prescription Opiate Lit., No. 1:17-MD-02804-DAH, Doc. 1203,
at *38 (N.D. Ohio, Dec. 19, 2018).
11
   Thomas R. Frieden & Debra Houry, Reaching the Risks of Relief—The CDC
Opioid-Prescribing Guideline, 372 NEW ENG. J. MED. 1501, 1503 (2016).
12
   The Henry J. Kaiser Family Foundation, Opioid Overdose Deaths and Opioid
Overdose Deaths as a Percent of All Drug Overdose Deaths (2015), available at
https://www.kff.org/other/state-indicator/opioid-overdose-
deaths/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location%22,%
22sort%22:%22asc%22%7D (last visited June 12, 2020).
13
   Substance Abuse Research Alliance, Prescription Opioids and Heroin Epidemic
in Georgia, (2017), available at
http://www.senate.ga.gov/sro/Documents/StudyCommRpts/OpioidsAppendix.pdf
(last visited June 12, 2020).
14
     Online Analytical Statistical Information System (“OASIS”), Drug
Overdoses/Opioids Web Query Tool, available at

                                          41
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 42 of 212




      112. Statistics in recent years show the ever-increasing momentum of this

crisis: from 2010 to 2016, the total number of documented opioid-involved

overdose deaths in Georgia increased by an astounding 117%, from 426 to 929

deaths, and the death rate increased by 111%, from 4.3 to 9.1 deaths/100,000

persons. 15 In 2016, the State of Georgia experienced at least 897 opioid drug-




https://oasis.state.ga.us/oasis/webquery/qryDrugOverdose.aspx (last visited June
12, 2020).
15
   Georgia Department of Public Health, Opioid Overdose Surveillance, Georgia
2016 (Preliminary Report) (2016), available at:
https://dph.georgia.gov/sites/dph.georgia.gov/files/2016%20OPIOID%20PRELIM
INARY%20REPORT.FINAL.PDF (last visited June 12, 2020).

                                      42
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 43 of 212




related deaths 16 and 9,912 hospital admissions for drug-related disorders.

Tellingly, the annual number of such hospital admissions tripled since 2000,17 with

2,435 documented emergency room visits and 1,709 hospitalizations due to opioid

overdoses.18 In 2017, there were 1,529 deaths attributed to all drugs in the State of

Georgia, but an overwhelming number of them (1,007) were the result of opioids.19

From 1999 to 2017, more people have died from opioid overdoses (7,968) in the

State of Georgia than the 2010 total populations of sixteen (16) Georgia counties:

Calhoun, Clay, Clinch, Echols, Glascock, Miller, Quitman, Randolph, Schley,

Stewart, Talbot, Taliaferro, Treutlen, Warren, Webster, or Wheeler.20

      113. Haralson County, Georgia, with a population just under 21,000

people21 has lost almost 70 people to opioid overdoses since 1999. 22




16
    It is anticipated this and other death estimates will increase as this litigation
progresses.
17
   Drug Overdoses/Opioids Web Query Tool, supra note 10.
18
   Opioid Overdose Surveillance, Georgia 2016 (Preliminary Report), supra note
11.
19
   Drug Overdoses/Opioids Web Query Tool, supra note 10.
20
   U.S. DEPT. OF COMMERCE, Georgia: 2010 Population and Housing Unit Counts
(Aug. 2012) at 8, available at
https://www2.census.gov/library/publications/decennial/2010/cph-2/cph-2-12.pdf
(last visited June 12, 2020).
21
   Id.
22
   Drug Overdoses/Opioids Web Query Tool, supra note 10.

                                         43
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 44 of 212




      114. Emergency medical services administered the potentially life-saving

opioid overdose reversal drug naloxone nearly 10,000 times in 2016 compared to

4,500 times in 2012.23

      115. The health care costs associated with opioid misuse in Georgia were

estimated at $447 million in 2007. 24 Given the explosion in opioid-related deaths,




23
     GEORGIA DEPARTMENT OF AUDITS AND ACCOUNTS PERFORMANCE AUDIT
DIVISION, Performance Audit Report No. 17-11, Opioid Use Disorder—Access to
Medication-Assisted Treatment (Nov. 2017), available at
 www.open.georgia.gov/openga/report/downloadFile?rid=20499 (last visited June
12, 2020).
24
   Prescription Opioids and Heroin Epidemic in Georgia, supra note 9 at 7.

                                        44
           Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 45 of 212




overdoses, and hospitalizations, some estimates indicate that health care costs

associated with opioid misuse in Georgia have increased by at least 80%. 25

           116. Heroin overdose deaths have skyrocketed too, as those addicted to

prescription opioids often switch to a cheaper alternative to meet their addiction

demands. Consequently, the heroin and fentanyl death rates correspond with the

increase in opioid-related deaths.




25
     Id.

                                         45
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 46 of 212




      117. The death, addiction, and increased cost associated with prescription

opioids is a direct consequence of Defendants’ induced Georgia’s opioid

prescription rate increase over the same time period. By 2013, Georgia's average

prescription rate for opioids (86.6% per 100 persons) was well over the national

average (79.3).26 In 2016, there were 0.778 opioid prescriptions per person in

Georgia, according to the CDC.     Some counties in Georgia had well over 1

prescription per person, including Bacon County (1.57), Catoosa (1.16), Coffee



26
  CDC, U.S. State Prescribing Rates, Opioids (2013),
https://www.cdc.gov/drugoverdose/maps/rxstate2013.html (last visited June 12,
2020).

                                      46
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 47 of 212




(1.73), and Decatur (1.22).27 According to Georgia Medicaid, the average days'

supply of opioids has increased for all age groups from 2009 to 2014:

        Average Days Supply of Opioids per Patient by Insurance Type, Age,
                       Gender, Race/Ethnicity, and Year28




      118. Not surprisingly, an estimated 180,000 Georgians have an opioid use

disorder, which is more than the population of Macon, the fourth largest city in

Georgia.29
27
   CDC, County Prescribing Rates, Opioids (2016),
https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited June 12,
2020).
28
   Jayani Jayawardhana, Ph.D, Amanda J. Abraham, Ph.D, & Matthew Peri, Ph.D,
Opioid Analgesics in Georgia Medicaid: Trends in Potential Inappropriate
Prescribing Practices by Demographic Characteristics, 2009-2014, 24 JMCP 9
(Sept. 2018), available at
https://www.jmcp.org/doi/pdf/10.18553/jmcp.2018.24.9.886 (last visited June 12,
2020).

                                        47
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 48 of 212




      119. As further alleged below, the CSBs have incurred substantial,

increasing costs to address and combat this opioid epidemic. Because the opioid

epidemic has so deeply and negatively impacted Georgia, the CSBs will continue

to incur substantial costs in both combatting and responding to the crisis for years

to come.

II.   GEORGIA IS PART OF A NATIONAL CRISIS

      120. The heartache and financial toll Defendants’ have caused to Georgia

is part of a larger, national opioid crisis. In 2016, the President of the United States

declared that an opioid and heroin epidemic existed within the country. 30 Annual

opioid prescriptions now roughly equal the number of adults living in the United

States.31

      121. The opioid crisis is America's deadliest overdose crisis ever. Today,

opioids are responsible for the majority of drug overdoses, 32 which have


29
   Opioid Use Disorder—Access to Medication-Assisted Treatment, supra note 19;
U.S. CENSUS BUREAU, Annual Estimates of the Resident Population for
Incorporated Places of 50,000 or More, Ranked by July 1, 2017 Population: April
1, 2010 to July I, 2017,
https://www.census.gov/data/tables/time-series/demo/popest/2010s-total-cities-
and-towns.html (last visited June 12, 2020).
30
   See Proclamation No. 9499, 81 Fed. Reg. 65, 173 (Sept. 16, 2016) (proclaiming
"Prescription Opioid and Heroin Epidemic Awareness Week").
31
   See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse,
374 N. ENG. J. MED. 1480 (2016).
32
   Id.

                                          48
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 49 of 212




quadrupled nationally since 1999.33 In just 2016, CDC data confirms at least

42,249 people died from opioid overdoses, which accounted for the majority

(66.4%) of all drug overdose deaths in that year (63,632). From 1999 to 2016,

more than 200,000 people have died in the United States from prescription opioid

overdoses, and by 2016, people were dying at a rate five times greater than in

1999. 34

       122. Moreover, this crisis has caused a significant spike in street drug use.

In a November 2016 report, the DEA declared opioid prescription drugs, heroin,

and fentanyl as the most significant drug-related threats to the United States.35

Heroin overdoses have climbed sharply during the opioid epidemic, more than

tripling over a four-year period according to the CDC. This increase has been

shown to be closely tied to opioid pain reliever misuse and dependence. People

who are addicted to prescription opioid painkillers are forty times more likely to
33
   CDC, CENTERS FOR DISEASE CONTROL & PREVENTION: Drug Overdose Deaths
Data, https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited June
12, 2020). Drug deaths take a long time to certify, so this is the most recent
available data: U.S. DEPT. OF HEALTH & HUMAN SERVICES, NATIONAL VITAL
STATISTICS SYSTEM, Timeliness of Death Certificate Data for Mortality
Surveillance and Provisional Estimates, Report 001, Dec. 2016,
https://www.cdc.gov/nchs/data/vsrr/report001.pdf (last visited June 12, 2020).
34
   CDC, CENTERS FOR DISEASE CONTROL & PREVENTION: Prescription Opioid
Data, https://www.cdc.gov/drugoverdose/data/prescribing.html (last visited June
12, 2020).
35
   Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths-United
States, 2010-2015, 65 MORBIDITY & MORTALITY WKLY. REP. 1445, 1450 (2016).

                                         49
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 50 of 212




become addicted to heroin.36 Heroin is pharmacologically similar to prescription

opioids, and most current heroin users report prior non-medical use of prescription

opioids before they initiated heroin use. In fact, non-medical use of prescription

opioids has been identified to be one of, if not the, strongest serious risk factor for

heroin use.37

      123. The CDC estimates that approximately three out of four new heroin

addicts in the United States started by abusing prescription opioids.38

      124. Additionally, the youngest members of society have been affected by

the opioid crisis. According to the CDC, 87 children died of opioid intoxication in

2015, an increase from 16 in 1999. Toddlers and young children are increasingly

being found unconscious or dead after consuming an adult's drugs, and there has

been a surge of opioid-dependent newborns.

      125. Opioids also pose a grave risk to veterans who are twice as likely to

die of an opioid overdose than the general population.39
36
     See CDC, CENTERS FOR DISEASE CONTROL & PREVENTION: Today's Heroin
Epidemic, https://www.cdc.gov/vitalsigns/heroin/index.html (last visited June 12,
2020).
37
   See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid
Use and Heroin, 374 N. ENG. J. MED. 154 (2016).
38
   CDC, CENTERS FOR DISEASE CONTROL & PREVENTION, Heroin Overdose Data
https://www.cdc.gov/drugoverdose/data/heroin.html (last visited June 12, 2020)
(citing Cicero TJ, Ellis MS, Surratt, HL. The Changing Face of Heroin Use in the
United States. A Retrospective Analysis of the Past 50 Years. JAMA PSYCHIATRY
2014; 71(7):821-826)).

                                          50
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 51 of 212




       126. Overall, the National Institute on Drug Abuse identifies misuse and

addiction to opioids as a “serious national crisis that affects public health as well as

social and economic welfare.”40 The economic burden of prescription opioid use

alone is $78.5 billion a year, including the costs of healthcare, lost productivity,

addiction treatment, and criminal justice expenditures. 41         Since 2001, some

estimates have suggested that the opioid crisis has cost the United States more than

a trillion dollars, and may exceed over $500 billion over the next three years. 42

III.   THE HISTORY OF OPIOIDS AND ADDICTION

       127. Opioids are highly addictive synthetic drugs derived from opium and

are otherwise chemically similar to opium alkaloids. Due to concerns about their

addictive properties, opioids have been regulated at the federal level as controlled


39
   Wilkie, Robert, Secretary for Veterans Affairs, Fighting Pain and Addiction for
Veterans, The White House, available at
 https://www.whitehouse.gov/articles/fighting-pain-addiction-veterans/ (last visited
June 12, 2020).
40
    NATIONAL INSTITUTE ON DRUG ABUSE, Opioid Overdose Crisis, (Rev. Jan.
2019), https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis (last
visited June 12, 2020).
41
   Id.; Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription
Opioid Overdose Abuse, and Dependence in the United States, 2013, MED CARE
2016; 54(10):901-6, available at https://www.ncbi.nlm.nih.gov/pubmed/27623005
(last visited June 12, 2020).
42
   Allen, Greg, NPR, Cost of U.S. Opioid Epidemic Since 2001 is $1 Trillion and
Climbing, https://www.npr.org/sections/health-shots/2018/02/13/585199746/cost-
of-u-s-opioid-epidemic-since-2001-is-1-trillion-and-climbing (last visited June 12,
2020).

                                          51
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 52 of 212




substances by the DEA since 1970. The labels for scheduled opioids carry black

box warnings of potential addiction and “[s]erious, life-threatening, or fatal

respiratory depression” as a result of an excessive dose. The CDC has declared

that “[o]pioid pain medication use presents serious risks, including overdose and

opioid use disorder” (a diagnostic term for addiction).43

      128. Opioids generally have been categorized as Schedule II or Schedule

III drugs. Schedule II drugs have a high potential for abuse, have a currently

accepted medical use, and may lead to severe psychological or physical

dependence. 21 U.S.C. § 812. Schedule II drugs may not be dispensed without an

original and/or faxed copy of a manually signed prescription (which may not be

refilled) from a doctor and filled by a pharmacist who both must be licensed by

their state and registered with the DEA. 21 U.S.C. § 829.

      129. Opioids provide effective treatment for short-term post-surgical and

trauma-related pain, and for palliative end-of-life care. They are approved by the

FDA for use in the management of moderate to severe pain where use of an opioid

analgesic is appropriate for more than a few days. Manufacturer Defendants,

however, have manufactured, promoted, and marketed opioids for the management
43
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic
Pain—United States, 2016, 65 MORBIDITY & MORTALITY WKLY REP 1 (March 18,
2016), available at https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm (last
visited June 12, 2020).

                                         52
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 53 of 212




of chronic pain by misleading consumers and medical providers through

misrepresentations or omissions regarding the appropriate uses, risks, and safety of

long-term opioid therapy.

      130. Contrary to Manufacturer Defendants' representations, evidence

shows that opioid drugs are not effective to treat chronic pain and may worsen a

patient's health. One study found that opioids as a class do not demonstrate

improvement in functional outcomes over other non-addicting treatments. Most

notably, it stated: “[O]ther analgesics were significantly more effective than were

opioids.”44

      131. In 2013, in response to a petition to restrict the labels of extended-

release opioid products, the FDA noted the “grave risks of opioids, the most well-

known of which include addiction, overdose, and even death.” 45 The FDA further


44
   Andrea D. Furlan, Opioids for chronic noncancer pain: a meta-analysis of
effectiveness and side effects, 174 ( 11) CAN. MED. ASS'N J. 1589-1594 (2006),
available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1459894/ (last visited
June 12, 2020). This same study revealed that efficacy studies do not typically
include data on opioid addiction. In many cases, patients who may be more prone
to addiction are pre-screened out of the study pool. This does not reflect how
doctors actually prescribe the drugs, because even patients who have past or active
substance use disorders tend to receive higher doses of opioids.
45
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and
Research, U.S. Food and Drug Admin., U.S. Dep't of Health and Human Servs., to
Andrew Kolodny, M.D., President, Physicians for Responsible Opioid Prescribing,
Re: Docket No. FDA-2012-P-088 (Sept. 10, 2013), http://paindr.com/wp-
content/uploads/2013/09/FDA_CDER_Response_to_Physicians_for_Responsible_

                                        53
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 54 of 212




warned that “[e]ven proper use of opioids under medical supervision can result in

life-threatening respiratory depression, coma, and death.” The FDA required that,

going forward, makers of extended-release opioid formulations clearly

communicate these risks in their labels. Thus, the FDA confirmed what had

previously been accepted practice in the treatment of pain - that the adverse

outcomes from opioid use include “addiction, unintentional overdose, and death”

and that long-acting or extended release opioids “should be used only when

alternative treatments are inadequate.”46

      132. Notably, in reaching its conclusion, the FDA did not rely on new or

otherwise previously unavailable scientific studies regarding the properties or

effects of opioids.

      133. The risks of opioid use disorder and overdose risk are present even

when opioids are taken as prescribed. 47 Studies have shown that between 20% and

40% of long-term users of opioids experience problems with opioid use disorders.

One study has shown that the duration of opioid therapy is a strong risk factor for

opioid use disorder, even more important than daily dose - which itself is a strong

predictor of continued opioid use.

Opioid_Prescribing_Partial_Petition_Approval_and_Denial.pdf (last visited June
12, 2020) [hereinafter Woodcock Sept. 10, 2013 letter].
46
   Id. (Emphasis added).
47
   Id.

                                        54
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 55 of 212




      134. Moreover, this crisis has caused a significant spike in street drug use.

In a November 2016 report, the DEA declared opioid prescription drugs, heroin,

and fentanyl as the most significant drug-related threats to the United States. 48

      135. As noted, opioids are extremely addictive.            Studies have found

diagnosed addiction49 rates among opioid users in primary care settings as high as

26%.50 Additionally, among opioid users who received four prescriptions in a

year, 41.3% meet diagnostic criteria for a lifetime opioid-abuse disorder. 51

      136. Once a patient begins opioid treatment, it is extraordinarily difficult to

stop. A 2017 CDC study determined that the probability of long-term use escalates

most sharply after five days and surges again when one month of opioids are




48
   Rudd et al., supra note 31.
49
   Addiction is a spectrum of substance use disorders that range from misuse and
abuse of drugs to addiction. Diagnostic and Statistical Manual of Mental
Disorders (5th ed. 20 I 3) ("DSM-V"). Throughout this Complaint, "addiction"
refers to the entire range of substance abuse disorders. Individuals suffer negative
consequences wherever they fall on the substance use disorder continuum.
50
   Deborah Dowell et al., supra note 39.
51
   Joseph A. Boscarino, Stuart N. Hoffman & John J. Han, Opioid-Use Disorder
Among Patients on Long-Term Opioid Therapy: Impact of Final DSM-5
Diagnostic Criteria on Prevalence and Correlates, 6 Substance Abuse and
Rehabilitation 83 (2015); see also Joseph A. Boscarino et al., Prevalence of
Prescription Opioid-Use Disorder Among Chronic Pain Patients: Comparison of
the DSM-5 vs. DSM-4 Diagnostic Criteria, 30 Journal of Addictive Diseases 185
(2011) (showing a 34.9% lifetime opioid use disorder).

                                          55
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 56 of 212




prescribed.52 A patient initially prescribed one month of opioids has a 29.9%

chance of still using at one year. 53 In one study, almost 60% of patients who used

opioids for 90 days were still using them five years later.54 When under the

continuous influence of opioids over a period of time, patients grow tolerant to

their analgesic effects. As tolerance increases, a patient requires progressively

higher doses to obtain the same levels of pain reduction he or she has become

accustomed to – up to and including dosage amounts that are considered by many

physicians to be “frighteningly high.” 55 And at higher doses, the effects of

withdrawal are most substantial, leaving a patient at a much higher risk of

addiction.

      137. Tolerance to the respiratory depressive effects of opioids develops at a

slower rate than tolerance to opioids’ analgesic effects. Accordingly, the practice

of continuously escalating dosages to match pain tolerance can, in fact, lead to

overdose even where opioids are taken as recommended.56 Patients receiving high


52
    Anuj Shah, Corey J. Hayes & Bradley C. Martin, Characteristics of Initial
Prescription Episodes and Likelihood of long-Term Opioid Use - United States,
2006-2015, 66 MORBIDITY &MORTALITY WKLY REP 265-269 (2017).
53
   Id.
54
   Bradley C. Martin et al., long-Term Chronic Opioid Therapy Discontinuation
Rates from the TROUP Study, 26 J. GEN. INTERNAL. MED. 1450 (2011).
55
    Mitchell H. Katz, Long-term Opioid Treatment of Nonmalignant Pain: A
Believer loses His Faith, 170( 16) ARCHIVES OF INTERNAL MED. 1422 (20 I 0).
56
   See Thomas R. Frieden & Debra Houry, supra note 7.

                                        56
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 57 of 212




doses of opioids as part of long-term opioid therapy are three to nine times more

likely to suffer overdose from opioid-related causes than those on low doses.

      138. One in every 550 patients on opioid treatment will die within, on

average, 2.6 years after their first opioid prescription. That number increases to 1

in 32 for patients receiving 200 morphine-milligram-equivalent per day

(“MME/day”).

      139. In short, there are no safe opioid doses, but the higher the dose and the

longer the treatment, the more likely a patient will suffer serious health

consequences.

      140. While the risks and adverse effects of dependence, tolerance, and

addiction are disclosed in the labels for Manufacturer Defendants' opioids, they are

not disclosed and/or are minimized in Manufacturer Defendants' marketing.

IV.   MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND
      UNFAIR MARKETING OF OPIOIDS

      141. The opioid epidemic did not happen by accident.

      142. Before the 1990s, generally accepted standards of medical practice

dictated that opioids should only be used short-term for acute pain, pain relating to

recovery from surgery, or for cancer or palliative (end-of-life) care. Due to the lack

of evidence that opioids improved patients' ability to overcome pain and function,

coupled with evidence of greater pain complaints as patients developed tolerance

                                         57
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 58 of 212




to opioids over time and the serious risk of addiction and other side effects, the use

of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

      143. In an effort to reverse this common medical understanding, each

Manufacturer Defendant conducted, and continues to conduct, a marketing scheme

designed to mislead doctors and patients about the safety and efficacy of opioids

for the treatment of chronic pain. The result of this scheme has been the use of

opioids by a far broader group of patients who are more likely to become addicted

and suffer other adverse effects from the long-term use of opioids. Each

Manufacturer Defendant spent, and continues to spend, millions of dollars on

promotional activities and materials that falsely deny or trivialize the risks of

opioids while overstating the benefits of using them for chronic pain.

      144. Contrary to the language on their drugs' labels, Manufacturer

Defendants have made false and misleading claims regarding the risks of using

their drugs that: (1) downplayed the serious risk of addiction; (2) created and

promoted the concept of “pseudoaddiction”; (3) exaggerated the effectiveness of

screening tools and management techniques to prevent or mitigate addiction;

(4) claimed that opioid dependence and withdrawal are easily managed; (5) denied

the risks of higher opioid dosages; (6) asserted that other methods of pain relief


                                         58
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 59 of 212




pose greater risks than opioids; (7) claimed that extended release opioids provided

effective pain relief for 12 hours; and/or (8) exaggerated the effectiveness of

“abuse-deterrent”   opioid   formulations     to   prevent   abuse   and    addiction.

Manufacturer Defendants have also falsely touted the benefits of long-term opioid

use, including the supposed ability of opioids to improve function and quality of

life, even though there was no scientifically reliable evidence to support

Manufacturer Defendants’ claims.

      145. Manufacturer Defendants disseminated these common messages

directly, through their sales representatives and in speaker groups led by physicians

Manufacturer Defendants recruited for the physicians' support of Manufacturer

Defendants' marketing messages, and through unbranded marketing and industry-

funded front groups. Through these efforts, Manufacturer Defendants sought to

reverse the popular and medical understanding of opioids and their risks.

      146. Manufacturer Defendants' efforts have been wildly successful. In an

open letter to the nation's physicians in August 2016, the then-U.S. Surgeon

General expressly connected this “urgent health crisis” to heavy marketing of




                                         59
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 60 of 212




opioids to doctors ... [m]any of [whom] were even taught incorrectly that opioids

are not addictive when prescribed for legitimate pain.”57

      147. Manufacturer Defendants intentionally continued their conduct, as

alleged herein, with knowledge that such conduct was creating a crisis and causing

the harms and damages alleged herein.

      A.     Each Manufacturer Defendant Used Multiple Avenues to
             Disseminate Their False and Deceptive Statements about Opioids

      148. Manufacturer Defendants employed the same marketing plans and

strategies and deployed the same message in Georgia as they did nationwide. They

spread their false and deceptive statements throughout the State, both by marketing

their branded opioids directly to doctors and patients and through seemingly

unbiased and independent third parties that they controlled.

      149. Manufacturer Defendants' direct marketing of opioids proceeded on

numerous tracks.     First, each Manufacturer Defendant conducted advertising

campaigns touting the purported benefits of their branded drugs, including through

advertising in medical journals.     Upon information and belief, Manufacturer

Defendants spent more than $14 million on medical journal advertising of opioids



57
   Letter from Yivek H. Murthy, M.D., U.S. Surgeon General (Aug. 2016),
available at http://i2.cdn.turner.com/cnn/2016/images/08/25/sg.opioid.letter.pdf
(last visited June 12, 2020).

                                         60
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 61 of 212




in 2011, nearly triple what they spent in 2001. Many of these branded ads

deceptively portrayed the benefits of opioids for chronic pain.

      150. Second, each Manufacturer Defendant promoted the use of opioids for

chronic pain through detailers - sales representatives who visited individual doctors

and medical staff in their offices - and small-group speaker programs. Each

Manufacturer Defendant devoted massive resources to direct sales contacts with

doctors. Upon information and belief, in 2014 alone, Manufacturer Defendants

spent more than $133 million58 on detailing branded opioids to doctors, more than

twice what they spent on detailing in 2000. Sales representatives visited hundreds

of thousands of doctors and disseminated Manufacturer Defendants' misleading

marketing messages. In accordance with common industry practice, Manufacturer

Defendants purchase and closely analyze prescription sales data from IMS Health

Holdings, Inc. (now IQVIA), a healthcare data collection, management, and

analytics corporation. This data allows them to precisely track the rates of initial

and renewal prescriptions by individual doctors, which allows them to target and

tailor their appeals. Sales representatives visited hundreds of thousands of doctors

and disseminated the misinformation and materials described above.



58
  The amount includes $108 million spent by Purdue, $13 million by Teva, $10
million by Endo, and $2 million by Allergan.

                                         61
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 62 of 212




      151. Third, Manufacturer Defendants marketed their opioids using

unbranded advertising, paid speakers and key opinion leaders (“KOLs”), and

industry-funded organizations posing as neutral and credible professional societies

and patient advocacy groups (referred to hereinafter as “Front Groups”).         By

funding, directing, reviewing, editing, and distributing this unbranded advertising,

Manufacturer Defendants controlled the deceptive messages disseminated by these

third parties and acted in concert with them to promote opioids falsely and

misleadingly for the treatment of chronic pain through scientific publications,

treatment guidelines, Continuing Medical Education (“CME”) programs, and

medical conferences and seminars.

                              Key Opinion Leaders

      152. Two of the most prominent KOLs were Dr. Russell Portenoy and Dr.

Lynn Webster.     Dr. Portenoy, former Chairman of the Department of Pain

Medicine and Palliative Care at Beth Israel Medical Center in New York, received

research support, consulting fees, and honoraria from Cephalon/Teva, Endo, and

Purdue (among others), and was a paid consultant to Cephalon/Teva and Purdue.

Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain.   He served on the American Pain Society (“APS”) and

American Academy of Pain Medicine (“AAPM”) Guidelines Committees, which


                                        62
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 63 of 212




endorsed the use of opioids to treat chronic pain, first in 1996 and again in 2009.

He was also a member of the board of the American Pain Foundation (“APF”),

which issued education guides for patients, reporters, and policy makers that touted

the benefits of opioids for chronic pain and trivialized their risks, particularly the

risk of addiction.

      153. Dr. Portenoy later admitted that he "gave innumerable lectures in the

late 1980s and ‘90s about addiction that weren’t true.” These lectures falsely

claimed that fewer than 1% of patients would become addicted to opioids.

According to Dr. Portenoy, because the primary goal was to “destigmatize”

opioids, he and other doctors promoting them overstated their benefits and glossed

over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.”59 Dr. Portenoy candidly stated: “Did I teach about pain

management, specifically about opioid therapy, in a way that reflects

misinformation? Well, ... I guess I did.”60

      154. Dr. Lynn Webster was the co-founder and Chief Medical Director of

Lifetree Clinical Research, a pain clinic in Salt Lake City, Utah. Dr. Webster was


59
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts,
WALL ST. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB1000142412788732447830457817334265704460
4 (last visited June 12, 2020).
60
   Id.

                                         63
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 64 of 212




President of the AAPM in 2013. He is a Senior Editor of Pain Medicine, which

published Endo special advertising supplements touting Opana ER. Dr. Webster

was the author of numerous CMEs sponsored by Cephalon/Teva, Endo, and

Purdue. At the same time. Dr. Webster was receiving significant funding from

Manufacturer Defendants (including nearly $2 million from Cephalon/Teva).

      155. Dr. Webster created and promoted the Opioid Risk Tool, a five

question, one-minute screening tool relying on patient self-reports that purportedly

allows doctors to manage the risk that their patients will become addicted to or

abuse opioids. The claimed ability to presort patients likely to become addicted is

an important tool in giving doctors confidence to prescribe opioids long-term, and

for this reason, references to screening tools appear in various industry-supported

guidelines. Versions of Dr. Webster's Opioid Risk Tool appear on, or are linked

to, websites run by Endo and Purdue.

      156. Dr. Webster also was a leading proponent of the concept of

“pseudoaddiction,” the notion that addictive behaviors should be seen not as

warnings, but as indications of undertreated pain. As he and co-author Beth Dove

wrote in their 2007 book Avoiding Opioid Abuse While Managing Pain - a book

that is still available online - when faced with signs of aberrant behavior,




                                        64
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 65 of 212




increasing the dose “in most cases ... should be the clinician's first response.”61

Upon information and belief, Endo distributed this book to doctors. Years later,

Dr. Webster reversed himself, acknowledging that “[pseudoaddiction] obviously

became too much of an excuse to give patients more medication.” 62

                                  Front Groups

      157. Manufacturer Defendants also entered into arrangements with

seemingly unbiased and independent patient and professional organizations to

misleadingly promote opioids for the treatment of chronic pain.         Under the

direction and control of Manufacturer Defendants, these Front Groups generated

treatment guidelines, unbranded materials, and programs that touted the benefits of

and minimized the risk associated with chronic opioid therapy. The Front Groups

also assisted Manufacturer Defendants by responding to negative articles, by

advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable

patient populations targeted by Manufacturer Defendants.



61
   LYNN R. WEBSTER & BETH DOVE, AVOIDING OPIOID ABUSE WHILE MANAGING
PAIN (Frederick W. Burgess, M.D. 2007).
62
   John Fauber, Painkiller Boom Fueled by Networking, MILWAUKEE WISC. J.
SENTINEL, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html/ (last visited June 12, 2020).

                                        65
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 66 of 212




      158. These Front Groups depended on Manufacturer Defendants for

funding and, in some cases, for survival. Manufacturer Defendants exercised

control over programs and materials created by these groups by collaborating on,

editing, and approving their content. Manufacturer Defendants also funded their

dissemination. In doing so, Manufacturer Defendants made sure that the Front

Groups would generate only the messages that Manufacturer Defendants wanted to

distribute. Despite this, the Front Groups held themselves out as independent

entities serving the needs of their members - whether patients suffering from pain

or doctors treating those patients.

      159. Several of the most prominent of Manufacturer Defendants' Front

Groups were the APF, APS, American Geriatrics Society (“AGS”), the Federation

of State Medical Boards (“FSMB”), American Chronic Pain Association

(“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation

(“USPF”) and Pain & Policy Studies Group (“PPSG”).63




63
  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. On Fin., to
Sec. Thomas E. Price, U.S. Dep't of Health and Human Servs., (May 5, 2015),
available at
https://www.finance.senate.gov/imo/media/doc/050817%20corrected%20Senator
%20Wyden%20to%20Secretary%20Price%20re%20FDA%20Opioid%20Prescrib
er%20Working%20Group%20(5%20May%202017).pdf (last visited June 12,
2020).

                                       66
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 67 of 212




      160. The most well-known of these was the APF, which, upon information

and belief, received more than $10 million in funding from opioid manufacturers

from 2007 until it closed in May 2012. APF issued education guides for patients,

reporters, and policy makers that touted the benefits of opioids for chronic pam and

trivialized their risks, particularly the risk of addiction. APF launched a campaign

to promote opioids for returning veterans, which has contributed to high rates of

addiction and other adverse outcomes, including death, among returning soldiers.

APF also engaged in a significant multimedia campaign, through radio, television

and the internet, to educate patients about their “right” to pain treatment, namely

opioids. All of APF's programs and materials were available nationally and were

intended to reach citizens of Georgia.

      161. The U.S. Senate Finance Committee began looking into APF in May

2012 to determine the links, financial and otherwise, between the organization and

the manufacturers of opioid painkillers. The investigation caused considerable

damage to APF's credibility as an objective and neutral third party, and

Manufacturer Defendants stopped funding it. Within days of being targeted by the

Senate investigation, APF's board voted to dissolve the organization “due to




                                         67
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 68 of 212




irreparable economic circumstances.”          APF “cease[d] to exist, effective

immediately.”64

      162. Another Front Group for Manufacturer Defendants was the AAPM.

With the assistance, prompting, involvement, and funding of Manufacturer

Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to Manufacturer Defendants'

deceptive marketing of chronic opioid therapy.

      163. The AAPM and the APS issued a joint guideline in 2009

("AAPM/APS Guidelines") which recommended the use of opioids to treat chronic

pain while overstating the benefits and downplaying the risks.65             Doctors,

especially the general practitioners and family doctors targeted by Manufacturer

Defendants, rely upon these treatment guidelines. Treatment guidelines not only

directly inform doctors’ prescribing practices but are cited throughout the scientific

literature and referenced by third-party payors in determining whether they should
64
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies'
Ties to Pain Groups, WASH. POST, May 8, 2012,
https://www.washingtonpost.com/national/health-science/senate-panel-
investigates-drug-companies-ties-to-pain-
groups/2012/05/08/gIQA2X4qBU_story.html?noredirect=on&utm_term=.6f519dd
9210e (last visited June 12, 2020).
65
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in
Chronic Non-Cancer Pain, 10 THE J. OF PAIN 113 (2009), available at
https://www.jpain.org/article/S1526-5900(08)00831-6/fulltext (last visited June 12,
2020).

                                         68
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 69 of 212




cover treatments for specific indications. Pharmaceutical sales representatives

employed by Endo, Allergan, and Purdue discussed the AAPM/APS Guidelines

with doctors during individual sales visits.

      164. Manufacturer Defendants worked together, through these Front

Groups, to spread their deceptive messages about the risks and benefits of long-

term opioid therapy.

      B.     Manufacturer Defendants’ Marketing Scheme Misrepresented
             the Risks and Benefits of Opioids

             i.     Manufacturer Defendants embarked upon a campaign of
                    false, deceptive, and unfair representations grossly
                    understating and misstating the dangerous addiction risks
                    of the opioid drugs.

      165. To convince physicians and patients that opioids are safe,

Manufacturer Defendants deceptively trivialized and failed to disclose the risks of

long-term opioid use, particularly the risk of addiction, through a series of

misrepresentations that have been conclusively debunked by the FDA and CDC.

These misrepresentations, often aimed at general practitioners and family doctors

who lack the time and expertise to closely manage higher-risk patients on opioids,

achieved their intended effect. Manufacturer Defendants' misrepresentations made

these doctors feel more comfortable prescribing opioids to their patients and

patients more comfortable starting opioid therapy for chronic pain.            The


                                          69
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 70 of 212




misrepresentations, described below, reinforced each other and created the

dangerously misleading impression that: (1) starting patients on opioids was low

risk because most patients would not become addicted and because those at

greatest risk for addiction could be identified and managed; (2) patients who

displayed signs of addiction probably were not addicted and, in any event, could

easily be weaned from the drugs; (3) the use of higher opioid doses, which many

patients need to sustain pain relief as they develop tolerance to the drugs, do not

pose special risks; (4) opioid dependence can be easily overcome via tapering or

other methods; and (5) the use of abuse-deterrent opioids lowers the risk of

addiction and overdose. Manufacturer Defendants have not only failed to correct

these misrepresentations, they continue to make them today.

         166. The first category of false, deceptive, and unfair claims utilized by

Manufacturer Defendants to convince doctors that opioids were safe for the long

term treatment of pain is that the risk of addiction was low. However these claims

are contrary to the longstanding scientific evidence. The CDC explained in its

opioid-prescription guideline (the “2016 CDC Guideline”) that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use

disorder [an alternative term for opioid addiction], [and] overdose ... ).” 66 The


66
     Deborah Dowell et al., supra note 39.

                                             70
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 71 of 212




2016 CDC Guideline states that “[o]pioid pain medication use presents serious

risks, including overdose and opioid use disorder” and that “continuing opioid

therapy for 3 months substantially increases risk for opioid use disorder.”67

      167. The FDA further exposed the falsity of Manufacturer Defendants'

claims about the low risk of addiction when it announced changes to the labels for

extended-release and long acting (“ER/LA”) opioids in 2013 and for immediate

release (“IR”) opioids in 2016. In its announcements, the FDA found that “most

opioid drugs have ‘high potential for abuse’” and that opioids “are associated with

a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome],

addiction, overdose, and death.” According to the FDA, because of the “known

serious risks” associated with long-term opioid use, including “risks of addiction,

abuse, and misuse, even at recommended doses, and because of the greater risks of

overdose and death,” opioids should be used only “in patients for whom alternative

treatment options” like non-opioid drugs have proved inadequate. 68



67
  Id. at 2, 25.
68
  Woodcock Sept. 10, 2013 letter, supra note 41; Letter from Janet Woodcock,
M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer A.
Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016), available at
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf (last visited June 12, 2020)
[hereinafter Woodcock Mar. 22, 2016 letter].

                                         71
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 72 of 212




         168. In addition to mischaracterizing the highly addictive nature of the

drugs they were pushing, Manufacturer Defendants also fostered a fundamental

misunderstanding of the signs of addiction. Specifically, Manufacturer Defendants

misrepresented, to doctors and patients, that warning signs and/or symptoms of

addiction were, instead, signs of undertreated pain and instructed doctors to

increase the opioid prescription dose for patients who were already in danger. Dr.

David Haddox, who became a vice president at Purdue, termed this supposed

henomenon as “pseudoaddiction.”

         169. The CDC rejected the validity of pseudoaddiction, as it was a reason

to push more opioid drugs onto already addicted patients.

         170. A third category of false, deceptive, and unfair representations made

by Manufacturer Defendants was that addiction risk screening tools, patient

contracts, urine drug screens, and similar strategies allow doctors to reliably

identify and safely prescribe opioids to patients predisposed to addiction.

         171. The 2016 CDC Guideline confirms the lack of support for these

claims. In its guideline, the CDC explains that there are no studies assessing the

effectiveness of risk mitigation strategies “or improving outcomes related to

overdose, addiction, abuse or misuse.” 69


69
     Deborah Dowell et al., supra note 39 at 15.

                                            72
          Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 73 of 212




         172. A fourth category of deceptive messaging regarding dangerous

opioids is Manufacturer Defendants' misrepresentations that opioid dependence

could be easily eliminated. Manufacturer Defendants falsely claimed that opioid

dependence can easily be addressed by tapering and that opioid withdrawal is not a

problem, but they failed to disclose the increased difficulty of stopping opioids

after long-term use.

         173. In truth, the 2016 CDC Guideline explains that the symptoms of

opioid withdrawal include abdominal pain, vomiting, diarrhea, sweating, tremor,

tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion, and

premature labor in pregnant women.70

         174. A fifth category of false, deceptive, and unfair statements made by

Manufacturer Defendants to sell more of their drugs is that opioid dosages could be

increased indefinitely without added risk. The ability to escalate dosages was

critical to Manufacturer Defendants' efforts to market opioids for long-term use to

treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief.




70
     Id. at 26.

                                        73
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 74 of 212




       175. Once again, the 2016 CDC Guideline reveals that Manufacturer

Defendants' representations were lacking in scientific evidence. The 2016 CDC

Guideline clarifies that the "[b]enefits of high-dose opioids for chronic pain are not

established" while the "risks for serious harms related to opioid therapy increase at

higher opioid dosage." 71 More specifically, the CDC explains that "there is now an

established body of scientific evidence showing that overdose risk is increased at

higher opioid dosages.” 72 The CDC also states that there is an increased risk "for

opioid use disorder, respiratory depression, and death at higher dosages." 73 That is

why the CDC advises doctors to "avoid increasing dosage" to above 90 morphine

milligram equivalents per day. 74 Additionally, a CDC clinical evidence review

found that higher opioid dosages were associated with increased risks of motor

vehicle injury, opioid use disorder, and overdoses, and that the increased risk rises

in a dose-dependent manner. Another study found that higher daily doses and

possible opioid misuse were also strong predictors of continued use, and associated

with increased risk of overdoses, fractures, dependence, and death.

       176. Manufacturer Defendants made misleading claims about the ability of

their so-called abuse-deterrent opioid formulations to deter abuse. For example,
71
   Id. at 22-23.
72
   Id. at 23-24.
73
   Id. at 21.
74
   Id. at 16.

                                         74
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 75 of 212




Endo's advertisements for the 2012 reformulation of Opana ER claimed that it was

designed to be crush resistant, in a way that suggested it was more difficult to

abuse. This claim was false. The FDA warned in a 2013 letter that Opana ER

Extended-Release Tablets' "extended-release features can be compromised,

causing the medication to 'dose dump,' when subject to ... forms of manipulation

such as cutting, grinding, or chewing, followed by swallowing."75 Endo's own

studies, which it failed to disclose, showed that Opana ER could still be ground

and chewed. In June 2017, the FDA requested that Opana ER be removed from

the market.

              ii.   Manufacturer Defendants embarked upon a campaign of
                    false, deceptive, and unfair representations grossly
                    overstating the benefits of the opioid drugs.

      177. To convince doctors and patients that opioids should be used to treat

chronic pain, Manufacturer Defendants also had to persuade them that there were

significant benefits to long-term opioid therapy. Manufacturer Defendants falsely

and misleadingly touted the benefits of long-term opioid use and falsely and

misleadingly suggested that scientific evidence supported these benefits.



75
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and
Research, U.S. Food and Drug Admin., U.S. Dep't of Health and Human Servs., to
Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc., FDA-2012-P-095
(May 10, 2013), at 5, [hereinafter Woodcock May 10, 2013 letter].

                                        75
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 76 of 212




      178. But as the CDC Guideline makes clear, "[n]o evidence shows a long-

term benefit of opioids in pain and function versus no opioids for chronic pain with

outcomes examined at least 1 year later (with most placebo-controlled randomized

trials ≤ 6 weeks in duration)" and that other treatments were more or equally

beneficial and less harmful than long-term opioid use.76

      179. In 2010, the FDA warned Allergan, in response to its advertising of

Kadian, that "we are not aware of substantial evidence or substantial clinical

experience demonstrating that the magnitude of the effect of the drug [Kadian] has

in alleviating pain, taken together with any drug-related side effects patients may

experience ... results in any overall positive impact on a patient's work, physical

and mental functioning, daily activities, or enjoyment of life." 77 And in 2008,

upon information and belief, the FDA sent a warning letter to an opioid

manufacturer, making it clear "that [the claim that] patients who are treated with

the drug experience an improvement in their overall function, social function, and

ability to perform daily activities ... has not been demonstrated by substantial

evidence or substantial clinical experience."
76
   Deborah Dowell et al., supra note 39 at 15.
77
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Comm., U.S.
Food & Drug Admin., to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18,
2010), available at
https://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf
(last visited June 12, 2020).

                                         76
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 77 of 212




         180. Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like nonsteroidal anti-

inflammatory drugs ("NSAIDs"), so that doctors and patients would look to

opioids first for the treatment of chronic pain.              Once again, these

misrepresentations by Manufacturer Defendants contravene pronouncements by

and guidance from the FDA and CDC based on the scientific evidence. Indeed, the

FDA changed the labels for ER/LA opioids in 2013 and IR opioids in 2016 to state

that opioids should only be used as a last resort "in patients for which alternative

treatment options" like non-opioid drugs "are inadequate." And the 2016 CDC

Guideline states that NSAIDs, not opioids, should be the first-line treatment for

chronic pain, particularly arthritis and lower back pain.78

         181. Purdue and the APF misleadingly promoted OxyContin as being

unique among opioids in providing 12 continuous hours of pain relief with one

dose. In fact, OxyContin does not last for 12 hours - a fact that Purdue has known

at all times relevant to this action. Upon information and belief, Purdue's own

research shows that OxyContin wears off in under six hours in one quarter of

patients and in under 10 hours in more than half.




78
     Deborah Dowell et al., supra note 39.

                                             77
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 78 of 212




      182. Cephalon/Teva deceptively marketed and continues to market its

opioids Actiq and Fentora for chronic pain even though the FDA has expressly

limited their use to the treatment of cancer pain in opioid tolerant individuals.

Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither

is approved for or has been shown to be safe or effective for chronic pain. Indeed,

the FDA expressly prohibited Cephalon/Teva from marketing Actiq for anything

but cancer pain and refused to approve Fentora for the treatment of chronic pain

because of the potential harm, including the high risk of "serious and life-

threatening adverse events" and abuse which are greatest in non-cancer patients.

             iii.   Each Manufacturer Defendant Made Materially Deceptive
                    Statements and Concealed Material Facts in the Promotion
                    of Their Opioid Products

                                      Purdue

      183. Purdue made and/or disseminated deceptive statements and concealed

material facts in marketing prescription opioids through multiple avenues,

including but not limited to the following:

      a.     Creating, sponsoring, and assisting in the distribution of patient
             education materials distributed to consumers that contained deceptive
             statements;

      b.     Creating and disseminating advertisements that contained deceptive
             statements concerning the ability of opioids to improve function long-
             term and concerning the evidence supporting the efficacy of opioids
             long-term for the treatment of chronic non-cancer pain;

                                         78
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 79 of 212




c.   Disseminating misleading statements concealing the true risk of
     addiction and promoting the deceptive concept of pseudoaddiction
     through Purdue's own unbranded publications and on internet sites
     Purdue operated that were marketed to and accessible by consumers;

d.   Distributing brochures to doctors, patients, and law enforcement
     officials that included deceptive statements concerning the indicators
     of possible opioid abuse;

e.   Sponsoring, directly distributing, and assisting in the distribution of
     publications that promoted the deceptive concept of pseudoaddiction,
     even for high-risk patients;

f.   Endorsing, directly distributing, and assisting in the distribution of
     publications that presented an unbalanced treatment of the long-term
     and dose-dependent risks of opioids versus NSAIDs;

g.   Providing significant financial support to pro-opioid KOL doctors
     who made deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain;

h.   Providing needed financial support to pro-opioid pain organizations
     that made deceptive statements, including in patient education
     materials, concerning the use of opioids to treat chronic non-cancer
     pain;

i.   Assisting in the distribution of guidelines that contained deceptive
     statements concerning the use of opioids to treat chronic non-cancer
     pain and misrepresented the risks of opioid addiction;

j.   Endorsing and assisting in the distribution of CMEs containing
     deceptive statements concerning the use of opioids to treat chronic
     non-cancer pain;

k.   Developing and disseminating scientific studies that misleadingly
     concluded opioids are safe and effective for the long-term treatment of


                                79
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 80 of 212




            chronic non-cancer pain and that opioids improve quality of life,
            while concealing contrary data;

      l.    Assisting in the dissemination of literature written by pro-opioid
            KOLs that contained deceptive statements concerning the use of
            opioids to treat chronic non-cancer pain;

      m.    Creating, endorsing, and supporting the distribution of patient and
            prescriber education materials that misrepresented the data regarding
            the safety and efficacy of opioids for the long-term treatment of
            chronic non-cancer pain, including known rates of abuse and
            addiction and the lack of validation for long-term efficacy;

      n.    Targeting veterans by sponsoring and disseminating patient education
            marketing materials that contained deceptive statements concerning
            the use of opioids to treat chronic non-cancer pain;
      o.    Targeting the elderly by assisting in the distribution of guidelines that
            contained deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain and misrepresented the risks of opioid
            addiction in this population;

      p.    Exclusively disseminating misleading statements in education
            materials to hospital doctors and staff while purportedly educating
            them on new pain standards;

      q.    Making deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain to prescribers through in-person detailing;
            and

      r.    Withholding from law enforcement the names of prescribers Purdue
            believed to be facilitating the diversion of its opioids, while
            simultaneously marketing opioids to these doctors by disseminating
            patient and prescriber education materials and advertisements and
            CMEs they knew would reach these same prescribers.

      184. Illustrative examples of Purdue's false, deceptive and/or unfair claims

include the following:

                                        80
     Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 81 of 212




     a.   Purdue published a pamphlet in 2011 entitled Providing Relief:
          Preventing Abuse, which, upon information and belief, described
          pseudoaddiction as a concept that "emerged in the literature" to
          describe the inaccurate interpretation of [drug-seeking behaviors] in
          patients who have pain that has not been effectively treated."

     b.   Upon information and belief, Purdue ran a series of ads, called "pain
          vignettes," for OxyContin in 2012 in medical journals. These ads
          featured chronic pain patients and recommended OxyContin for each.
          One ad described a "54-year-old writer with osteoarthritis of the
          hands" and implied that OxyContin would help the writer work more
          effectively.

     c.   Upon information and belief: Purdue's "In the Face of Pain" website
          promoted the notion that if a patient's doctor does not prescribe what,
          in the patient's view, is a sufficient dosage of opioids, he or she should
          find another doctor who will.

     d.   Purdue presented a 2015 paper at the College on the Problems of Drug
          Dependence challenging the correlation between opioid dosage and
          overdose. 79

     e.   Upon information and belief, Purdue sponsored a CME program titled
          "Path of the Patient, Managing Chronic Pain in Younger Adults at
          Risk for Abuse." In a role play, a chronic pain patient with a history of
          drug abuse tells his doctor that he is taking twice as many
          hydrocodone pills as directed. The narrator notes that because of
          pseudoaddiction, the doctor should not assume the patient is addicted
          even if he persistently asks for a specific drug, seems desperate,
          hoards medicine, or "overindulges in unapproved escalating doses."
          The doctor treats this patient by prescribing a high-dose, long-acting
          opioid.

     f.   Upon information and belief, Purdue sponsored a 2011 webinar,
          "Managing Patient's Opioid Use: Balancing the Need and Risk,"
79
    The College on Problems of Drug Dependence, About the College,
http://cpdd.org (last visited June 12, 2020).

                                      81
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 82 of 212




           which claimed that screening tools, urine tests, and patient agreements
           prevent "overuse of prescriptions" and "overdose deaths."

     g.    As recently as 2015, upon information and belief, Purdue has
           represented in scientific conferences that "bad apple" patients - and
           not opioids – are the source of the addiction crisis and that once those
           "bad apples" are identified, doctors can safely prescribe opioids
           without causing addiction.

     h.    In 2007, Purdue sponsored a CME entitled "Overview of Management
           Options" that was available for CME credit and available until at least
           2012. The CME was edited by a KOL and taught that NSAIDs and
           other drugs, but not opioids, are unsafe at high dosages.

     i.    Purdue sponsored APF's A Policymaker's Guide to Understanding
           Pain & Its Management, which claims that less than 1% of children
           prescribed opioids will become addicted and that pain is undertreated
           due to "[m]isconceptions about opioid addiction." 80 The guide further
           taught that dosage escalations are "sometimes necessary," and that
           "the need for higher doses of medication is not necessarily indicative
           of addiction," but inaccurately downplayed the risks from high opioid
           dosages. 81

     j.    Purdue (along with Cephalon/Teva) sponsored APF's "Treatment
           Options: A Guide for People Living with Pain (2007)," which
           suggested that addiction is rare and limited to extreme cases of
           unauthorized dose escalations, obtaining duplicative opioid
           prescriptions from multiple sources, or theft. The guide further claims
           that some patients "need" a larger dose of an opioid, regardless of the
           dose currently prescribed. The guide stated that opioids have "no
           ceiling dose" and insinuated that they are therefore the most


80
    Am. Pain Found., A Policymaker's Guide to Understanding Pain & Its
Management 6 (2011) [hereinafter APF, Policymaker's Guide], available at
 http://assets.documentcloud.org/documents/277603/apf-policymakers-guide.pdf
(last visited June 12, 2020).
81
   Id. at 32.

                                       82
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 83 of 212




            appropriate treatment for severe pain.82 The guide also counseled
            patients that opioids "give [pain patients] a quality of life we
            deserve."83 This publication is still available online.84

      k.    Purdue (along with Endo and Cephalon/Teva) sponsored and/or
            distributed "Responsible Opioid Prescribing" (2007), which taught
            that behaviors such as "requesting drugs by name," "demanding or
            manipulative behavior," seeing more than one doctor to obtain
            opioids, and hoarding are all signs of pseudoaddiction, rather than true
            addiction. 85 It also taught that relief of pain by opioids, by itself,
            improved patients' function.86 The 2012 edition, which remains
            available for sale online, continues to teach that pseudoaddiction is
            real.87

      l.    Seeking to overturn the criminal conviction of a doctor for illegally
            prescribing opioids, APF and NFP, Front Groups for Manufacturer
            Defendants, including Purdue, argued in an amicus brief to the United
            States Fourth Circuit Court of Appeals that "patients rarely become
            addicted to prescribed opioids," citing research by their KOL, Dr.
            Portenoy. 88 The amicus brief also argued that "there is no 'ceiling
            dose"' for opioids. 89


82
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007)
[hereinafter APF, Treatment Options]
http://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
visited June 12, 2020).
83
   Id.
84
   Id.
85
    SCOTT M. FISHMAN, M.D., RESPONSIBLE OPIOID PRESCRIBING: A PHYSICIAN'S
GUIDE (2007) at 62.
86
   Id.
87
   Id.
88
   Brief of the American Pain Foundation, the National Pain Foundation, and the
National Foundation for the Treatment of Pain in Support of Appellant and
Reversal of the Conviction, United States v. Hurowitz, No. 05-4474 (4th Cir. Sept.
8, 2005) [hereinafter Brief of APF] at 9.
89
   Id.

                                        83
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 84 of 212




      185. Endo made and/or disseminated deceptive statements and concealed

material facts in marketing prescription opioids through multiple avenues,

including but not limited to the following:

      a.     Creating, sponsoring, and assisting in the distribution of patient
             education materials that contained deceptive statements;

      b.     Creating and disseminating advertisements that contained deceptive
             statements concerning the ability of opioids to improve function long-
             term and concerning the evidence supporting the efficacy of opioids
             long-term for the treatment of chronic non-cancer pain;

      c.     Creating and disseminating paid advertisement supplements in
             academic journals promoting chronic opioid therapy as safe and
             effective for long term use for high risk patients;

      d.     Creating and disseminating advertisements that falsely and
             inaccurately conveyed the impression that Endo's opioids would
             provide a reduction in oral, intranasal, or intravenous abuse;

      e.     Disseminating misleading statements concealing the true risk of
             addiction and promoting the misleading concept of pseudoaddiction
             through Endo's own unbranded publications and on internet sites Endo
             sponsored or operated;

      f.     Endorsing, directly distributing, and assisting in the distribution of
             publications that presented an unbalanced treatment of the long-term
             and dose-dependent risks of opioids versus NSAIDs;

      g.     Providing significant financial support to pro-opioid KOLs, who made
             deceptive statements concerning the use of opioids to treat chronic
             non-cancer pain;

      h.     Providing needed financial support to pro-opioid pain organizations -
             including over $5 million to the organization responsible for many of
             the most egregious misrepresentations— that made deceptive

                                         84
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 85 of 212




            statements, including in patient education materials, concerning the
            use of opioids to treat chronic non-cancer pain;

      i.    Targeting the elderly by assisting in the distribution of guidelines that
            contained deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain and misrepresented the risks of opioid
            addiction in this population;

      j.    Endorsing and assisting in the distribution of CMEs containing
            deceptive statements concerning the use of opioids to treat chronic
            non-cancer pain;

      k.    Developing and disseminating scientific studies that deceptively
            concluded opioids are safe and effective for the long-term treatment of
            chronic non-cancer pain and that opioids improve quality of life,
            while concealing contrary data;

      l.    Directly distributing and assisting in the dissemination of literature
            written by pro-opioid KOLs that contained deceptive statements
            concerning the use of opioids to treat chronic non-cancer pain,
            including the concept of pseudoaddiction;

      m.    Creating, endorsing, and supporting the distribution of patient and
            prescriber education materials that misrepresented the data regarding
            the safety and efficacy of opioids for the long-term treatment of
            chronic non-cancer pain, including known rates of abuse and
            addiction and the lack of validation for long-term efficacy; and

      n.    Making deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain to prescribers through in-person detailing.

      186. Illustrative examples of Endo' s false, deceptive, and/or unfair claims

include the following:

      a.    Endo sponsored a website, "Pain Knowledge," which, upon
            information and belief, claimed in 2009 that "[p]eople who take
            opioids as prescribed usually do not become addicted" and that opioid

                                        85
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 86 of 212




     dosages may be increased until "you are on the right dose of
     medication for your pain." Additionally, upon information and belief,
     the website claimed that with opioids, "your level of function should
     improve; you may find you are now able to participate in activities of
     daily living, such as work and hobbies, that you were not able to enjoy
     when your pain was worse." Elsewhere, the website touted improved
     quality of life (as well as "improved function") as benefits of opioid
     therapy. The grant request that Endo approved for this project
     specifically indicated National Initiative on Pain Control's ("NIPC")
     intent to make misleading claims about function.

b.   Upon information and belief, another Endo website, PainAction.com,
     stated "Did you know? Most chronic pain patients do not become
     addicted to the opioid medications that are prescribed for them."
     Endo also distributed an "Informed Consent" document on
     PainAction.com that misleadingly suggested that only people who
     "have problems with substance abuse and addiction" are likely to
     become addicted to opioid medications.

c.   Upon information and belief, Endo distributed a pamphlet with the
     Endo logo entitled "Living with Someone with Chronic Pain," which
     stated that: "Most health care providers who treat people with pain
     agree that most people do not develop an addiction problem."

d.   Endo paid for a 2007 supplement in the Journal of Family entitled
     "Pain Management Dilemmas in Primary Care: Use of Opioids,"
     which emphasized the effectiveness of screening tools, claiming that
     patients at high risk of addiction could safely receive chronic opioid
     therapy using a "maximally structured approach" involving toxicology
     screens and pill counts.

e.   Endo distributed and made available on its website (opana.com) a
     pamphlet promoting Opana ER with photographs depicting patients
     with physically demanding jobs, such as construction workers, chefs,
     and teachers, implying that the drug would provide long-term pain-
     relief and functional improvement.



                                86
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 87 of 212




     f.    Endo distributed a pamphlet edited by a KOL entitled "Understanding
           Your Pain: Taking Oral Opioid Analgesics" (2004 Endo
           Pharmaceuticals PM-0120). In Q&A format, it asked "If I take the
           opioid now, will it work later when I really need it?" The response is,
           "The dose can be increased ... You won't 'run out' of pain relief." 90

     g.    Endo distributed "Responsible Opioid Prescribing" (2007), which
           taught that behaviors such as "requesting drugs by name," "demanding
           or manipulative behavior," seeing more than one doctor to obtain
           opioids, and hoarding are all signs of pseudoaddiction, rather than true
           addiction. 91 It also taught that relief of pain by opioids, by itself:
           improved patients' function.92 The 2012 edition, which remains
           available for sale online, continues to teach that pseudoaddiction is
           real.93

     h.    Endo sponsored a National Initiative on Pain Control ("NIPC") CME
           program in 2009 entitled "Chronic Opioid Therapy: Understanding
           Risk While Maximizing Analgesia," which, upon information and
           belief, promoted pseudoaddiction by teaching that a patient's aberrant
           behavior was the result of untreated pain. Endo appears to have
           substantially controlled NIPC by funding NIPC projects; developing,
           specifying, and reviewing content; and distributing NIPC materials.

     i.    Endo was the sole sponsor, through NIPC, of a series of CMEs
           entitled "Persistent Pain in the Older Patient." Upon information and
           belief, a CME disseminated via webcast claimed that chronic opioid
           therapy has been "shown to reduce pain and improve depressive
           symptoms and cognitive functioning."

     j.    Seeking to overturn the criminal conviction of a doctor for illegally
           prescribing opioids, APF and NFP, Front Groups for Manufacturer
           Defendants (including Endo), argued in an amicus brief to the United
90
    Margo McCaffery & Chris Pasero, Endo Pharrn., Understanding Your Pain:
Taking Oral Opioid Analgesics. (Russell K. Portenoy, M.D., ed., 2004).
91
   Scott M. Fishman, M.D., supra note 81 at 62.
92
   Id.
93
   Id.

                                       87
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 88 of 212




               States Fourth Circuit Court of Appeals that "patients rarely become
               addicted to prescribed opioids," citing research by their KOL, Dr.
               Portenoy. 94 The amicus brief also argued that "there is no 'ceiling
               dose"' for opioids. 95

                                     Mallinckrodt

         187. Mallinckrodt made and/or disseminated deceptive statements and

concealed facts in marketing prescription opioids through multiple avenues,

including but not limited to the following:

         a.    Creating, sponsoring, and assisting in the distribution of patient
               education materials that contained deceptive statements;

         b.    Directly disseminating deceptive statements through internet sites
               over which Mallinckrodt exercised final editorial control and approval
               stating that opioids are safe and effective for the long-term treatment
               of chronic non-cancer pain and that opioids improve quality of life
               while concealing contrary data;

         c.    Disseminating deceptive statements concealing the true risk of
               addiction and promoting the deceptive concept of pseudoaddiction
               through internet sites over which Mallinckrodt exercised final
               editorial control and approval;

         d.    Promoting opioids for the treatment of conditions for which
               Mallinckrodt knew, due to the scientific studies it conducted, that
               opioids were not efficacious and concealing this information;

         e.    Sponsoring, directly distributing, and assisting in the dissemination of
               patient education publications over which Mallinckrodt exercised
               final editorial control and approval, which presented an unbalanced


94
     Brief of APF, supra note 84 at 9.
95
     Id.

                                           88
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 89 of 212




     treatment of the long-term and dose dependent risks of opioids versus
     NSAIDs;

f.   Providing significant financial support to pro-opioid KOLs, who made
     deceptive statements concerning the use of opioids to treat chronic
     non-cancer pain;

g.   Providing necessary financial support to pro-opioid pain organizations
     that made deceptive statements, including in patient education
     materials, concerning the use of opioids to treat chronic non-cancer
     pain;

h.   Targeting the elderly by assisting in the distribution of guidelines that
     contained deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain and misrepresented the risks of opioid
     addiction in this population;

i.   Targeting the elderly by sponsoring, directly distributing, and
     assisting in the dissemination of patient education publications
     targeting this population that contained deceptive statements about the
     risks of addiction and the adverse effects of opioids, and made false
     statements that opioids are safe and effective for the long-term
     treatment of chronic non-cancer pain and improve quality of life,
     while concealing contrary data;

j.   Endorsing and assisting in the distribution of CMEs containing
     deceptive statements concerning the use of opioids to treat chronic
     non-cancer pain;

k.   Directly distributing and assisting in the dissemination of literature
     written by pro-opioid KOLs that contained deceptive statements
     concerning the use of opioids to treat chronic non-cancer pain,
     including the concept of pseudoaddiction;

l.   Creating, endorsing, and supporting the distribution of patient and
     prescriber education materials that misrepresented the data regarding
     the safety and efficacy of opioids for the long-term treatment of


                                 89
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 90 of 212




            chronic non-cancer pain, including known rates of abuse and
            addiction and the lack of validation for long-term efficacy;

      m.    Targeting veterans by sponsoring and disseminating patient education
            marketing materials that contained deceptive statements concerning
            the use of opioids to treat chronic non-cancer pain; and

      n.    Making deceptive statements concerning the use of opioids to treat
            chronic non- cancer pain to prescribers through in-person detailing.

      188. Illustrative examples of Mallinckrodt's false, deceptive, and/or unfair

claims include the following:

      a.    Mallinckrodt, through an organization it controls called the
            C.A.R.E.S. (Collaborating and Acting Responsibly to Ensure Safety)
            Alliance, which ostensibly is devoted to responsible prescribing and
            reducing opioid pain medication abuse, published a book titled Defeat
            Chronic Pain Now! That made the following misrepresentations:

            1.     “Only rarely does opioid medication cause a true addiction; It is
                   currently recommended that every chronic pain patient
                   suffering from moderate to severe pain be viewed as a potential
                   candidate for opioid therapy.”

            2.     "When chronic pain patients take opioids to treat their pain,
                   they rarely develop a true addiction and drug craving."

            3.     "Only a minority of chronic pain patients who are taking long-
                   term opioids develop tolerance."

            4.     "The bottom line: Only rarely does opioid medication cause a
                   true addiction when prescribed appropriately to a chronic pain
                   patient who does not have a prior history of addiction."

            5.     "Here are the facts. It is very uncommon for a person with
                   chronic pain to become 'addicted' to narcotics IF (1) he doesn't


                                        90
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 91 of 212




                   have a prior history of 'any addiction and (2) he only takes the
                   medication to treat pain.

             6.    "Studies have shown that many chronic pain patients can
                   experience significant pain relief with tolerable side effects
                   from opioid narcotic medication when taken daily and no
                   addiction. When prescribed appropriately to a chronic pain
                   patient who does not have a prior history of addiction."

      b.     Mallinckrodt's website, in a section on responsible use of opioids,
             claims that "[t]he effective pain management offered by our medicines
             helps enable patients to stay in the workplace, enjoy interactions with
             family and friends, and remain an active member of society." 96

      c.     Seeking to overturn the criminal conviction of a doctor for illegally
             prescribing opioids, APF and NFP, Front Groups for Manufacturer
             Defendants (including Mallinckrodt), argued in an amicus brief to the
             United States Fourth Circuit Court of Appeals that "patients rarely
             become addicted to prescribed opioids," citing research by their KOL,
             Dr. Portenoy. 97 The amicus brief also argued that "there is no 'ceiling
             dose'" for opioids. 98

                                  Cephalon/Teva

      189. Cephalon/Teva made and/or disseminated deceptive statements and

concealed material facts in marketing prescription opioids through multiple

avenues, including but not limited to the following:

      a.     Creating, sponsoring, and assisting in the distribution of patient
             education materials that contained deceptive statements;


96
   MALLINCKRODT PHARMACEUTICALS, http://www.mallinckrodt.com/corporate-
responsibility/responsible-use (last visited June 12, 2020).
97
   Brief of APF, supra note 84 at 9.
98
   Id.

                                         91
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 92 of 212




b.   Sponsoring and assisting in the distribution of publications that
     promoted the deceptive concept of pseudoaddiction, even for high-
     risk patients;

c.   Providing significant financial support to pro-opioid KOL doctors
     who made deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain and break through chronic non-cancer pain;

d.   Developing and disseminating scientific studies that deceptively
     concluded opioids are safe and effective for the long-term treatment of
     chronic non-cancer pain in conjunction with Cephalon/Teva's potent
     rapid-onset opioids;

e.   Providing needed financial support to pro-opioid pain organizations
     that made deceptive statements, including in patient education
     materials, concerning the use of opioids to treat chronic non-cancer
     pain;

f.   Endorsing and assisting in the distribution of CMEs containing
     deceptive statements concerning the use of opioids to treat chronic
     non-cancer pain;

g.   Endorsing and assisting in the distribution of CMEs containing
     deceptive statements concerning the use of Cephalon/Teva' s rapid-
     onset opioids;

h.   Directing its marketing of Cephalon/Teva's rapid-onset opioids to a
     wide range of doctors, including general practitioners, neurologists,
     sports medicine specialists, and workers' compensation programs,
     serving chronic pain patients;

i.   Making deceptive statements concerning the use of Cephalon/Teva's
     opioids to treat chronic non-cancer pain to prescribers through in-
     person detailing and speakers' bureau events, when such uses are
     unapproved and unsafe; and




                                92
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 93 of 212




      j.    Making deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain to prescribers through in-person detailing and
            speakers' bureau events.

      190. Illustrative examples of Cephalon/Teva's false, deceptive and/or unfair

claims include the following:

      a.    Cephalon/Teva (along with Purdue) sponsored APF's "Treatment
            Options: A Guide for People Living with Pain" (2007), which
            suggested that addiction is rare and limited to extreme cases of
            unauthorized dose escalations, obtaining duplicative opioid
            prescriptions from multiple sources, or theft. The guide further claims
            that some patients "need" a larger dose of an opioid, regardless of the
            dose currently prescribed. The guide stated that opioids have "no
            ceiling dose" and insinuated that they are therefore the most
            appropriate treatment for severe pain.99 The guide also counseled
            patients that opioids "give [pain patients] a quality of life we
            deserve."100 This publication is still available online.101

      b.    Cephalon/Teva (along with Endo and Purdue) sponsored and/or
            distributed "Responsible Opioid Prescribing" (2007), which taught
            that behaviors such as "requesting drugs by name," "demanding or
            manipulative behavior," seeing more than one doctor to obtain
            opioids, and hoarding are all signs of pseudoaddiction, rather than true
            addiction. 102 It also taught that relief of pain by opioids, by itself,
            improved patients' function.103 The 2012 edition, which remains
            available for sale online, continues to teach that pseudoaddiction is
            real.104



99
   APF, Treatment Options, supra note 78, at 12.
100
    Id.
101
    Id.
102
    Scott M. Fishman, M.D., supra note 81 at 62.
103
    Id.
104
    Id.

                                        93
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 94 of 212




         c.    Seeking to overturn the criminal conviction of a doctor for illegally
               prescribing opioids, APF and NFP, Front Groups for Manufacturer
               Defendants (including Cephalon/Teva), argued in an amicus brief to
               the United States Fourth Circuit Court of Appeals that "patients rarely
               become addicted to prescribed opioids," citing research by their KOL,
               Dr. Portenoy. 105 The amicus brief also argued that "there is no 'ceiling
               dose"' for opioids. 106

                                          Allergan

         191. Allergan made and/or disseminated deceptive statements and

concealed materials facts in marketing prescription opioids through multiple

avenues, including but not limited to the following:

         a.    Making deceptive statements concerning the use of opioids to treat
               chronic non-cancer pain to prescribers through in-person detailing;

         b.    Creating and disseminating advertisements that contained deceptive
               statements that opioids are safe and effective for the long-term
               treatment of chronic non-cancer pain and that opioids improve quality
               of life;

         c.    Creating and disseminating advertisements that concealed the risk of
               addiction in the long-term treatment of chronic, non-cancer pain; and

         d.    Developing and disseminating scientific studies that deceptively
               concluded opioids are safe and effective for the long-term treatment of
               chronic non-cancer pain and that opioids improve quality of life while
               concealing contrary data.

         192. Illustrative examples of Allergan's false, deceptive and/or unfair

claims include the following:
105
      Brief of APF, supra note 84 at 9.
106
      Id.

                                            94
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 95 of 212




         a.    Allergan's predecessor caused a patient education brochure,
               "Managing Chronic Back Pain," to be distributed beginning in 2003
               that admitted that opioid addiction is possible, but misleadingly
               claimed that it is "less likely if you have never had an addiction
               problem." Based on Allergan's acquisition of its predecessor's
               marketing materials along with the rights to Kadian, it appears that
               Allergan continued to use this brochure in 2009 and beyond.

         b.    Upon information and belief Allergan distributed an advertisement
               claiming that the use of Kadian to treat chronic pain would allow
               patients to return to work, relieve "stress on your body and your
               mental health," and help patients enjoy their lives.

         c.    Seeking to overturn the criminal conviction of a doctor for illegally
               prescribing opioids, APF and NFP, Front Groups for Manufacturer
               Defendants (including Allegran), argued in an amicus brief to the
               United States Fourth Circuit Court of Appeals that "patients rarely
               become addicted to prescribed opioids," citing research by their KOL,
               Dr. Portenoy. 107 The amicus brief also argued that "there is no 'ceiling
               dose"' for opioids. 108

         iv.   Manufacturer Defendants Have a History of Criminal and Civil
               Charges for their Unlawful Conduct.

         193. In 2007, Purdue settled criminal and civil charges concerning its

misbranding of OxyContin and entered into a corporate integrity agreement with

the Office of Inspector General of the U.S. Department of Health and Human

Services.      Purdue was forced to admit it illegally marketed and promoted

OxyContin by claiming it was less addictive and less subject to abuse than other

pain medications. Purdue agreed to pay nearly $635 million in fines, and three of
107
      Brief of APF, supra note 84 at 9.
108
      Id.

                                           95
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 96 of 212




its executives pled guilty to federal criminal charges for misleading regulators,

doctors, and patients about OxyContin's risk of addiction and its potential to be

abused. At the time, this was one of the largest settlements with a drug company

for marketing misconduct.109

      194. In 2008, Cephalon/Teva pled guilty to a criminal violation of the

Federal Food, Drug and Cosmetic Act for its misleading promotion of Actiq and

two other drugs and agreed to pay $425 million.110

      195. In 2015, the Indiana Department of Public Health determined that an

HIV outbreak in southeastern Indiana was linked to injection of the prescription

painkiller Opana,111 the first documented HIV outbreak in the United States

associated with injection of a prescription painkiller. After the outbreak, the FDA

required "that Endo Pharmaceuticals remove [Opana ER] from the market." The




109
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. TIMES
(May 10, 2007), https://www.nytimes.com/2007/05/10/business/11drug-web.html
(last visited June 12, 2020).
110
    U.S. Dep't of Justice, Biopharmaceutical Company, Cephalon, to Pay $425
Million & Enter Plea to Resolve Allegations of Off-Label Marketing (Sept. 29,
2008), https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html
(last visited June 12, 2020).
111
    State of Indiana Health Department, HIV Outbreak in Southeastern Indiana
(Feb. 25, 2015), available at https://calendar.in.gov/site/isdh/event/hiv-outbreak-
in-southeastern-indiana/ (last visited June 12, 2020).

                                        96
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 97 of 212




agency sought removal "based on its concern that the benefits of the drug may no

longer outweigh its risks."112

      196. In 2017, the Department of Justice fined Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and

for violating recordkeeping requirements.113 Mallinckrodt was aware that it was

fulfilling suspicious orders through chargeback data it collected to provide rebates

or other discounts to the distributor or other third parties.     Manufacturers of

pharmaceuticals offer discounts, known as "chargebacks," based on sales to certain

downstream customers.       Distributors provide information on the downstream

customer purchases to obtain the discount. The settlement requires a manufacturer

to utilize chargeback and similar data to monitor and report to the DEA suspicious

sales of its oxycodone at the next level in the supply chain, typically sales from

distributors to independent and small chain pharmacy and pain clinic customers.
112
    CNN Wire, FDA wants Opioid at Center of Scott County HIV Outbreak Pulled
Off Market, FOX59.COM (June 9, 2017) https://fox59.com/2017/06/09/fda-wants-
opioid-at-center-of-scott-county-hiv-outbreak-pulled-off-market/ (last visited June
12, 2020); FDA, FDA Requests Removal of Opana ER for Risks Related to Abuse,
(June 8, 2017)
https://www.fda.gov/newsevents/newsroom/pressannouncements/ucm562401.htm
(last visited June 12, 2020).
113
    U.S. Dep't of Justice, Mallinckrodt Agrees to Pay Record $35 Million
Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and
for Recordkeeping Violations, https://www.justice.gov/opa/pr/mallinckrodt-agrees-
pay-record-35-million-settlement-failure-report-suspicious-orders (last visited June
12, 2020).

                                        97
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 98 of 212




V.  DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
OPIOIDS

      197. While Manufacturer Defendants created the demand for opioids,

Distributor Defendants accelerated the opioid crisis which is arguably the worst

drug crisis in Georgia and American history. Distributor Defendants serve as the

critical choke point. They are obligated in Georgia, as well as to all states they do

business in, to monitor, detect, report, investigate, or otherwise prevent the

fulfillment of suspicious orders of prescription opioids destined for dispensing

physicians and pharmacies in Georgia. If they fail in their duty, the foreseeable

harm to the State of Georgia is the diversion of prescription opioids for illegitimate

purposes.

      198. Faced with this critically important duty, Distributor Defendants

ignored it, and over time, flooded the market with opioid prescription drugs. These

actions led to the widespread diversion of opioids for illegitimate purposes, which

foreseeably devastated the communities the CSBs serve.

      199. Distributor Defendants' unlawful conduct was actively concealed from

the government authorities for years. One of the ways wholesale distributors are

supposed to maintain controls against the diversion of prescription opiates is by

inputting all distributions in the DEA Automation of Reports and Consolidated

Orders Systems (ARCOS) database. This database contains monthly reports from

                                         98
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 99 of 212




each wholesale distributor and documents the number of doses of each controlled

substance sold to every pharmacy on a monthly basis. The information in the

ARCOS database is confidential. The public has never seen the data related to the

volume of prescription opiates distributed in each community. This data, when

viewed in its total form will illustrate Distributor Defendants' indifference to their

obligations. Additional discovery will reveal the full extent of Distributor

Defendants' conduct.

      A.     Wholesale Drug Distributors are Obligated under Federal and
             State Law to Monitor, Detect, Report, Investigate, or Otherwise
             Prevent the Fulfillment of Suspicious Orders.

      200. Opioids are a controlled substance and are categorized as having a

"high potential for abuse" under Georgia law. See O.C.G.A. § 16-13-24; see also

21 U.S.C.A. §§ 812(b), 812(2)(A)-(C).

      201. Distributor Defendants have numerous obligations under Georgia law

related to the distribution of controlled substances. These obligations include the

requirement that they operate in compliance with applicable Federal, State and

local laws and regulations, including, among other things, the Georgia Controlled




                                         99
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 100 of 212




Substances Act, O.C.G.A. § 16-13-1, et seq. ("GCSA"), and the federal Controlled

Substances Act. 114

      202. Each Defendant is required, pursuant to the GCSA, to register with

the Georgia State Board of Pharmacy. Registration as a distributor in Georgia is

contingent upon Distributor Defendants' maintenance of effective controls against

diversion of controlled substances into other than legitimate medical, scientific, or

industrial channels. See, e.g., O.C.G.A. § 16-13-36. The State of Georgia relies on

each Distributor Defendant's representation that it meets its duties.

      203. Each Distributor Defendant was further required to register with the

DEA, pursuant to the federal Controlled Substances Act. See GA. COMP. R. &

REGS. 480-7-.03(10); 21 U.S.C. § 823(b), (e); and 28 C.F.R. § 0.100. Each

Distributor Defendant is a "registrant" as a wholesale distributor in the chain of

distribution of Schedule II controlled substances with a duty to comply with all

security requirements imposed under that statutory scheme.




114
   See GA. COMP. R. & REGS. 480-7-.03(10) (“Wholesale drug distributors shall
operate in compliance with applicable Federal, State, and local laws and
regulations” and “[w]holesale drug distributors that deal in controlled substances
shall register with the appropriate State controlled substance authority and with the
Drug Enforcement Administration (DEA), and shall comply with all applicable
State, Local, and DEA regulations”).

                                         100
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 101 of 212




       204. Manufacturers and wholesale distributors have a duty to maintain

adequate records of transactions involving a controlled substance. O.C.G.A. § 16-

13-39.

       205. Distributor Defendants are further obligated to “design and operate a

system to disclose to the registrant [distributor] suspicious orders of controlled

substances.” See 21 C.F.R. § 1307.74(b); see also GA. COMP. R. & REGS. 480-7-

.03(10). 115   Once discovered, Distributor Defendants have a duty to maintain

records of suspicious orders of controlled substances received (GA. COMP. R. &

REGS. 480-20-.02) and automatically submit reports of any suspicious orders of

controlled substances to the Georgia Drugs and Narcotics Agency (O.C.G.A. § 26-

4-115).

       206. Suspicious orders include, but are not limited to, orders of unusual

size, orders deviating substantially from a normal pattern, and orders of unusual

frequency. O.C.G.A. § 26-4-115; 21 C.F.R. § 1301.74(b).




115
    See also HOMA and the National Association of Chain Drug Stores
("NACDS"), 2016 WL 1321983, at *4 ("[R]egulations ... in place for more than 40
years require distributors to report suspicious orders of controlled substances to
DEA based on information readily available to them (e.g., a pharmacy's placement
of unusually frequent or large orders).") [hereinafter Brief for HOMA and
NACDS].

                                       101
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 102 of 212




      207. The suspicious order criteria are disjunctive and are not all

inclusive. 116 For example, if an order deviates substantially from a normal pattern,

the size of the order does not matter and the order should be reported as suspicious.

Likewise, a wholesale distributor need not wait for a normal pattern to develop

over time before determining whether an order is suspicious. The size of an order

alone, regardless of whether it deviates from a normal pattern, is enough to trigger

the wholesale distributor's responsibility to report the order as suspicious. The

determination of whether an order is suspicious depends not only on the ordering

patterns of the customer but also on the patterns of the entirety of the wholesale

distributor's customer base and the patterns throughout the relevant segment of the

wholesale distributor industry. Distributor Defendants know all of this information

in the course and scope of their operations. 117

      208. In addition to reporting all suspicious orders, distributors know they

must also stop shipment on any order flagged as suspicious, and only ship orders

which were flagged as potentially suspicious if, after conducting due diligence, the

distributor can determine that the order is not likely to be diverted into illegal
116
     See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm'r, Office of
Diversion Control, Drug. Enf't Admin., U.S. Dep't of Justice, to Cardinal Health
(Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW
(D.D.C. Feb. 10, 2012), ECF No.14-8 [hereinafter Rannazzisi Dec. 27, 2007
letter].
117
    Id.

                                          102
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 103 of 212




channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36487-01, 36501 (Drug Enf’t

Admin. July 3, 2007); Masters Pharm., Inc. v. DEA, 861 F.3d 206 (D.C. Cir.

2017).

      209. Fulfilling these obligations plays a critical role in protecting against

the diversion of controlled substances.        As the DEA advised all registrants,

including each Defendant, in a letter dated September 27, 2006, wholesale

distributors are “one of the key components of the distribution chain. If the closed

system is to function properly ... distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for

lawful purposes.”118 According to the DEA, “[t]his responsibility is critical, as ...

the illegal distribution of controlled substances has a substantial and detrimental

effect on the health and general welfare of the American people” and “just one

distributor that uses its DEA registration to facilitate diversion can cause




118
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm'r, Office of
Diversion Control, Drug. Enf't Admin., U.S. Dep't of Justice, to Cardinal Health
(Sept. 27, 2006) [hereinafter Rannazzisi Sept. 27, 2006 letter] (“This letter is being
sent to every commercial entity in the United States registered with the Drug
Enforcement Agency (DEA) to distribute controlled substances. The purpose of
this letter is to reiterate the responsibilities of controlled substance distributors in
view of the prescription drug abuse problem our nation currently faces.”), filed in
Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012),
ECF No. 14-51.

                                         103
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 104 of 212




enormous harm.”119 Thus, all Defendants knew how critical their responsibility

was to society, including to the State of Georgia.

         210. In a second letter to all DEA registrants on December 27, 2007, the

DEA again reminded Defendants of their statutory and regulatory duties to

"maintain effective controls against diversion" and to "design and operate a system

to disclose to the registrant suspicious orders of controlled substances." 120 The

letter further explained:

         a.    "Filing a monthly report of completed transactions (e.g., "excessive
               purchase report" or "high unity purchases") does not meet the
               regulatory requirement to report suspicious orders."           Their
               responsibility "does not end merely with the filing of a suspicious
               order report ... [they] must conduct an independent analysis of
               suspicious orders prior to completing a sale to determine whether the
               controlled substances are likely to be diverted from legitimate
               channels. Reporting an order as suspicious will not absolve the
               registrant of responsibility if the registrant knew, or should have
               known, that the controlled substances were being diverted."

         b.    Suspicious orders include "orders of unusual size, orders deviating
               substantially from a normal pattern, and orders of an unusual
               frequency. These criteria are disjunctive and are not inclusive. For
               example, if an order deviates substantially from a normal pattern, the
               size of the order does not matter and the order should be reported as
               suspicious."

         c.    "Registrants that rely on rigid formulas to define whether an order is
               suspicious may be failing to detect suspicious orders. For example, a
119
      Id. at 2. (emphasis added).
120
      See Rannazzisi Dec. 27, 2007 letter, supra note 112.


                                          104
            Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 105 of 212




                 system that identifies orders as suspicious only if the total amount of a
                 controlled substance ordered during one month exceeds the amount
                 ordered the previous month by a certain percentage or more is
                 insufficient. This system fails to identify orders placed by a pharmacy
                 if the pharmacy placed unusually large orders from the beginning of
                 its relationship with the distributor. Also, this system would not
                 identify orders as suspicious if the order were solely for one highly
                 abused controlled substance if the orders never grew substantially.
                 Nevertheless, ordering one highly abused controlled substance and
                 little or nothing else deviates from the normal pattern of what
                 pharmacies generally order."

            d.   A drug distributor must, when reporting a suspicious order, "be clear
                 in their communication with DEA that the registrant is actually
                 characterizing an order as suspicious. Daily, weekly, or monthly
                 reports submitted by registrant indicating 'excessive purchases' do not
                 comply with the requirement to report suspicious orders, even if the
                 registrant calls such reports 'suspicious order reports."'

            e.   Critically, drug distributors that "routinely report suspicious orders,
                 yet fill these orders without first determining that order is not being
                 diverted into other than legitimate medical, scientific, and industrial
                 channels, may be failing to maintain effective controls against
                 diversion. Failure to maintain effective controls against diversion is
                 inconsistent with the public interest as that term is used in 21 U.S.C.
                 §§ 823 and 824, and may result in the revocation of the registrant's
                 DEA Certificate of Registration." 121

            211. Distributor Defendants knew they were required to monitor, detect,

investigate, report, and halt suspicious orders. Industry compliance guidelines

established by the Healthcare Distribution Management Association ("HDMA"),

the trade association of pharmaceutical distributors, explain that distributors are


121
      Id.

                                            105
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 106 of 212




"[a]t the center of a sophisticated supply chain" and therefore "are uniquely

situated to perform due diligence to help support the security of the controlled

substances they deliver to their customers." The guidelines set forth recommended

steps in the "due diligence" process, and note in particular: if an order meets or

exceeds a distributor's threshold, as defined in the distributor's monitoring system,

or is otherwise characterized by the distributor as an order of interest, the

distributor should not ship to the customer, in fulfillment of that order, any units of

the specific drug code product as to which the order met or exceeded a threshold or

as to which the order was otherwise characterized as an order of interest. 122

      212. Distributor Defendants acknowledge that they “have not only

statutory and regulatory responsibilities to detect and prevent diversion of

controlled prescription drugs but undertake such efforts as responsible members

of society.”123 Each Distributor Defendant owes a duty to satisfy its obligations

under state and federal law to prevent the diversion into illicit markets in the state.




122
      Healthcare Distribution Management Association (HDMA) Industry
Compliance Guidelines: Reporting Suspicious Orders and Preventing Diversion of
Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.12-5061 (D.C.
Cir. Mar. 7, 2012), Doc. No. 1362415 (App'x B).
123
    See Brief of Healthcare Distribution Management Association as Amicus Curiae
for Cardinal Health, 2012 WL 1637016, at *2, filed in Cardinal Health, Inc. v
Department of Justice, No. 12-506 l (D.C. Cir. 2012). (emphasis added).

                                          106
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 107 of 212




       B.       Distributor Defendants Breached their Duties

       213. Distributor Defendants breached their duty to monitor, detect,

investigate, refuse, and report suspicious orders of prescription opioids originating

from pharmacies and dispensers in Georgia, and/or in areas from which Distributor

Defendants knew opioids were likely to be diverted to Georgia residents.

       214. Each Distributor Defendant sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Georgia and/or to retailers from

which Defendants knew prescription opioids were likely to be diverted to residents

of the state.

       215. The sheer volume of prescription opioids distributed to pharmacies in

the State of Georgia, and/or to pharmacies and dispensing physicians from which

Distributor Defendants knew the opioids were likely to be diverted into the state, is

and was excessive for the medical need of the community and facially suspicious.

Some red flags are so obvious that no legitimate distributor of controlled

substances can reasonably claim ignorance of them.124

       216. Distributor Defendants breached their duty to design and operate a

system to disclose to the registrant suspicious orders of controlled substances.


124
    Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55418-01, 55482 (Sept. 15, 2015)
(citing Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed.
Reg. 62316-01, 62322 (2012)).

                                         107
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 108 of 212




       217. Distributor Defendants failed to meet their reporting obligations

related to suspicious orders originating from the state, and/or which Distributor

Defendants knew were likely to be diverted to the state, to state and federal

authorities, including the Georgia Drugs and Narcotics Agency ("GDNA") and the

DEA.

       218. Not only did they fail to report, but Distributor Defendants unlawfully

filled suspicious orders in the State of Georgia and/or in areas from which

Distributor Defendants knew opioids were likely to be diverted to Georgia.

       219. The foreseeable harm resulting from Distributor Defendants breach of

these duties was the diversion of prescription opioids for illegitimate purposes,

harm to the public interest, and the resulting crisis plaguing Georgia today.

       220. Because of Distributor Defendants' refusal to abide by their legal

obligations, the DEA has repeatedly taken administrative action to attempt to force

compliance. These actions include the following:

       a.    On April 24, 2007, the DEA issued an Order to Show Cause and
             Immediate Suspension Order against the AmerisourceBergen
             Orlando, FL distribution center alleging failure to maintain effective
             controls against diversion of controlled substances. On June 22, 2007,
             AmerisourceBergen entered into a settlement that resulted in the
             suspension of its DEA registration;

       b.    On November 28, 2007, the DEA issued an Order to Show Cause and
             Immediate Suspension Order against the Cardinal Health Auburn,


                                        108
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 109 of 212




     Washington Distribution Center ("Auburn Facility") for failure to
     maintain effective controls against diversion of hydrocodone;

c.   On December 5, 2007, the DEA issued an Order to Show Cause and
     Immediate Suspension Order against the Cardinal Health Lakeland,
     Florida Distribution Center ("Lakeland Facility") for failure to
     maintain effective controls against diversion of hydrocodone;

d.   On December 7, 2007, the DEA issued an Order to Show Cause and
     Immediate Suspension Order against the Cardinal Health Swedesboro,
     New Jersey Distribution Center ("Swedesboro Facility") for failure to
     maintain effective controls against diversion of hydrocodone;

e.   On January 30, 2008, the DEA issued an Order to Show Cause and
     Immediate Suspension Order against the Cardinal Health Stafford,
     Texas Distribution Center ("Stafford Facility") for failure to maintain
     effective controls against diversion of hydrocodone;

f.   On May 2, 2008, McKesson Corporation entered into an
     Administrative Memorandum of Agreement ("2008 MOA'') with the
     DEA which provided that McKesson would pay a $13.25 million civil
     fine and "maintain a compliance program designed to detect and
     prevent the diversion of controlled substances, inform DEA of
     suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
     procedures established by its Controlled Substance Monitoring
     Program;"

g.   On September 30, 2008, Cardinal Health entered into a Settlement and
     Release Agreement and Administrative Memorandum of Agreement
     with the DEA related to its Auburn Facility, Lakeland Facility,
     Swedesboro Facility, and Stafford Facility. The document also
     referenced allegations by the DEA that Cardinal Health failed to
     maintain effective controls against the diversion of controlled
     substances at its distribution facilities located in McDonough, GA,
     Valencia, CA and Denver, CO;

h.   On February 2, 2012, the DEA issued an Order to Show Cause and
     Immediate Suspension Order against the Cardinal Health Lakeland

                                109
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 110 of 212




              Facility for failure to maintain effective controls against diversion of
              oxycodone. Violations included exponentially increasing shipments
              of Oxycodone to several known pill mills in Florida subsequent to the
              MOA agreed upon to resolve the prior ISO in 2008 at the Lakeland
              Facility (shipments of Schedule II opioids to these four pharmacies
              increased 803% from 2008 to 2009, and 162% from 2009 to 2010);

      i.      On December 23, 2016, Cardinal Health agreed to pay a $44 million
              fine to the DEA to resolve the civil penalty portion of the
              administrative action taken against the Lakeland Facility, for failing to
              report suspicious orders of controlled substances; and

      j.      On January 5, 2017, McKesson Corporation entered into an
              Administrative Memorandum Agreement with the DEA wherein it
              agreed to pay a $150 million civil penalty for violation of the 2008
              MOA as well as failure to identify and report suspicious orders at its
              facilities in Aurora, CO, Aurora, IL, Delran, NJ, LaCrosse, WI,
              Lakeland, FL, Landover, MD, La Vista, NE, Livonia, Ml, Methuen,
              MA, Santa Fe Springs, CA, Washington Courthouse, OH and West
              Sacramento, CA.

      221. The unlawful conduct by Distributor Defendants is purposeful and

intentional and Distributor Defendants acted with actual malice in breaching their

duties. Distributor Defendants refused, and continue to refuse, to abide by the

duties imposed by state and federal law which are required to legally acquire and

maintain a license to distribute prescription opiates. These repeated failures over

an extended period demonstrate wanton, willful, or reckless conduct or criminal

indifference to civil obligations affecting the rights of others, and Georgia CSBs in

particular.



                                         110
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 111 of 212




        C.     Distributor Defendants Used the Courts and the Legislative
               Process in an Effort to Exculpate their Wrongs and
               Misrepresented their Compliance with their Legal Duties

        222. Distributor Defendants have used the courts and the legislative

process in an effort to exculpate their wrongful conduct, and to further avoid their

obligations to report and halt fulfillment of suspicious orders.       Additionally,

Distributor Defendants have repeatedly misrepresented their compliance with their

legal duties and have wrongfully and repeatedly disavowed those duties to mislead

regulators and the public regarding Distributor Defendants' compliance with their

obligations.

        223. In Masters Pharmaceuticals, the HDMA (a trade association

controlled by Distributor Defendants), and the National Association for Chain

Drug Stores ("NACDS") submitted amicus briefs stating that the legal duty of

wholesale distributors was limited to reporting suspicious orders. 125 The Court of

Appeals for the District of Columbia recently issued its opinion affirming that a

wholesale drug distributor does, in fact, have duties beyond reporting. See Masters

Pharm., Inc. v. DEA, 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court

upheld the revocation of Master Pharmaceutical’s license and determined that

DEA regulations require that in addition to reporting suspicious orders, distributors


125
      Brief for HDMA and NACDS, supra note 111, 2016 WL 1321983, at *4-5.

                                        111
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 112 of 212




must "decline to ship the order, or conduct some 'due diligence' and- if they are

able to determine that the order is not likely to be diverted into illegal channels—

ship the order." Id. at 212. A distributor's investigation must dispel all the red

flags giving rise to the suspicious circumstance prior to shipping a suspicious

order. Id. at 226. The Circuit Court also rejected the argument made by HDMA

and NACDS (quoted above), that, allegedly, the DEA had created or imposed new

duties. Id. at 220.

       224. Additionally, Distributor Defendants, individually and collectively

through trade groups in the industry, pressured the U.S. Department of Justice to

"halt" prosecutions and lobbied Congress to strip the DEA of its ability to

immediately suspend distributor registrations. The result was a "sharp drop in

enforcement actions" and the passage of the "Ensuring Patient Access and

Effective Drug Enforcement Act" which raised the burden for the DEA to revoke a

distributor's license from "imminent harm" to "immediate harm" and provided the

industry the right to "cure" any violations of law before a suspension order can be

issued.126


126
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed
Enforcement While the Opioid Epidemic Grew Out of Control, WASH. POST, (Oct.
22, 2016), https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-
7f71-11e6-8d13-d7c704ef9fd9_story.html?utm_term=.81b689e74928 (last visited

                                        112
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 113 of 212




      225. In addition to taking actions to limit regulatory prosecutions and

suspensions,   Distributor   Defendants    undertook    to   fraudulently   convince

government regulators in states like Georgia, as well as the public, that they were

complying with their legal obligations, including those imposed by licensing

regulations. Through such statements, Distributor Defendants attempted to assure

the public that they were working to curb the opioid epidemic when they were not.

      226. For example, a Cardinal Health executive claimed that Cardinal

Health uses "advanced analytics" to monitor its supply chain and represented that it

was being "as effective and efficient as possible in constantly monitoring,

identifying, and eliminating any outside criminal activity."127


June 12, 2020); Lenny Bernstein & Scott Higham, Investigation: U.S. Senator
Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, WASH.
POST, (Mar. 6, 2017), https://www.washingtonpost.com/investigations/us-senator-
calls-for-investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-
11e7-b1e9-a05d3c21f7cf_story.html?utm_term=.de8b9282aa72 (last visited June
12, 2020); Eric Eyre, DEA Agent: “We Had No Leadership” in WV Amid Flood of
Pain Pills, CHARLESTON GAZETTE-MAIL, (Feb. 18, 2017)
https://www.wvgazettemail.com/news/health/dea-agent-we-had-no-leadership-in-
wv-amid-flood/article_928e9bcd-e28e-58b1-8e3f-f08288f539fd.html (last visited
June 12, 2020).
127
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the
Hands of Illegal Users: “No One Was Doing Their Job,” WASH. POST, (Oct. 22,
2016), https://www.washingtonpost.com/investigations/how-drugs-intended-for-
patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-
job/2016/10/22/10e79396-30a7-11e6-8ff7-
7b6c1998b7a0_story.html?noredirect=on&utm_term=.598e585aaf32 (last visited
June 12, 2020).

                                         113
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 114 of 212




      227. Similarly, McKesson publicly stated that it has a "best-in-class

controlled substance monitoring program to help identify suspicious orders," and

claimed it is "deeply passionate about curbing the opioid epidemic in our

country."128

      228. Given Cardinal Health's and McKesson's historical conduct, either

these statements are false or misleading, or these companies ignored their

monitoring programs.

      229. By misleading government regulators and the public about the

effectiveness of their controlled substance monitoring programs, Distributor

Defendants successfully concealed facts which would have aroused suspicion of

the claims that the CSBs now assert while at the same time allowing these

Defendants to make billions in profits from this scheme at the expense of the

CSBs. The State of Georgia and the CSBs did not know of the existence or scope

of Distributor Defendants' industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence. Distributor



128
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as
the Agency Tried to Curb Opioid Abuse, WASH. POST, (Dec. 22, 2016),
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-
949c5893595e_story.html?utm_term=.b27455c29141 (last visited June 12, 2020).


                                      114
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 115 of 212




Defendants, however, knew that government regulators and the public would rely

on their statements.

      230. The wrongful actions and omissions of Distributor Defendants which

have caused the diversion of opioids and which have been a substantial

contributing factor to and/or proximate cause of the opioid crisis are alleged in

greater detail in the CSBs’ racketeering allegations below.

      231. Distributor Defendants have ignored federal mandates and resisted,

defied, and breached their duties under federal and state law, taken advantage of

their superior knowledge and position over government entities, and abused the

privilege of distributing controlled substances in the State of Georgia, causing

enormous harm to the CSBs.

VI.   MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
      PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
      SUSPICIOUS ORDERS

      232. Manufacturer Defendants had the same obligations to prevent

diversion related to the fulfillment of suspicious prescription opioid orders as

Distributor Defendants.

      233. Under Georgia and federal law, Manufacturer Defendants are required

to comply with substantially the same licensing and permitting requirements as




                                        115
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 116 of 212




Distributor Defendants and the same rules regarding prevention of diversion and

reporting suspicious orders, as set out above.

      234. Manufacturer Defendants had access to and possession of the

information necessary to meet their legal obligations to prevent diversion of

prescription opioids. For example, Manufacturer Defendants engaged in the

practice of paying "chargebacks' to opioid distributors and built receipt of this

information into the payment structure for opioids.           Thus, Manufacturer

Defendants knew just as Distributor Defendants knew the volume, frequency, and

pattern of opioid orders being placed and filled.

      235. Yet, the Manufacturer Defendants have failed to report suspicious

orders of controlled substances, specifically including opioids, and violated

recordkeeping mandates. For example, the Department of Justice has recently

fined Mallinckrodt $35 million for failing to report suspicious orders of controlled

substances, including opioids, and for violating recordkeeping requirements.129

Mallinckrodt agreed that its "system to monitor and detect suspicious orders did

not meet the standards outlined in letters from the DEA Deputy Administrator,


129
    U.S. Dep't of Justice, Mallinckrodt Agrees to Pay Record $35 Million
Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and
for Recordkeeping Violations, https://www.justice.gov/opa/pr/mallinckrodt-agrees-
pay-record-35-million-settlement-failure-report-suspicious-orders (last visited June
12, 2020).

                                         116
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 117 of 212




Office of Diversion Control, to registrants dated September 27, 2006 and

December 27, 2007."

      236. The same duties imposed by federal law on Mallinckrodt were

imposed upon all Manufacturer Defendants.                 Indeed, the Report and

Recommendation issued by the federal court overseeing the opioid Multi-District

Litigation determined that Manufacturer Defendants, not just distributors, owed a

duty to report, investigate, and halt suspicious orders.130

      237. The same business practices utilized by Mallinckrodt regarding

"charge backs" and receipt and review of data from opioid distributors regarding

orders of opioids were utilized industry-wide among opioid manufacturers and

distributors, including, upon information and belief, the other Manufacturer

Defendants.

      238. Through, inter alia, the charge-back data, Manufacturer Defendants

could monitor, detect, investigate, report, or otherwise prevent the fulfilment of

suspicious orders of opioids yet intentionally and unlawfully failed to do so as

required by Georgia and federal law.
130
   In Re: National Prescription Opiate litigation, No. 1:18-op-45090, 2018 WL
4895856, (N.D. Ohio Oct. 5, 2018) (Report and Recommendation of Magistrate
Judge on Defendants' Motion to Dismiss); adopted by the District Court, In Re:
National Prescription Opiate Litigation, No. 1:18-op-45090, ECF No. 1203, (N.D.
Ohio Dec. 19, 2018) (Opinion and Order adopting in part and rejecting in part
Magistrate Judge's Report and Recommendation).

                                          117
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 118 of 212




      239. Manufacturer Defendants have also misrepresented their compliance

with Georgia and federal law.

      240. Manufacturer Defendants enabled the illegal diversion of opioids,

aided criminal activity, and disseminated massive quantities of prescription opioids

into the black market.

      241. The wrongful actions and omissions of Manufacturer Defendants

which have caused the diversion of opioids and which have been a substantial

contributing factor to and/or proximate cause of the opioid crisis are alleged in

greater detail in the CSB's racketeering allegations below.

VIII. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF
      LEGAL DUTIES ARE THE DIRECT AND PROXIMATE CAUSE OF
      AND/OR ARE A SUBSTANTIAL CONTRIBUTING FACTOR TO
      THE HARMFUL CONDITIONS, INJURIES, AND DAMAGES
      ALLEGED HEREIN

      242. As Manufacturer Defendants' efforts to expand the market for opioids

increased, so have the rates of prescription and sale of their products. Distributor

Defendants' continued indifference to their legal duties led to the unlawful

shipment of massive quantities of opioids into Georgia, fueling the epidemic to

levels never seen before.




                                        118
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 119 of 212




      243. There is a "parallel relationship between the availability of

prescription opioid analgesics through legitimate pharmacy channels and the

diversion and abuse of these drugs and associated adverse outcomes."131

      244. Opioid analgesics are widely diverted and improperly used, and the

widespread use of the drugs has resulted in a national epidemic of opioid overdose

deaths and addictions. 132

      245. The epidemic is "directly related to the increasingly widespread

misuse of powerful opioid pain medications."133

      246. The increased abuse of prescription painkillers along with growing

sales have contributed to many overdoses and deaths.134

      247. As shown above, the opioid epidemic has escalated in Georgia with

devastating effects on the CSBs and people they serve. Substantial opiate-related

substance abuse, hospitalization, and death correlates directly with Defendants'

increased distribution of opiates.




131
    Dart, Richard, M.D., Severtson G., et al. Trends in Opioid Analgesic Abuse and
Mortality in the United States, NEW ENGL. J. OF MED. 2015; 372:241-248 (2015).
132
     Elspeth Shipton et al., Deaths From Opioid Overdosing: Implications of
Coroners· Inquest Reports 2008-2012 and Annual Rise in Opioid Prescription
Rates: A Population-Based Cohort Study, PAIN & THERAPY (2012).
133
    Id.
134
    Prescription Opioid Data, supra note 30.

                                       119
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 120 of 212




      248. Because of the well-established relationship between the use of

prescription opiates and the use of non-prescription opioids - like heroin and illicit

(i.e., illegally manufactured) fentanyl - the massive distribution of opioids caused

the opioid epidemic to become an opioid, heroin, and fentanyl crisis.

      249. Defendants repeatedly and purposefully breached their duties under

state and federal law, and such breaches are direct and proximate causes of, and/or

substantial factors leading to, the widespread diversion of prescription opioids for

illegitimate purposes into the state.

      250. The unlawful diversion of prescription opioids is a direct and

proximate cause of, and/or substantial factor leading to, the opioid epidemic,

prescription opioid abuse, addiction, morbidity, and mortality in the state. This

diversion and the epidemic are direct causes of foreseeable harms and damages

incurred by the CSBs.

      251. The CSBs submit claims for the services they provide to Georgians

with likely opioid abuse disorder to government payors such as the Georgia

Department of Behavioral Health and Developmental Disabilities (“DBHDD”) and

Medicaid. The CSBs also obtain funding from the counties they serve. Yet, the

damages sought by the CSBs are unique to the CSBs themselves. They are not




                                         120
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 121 of 212




pass-through entities. The CSBs seek the damages they have specifically incurred

as a result of Defendants’ conduct.

      252. An analysis of the CSBs’ claims data specifically related to services

provided for likely opioid abuse disorder demonstrates how Defendants’ conduct

has impaired and continues to impair the CSBs’ ability to fulfill their independent

front-line healthcare duties and obligations and has caused the CSBs to suffer

significant monetary losses.

      253. By way of representative example, Gateway Community Service

Board (hereinafter “Gateway”) services Bryan, Camden, Chatham, Effingham,

Glynn, Liberty, Long, and McIntosh counties, an area with an estimated population

of 623,000 residents. Gateway provided substance abuse treatment to more than

6,400 unique clients between 2017-2019. The average annual cost of services

received by opioid abuse or likely opioid abuse clients was almost $700, which

was more than other substance abuse clients.

      254. By way of representative example, Lookout Mountain Community

Service Board (hereinafter “Lookout Mountain”) services Catoosa, Chattooga,

Dade, and Walker counties, an area with an estimated population of 178,000

residents. Lookout Mountain provided substance abuse treatment to more than

4,000 unique clients between fiscal years 2012-2015. More than half of the billed


                                       121
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 122 of 212




revenue for addiction services provided were for opioid abuse or likely opioid

abuse clients. The average opioid abuse or likely opioid abuse clients also required

2 to 3.5 times more services than other substance abuse clients. Additionally, the

average annual cost of services received by opioid abuse or likely opioid abuse

clients was significantly more than other substance abuse clients. In 2015, the

average annual value of services by opioid and likely opioid Lookout Mountain

clients was $1,750.53, compared to the average of $502.27 for other substance

abuse clients. The average annual cost of services per client was 187% greater for

opioid or likely opioid abuse clients than other substance abuse clients.

      255. By way of further representative example, Satilla Community

Services d/b/a Unison Behavioral Health (hereinafter “Unison”) services Atkinson,

Bacon, Brantley, Charlton, Clinch, Coffee, Pierce, and Ware counties, an area with

an estimated population of 156,000 residents. Unison provided substance abuse

treatment to more than 8,400 unique clients between 2012-April 2020. Almost

half of Unison clients had an opioid abuse or likely opioid abuse disorder, and the

services provided by Unison to these clients accounted for over 60% of Unison’s

billed revenue. The average annual cost of services per client was over 80%

greater for opioid or likely opioid abuse clients than other substance abuse clients.




                                         122
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 123 of 212




      256. By way of further representative example, View Point Health is a

CSB that provides inpatient and outpatient mental health and addictive disease

treatment    for   residents   of   Gwinnett,   Newton,   and   Rockdale   counties

(approximately 1,127,000 residents) at more than a dozen locations. Between July

1, 2012 - June 30, 2019, View Point Health provided opioid abuse or likely opioid

abuse services to almost 5,000 clients costing more than $57.8 million in care.

Additionally, View Point Health clients with an opioid abuse or likely opioid abuse

diagnosis:

      a.      Received 3.7 times more services than other substance abuse clients;

      a.     Averaged 5.5 more days of detox services than clients with other

             substance abuse disorders;

      b.     Were more than 8 times more likely to repeat detox services than

             patients with other substance abuse disorders;

      c.     Received services with an average annual cost of more than $1,490,

             which represents more than an 80% increase compared to other

             substance abuse clients.

      257. View Point Health alone has had to write off more than $17 million in

losses for uncompensated or undercompensated care as a result of opioid abuse




                                          123
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 124 of 212




services, which are direct losses to this CSB and losses not shared by the counties

it serves or the State of Georgia.

      258. The Georgia CSBs project their estimated damages for services they

have historically provided to patients with likely opioid abuse disorder to be over

$150 million, and adding in the almost $40 million in damages related to the cost

of missed appointments, the Georgia CSBs project historical damages of nearly

$195 million.

      259. Further, the Georgia CSBs estimate damages for the services they will

have to provide to patients with likely abuse disorder diagnoses in the next fifteen

years to be nearly $250 million with more than an additional $60 million related to

the cost of missed appointments. The Georgia CSBs estimate total future damages

of over $305 million, which combined with the historical damages, is more than

$500 million in total damages related to Defendants’ conduct.

      260. The cost to the CSBs for treating clients with opioid abuse exceeds the

reimbursement received from Medicaid, state contracted services through

DBHDD, and other insurance payors, both private and public. The CSBs also face

additional significant monetary losses for uninsured patients, for patients who do

not show up for their appointments, for pharmacy services provided to these

patients, and for services provided to family members of their patients who receive


                                        124
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 125 of 212




opioid abuse related services. The CSBs have attempted to mitigate their losses

from reserves and other funding sources to the great detriment of other programs

and much needed capital development projects.      Therefore, the opioid crisis has

caused direct financial harm to the CSBs.

      261. But for Defendants’ tortious conduct, including intentional and

negligent acts and omissions, the harmful conditions besetting the State of Georgia

and the resulting injuries to the Georgia CSBs, as described herein, would not have

occurred.   Defendants' Defendants’ tortious conduct, including intentional and

negligent acts and omissions,resulted in direct and foreseeable past, present, and

future economic damages for which the CSBs seek relief, as alleged herein. The

CSBs also seek the means to abate the epidemic created by Defendants' tortious

conduct.

      262. The     CSBs     seek   economic     damages    from    Defendants    as

reimbursement for the costs associated with past, present, and future efforts to

permanently eliminate the hazards to public health and safety and abate this crisis.

Categories of past and continuing sustained damages include but are not limited to:

(1) costs for providing medical care and detoxification services to patients

suffering from opioid disorders or other related addiction or disease; (2) costs for

providing treatment, counseling, and rehabilitation services to patients suffering


                                        125
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 126 of 212




from opioid disorders or other related addiction or disease; (3) costs associated

with providing residential housing, vocational training, transportation and ongoing

support services to patients suffering from opioid disorders or other related

addiction or disease; (4) costs associated with providing care and counseling for

children whose parents suffer from opioid related disabilities or incapacitation; (5)

costs for treating pregnant or parenting women with opioid abuse disorders; and

(6) lost revenue for writing off uncompensated or undercompensated care related

to opioid abuse or likely opioid abuse disorders.

IX.   STATUTES OF LIMITATION ARE TOLLED, AND DEFENDANTS
      ARE ESTOPPED FROM ASSERTING STATUTES OF
      LIMITATIONS AS DEFENSES.

      A.     Continuing Conduct

      263. The CSBs continue to suffer harm from Defendants' unlawful actions.

      264. The continued tortious and unlawful conduct by Defendants causes a

repeated or continuous injury. The damages have not occurred all at once, but

have continued to occur and have increased as time progresses. The tort is not

completed nor have all the damages been incurred until the wrongdoing ceases.

The wrongdoing and unlawful activity by Defendants have not ceased. The public

nuisance remains unabated.




                                        126
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 127 of 212




         B.    Equitable Estoppel

         265. Defendants are equitably estopped from relying upon a statute of

limitations defense because they undertook efforts to purposefully conceal their

unlawful conduct and fraudulently assure the public, including the CSBs and the

communities they serve, that they were undertaking efforts to comply with their

obligations under the state and federal controlled substances laws, all with the goal

of protecting their registered manufacturer or distributor status in the State and to

continue generating profits. Defendants affirmatively assured the public, that they

were working to curb the opioid epidemic.

         266. As explained above, Defendants misrepresented the effectiveness of

their internal protocol and procedures to prevent diversion as well as their

compliance with applicable state and federal laws governing the prevention of

diversion.

         267. Moreover, in furtherance of their effort to affirmatively conceal their

conduct and avoid detection, Distributor Defendants, through their trade

associations HOMA and NACDS, filed an amicus brief in the Masters

Pharmaceuticals case, which made the following statements:135




135
      Brief for HOMA and NACDS, supra note 111, at *3-4, *25.

                                         127
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 128 of 212




      a.    "HOMA and NACDS members not only have statutory and regulatory
            responsibilities to guard against diversion of controlled prescription
            drugs but undertake such efforts as responsible members of society."

      b.    "DEA regulations that have been in place for more than 40 years
            require distributors to report suspicious orders of controlled
            substances to DEA based on information readily available to them
            (e.g., a pharmacy's placement of unusually frequent or large orders)."

      c.    "Distributors take seriously their duty to report suspicious orders,
            utilizing both computer algorithms and human review to detect
            suspicious orders based on the generalized information that is
            available to them in the ordering process."

      d.    "A particular order or series of orders can raise red flags because of its
            unusual size, frequency, or departure from typical patterns with a
            given pharmacy."

      e.   "Distributors also monitor for and report abnormal behavior by
           pharmacies placing orders, such as refusing to provide business
           contact information or insisting on paying in cash."
      268. Through the above statements made on their behalf by their trade

associations, and other similar statements assuring their continued compliance with

their legal obligations, Distributor Defendants not only acknowledged that they

understood their obligations under the law, but they further affirmed that their

conduct complied with those obligations.

      269. Distributor Defendants have also concealed and prevented discovery

of critical information necessary to uncovering their wrongful conduct, including

data from the ARCOS database, that would have confirmed their identities and the

extent of their wrongful and illegal activities within the state. Moreover,

                                        128
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 129 of 212




Defendants used their superior knowledge and position, as well as their ability to

operate in darkness, to conceal material facts and to manipulate state entities,

including the State of Georgia so they could continue their conduct unabated.

      270. Manufacturer Defendants distorted the meaning or import of studies

they cited and offered them as evidence for propositions that the studies did not

support. Manufacturer Defendants promoted the concept of "pseudoaddiction" to

an unsuspecting medical community.        Manufacturer Defendants provided the

medical community with false and misleading information about ineffectual

strategies to avoid or control opioid addiction. Manufacturer Defendants

recommended to the medical community that dosages be increased, without

disclosing the risks. Manufacturer Defendants spent millions of dollars over a

period of years on a misinformation campaign aimed at highlighting opioids'

alleged benefits, disguising the risks, and promoting sales.         The medical

community, consumers, and the State of Georgia, the CSBs, and the public were

duped by Manufacturer Defendants' campaign to misrepresent and conceal the

truth about the opioid drugs.

      271. Defendants intended that their actions and omissions would be relied

upon, including by the State and consumers in the state. Due to Defendants'

actions and omissions, the State of Georgia and the CSBs and the residents in the


                                       129
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 130 of 212




communities they serve did not know, and did not have the means to know, the

truth.

         272. The State of Georgia, the CSBs, and the residents in the communities

they serve reasonably relied on Defendants' affirmative statements regarding

compliance with their legal obligations and consent orders.

   C. Fraudulent Conduct

         273. The CSBs’ claims are further subject to equitable tolling, stemming

from Defendants' knowing and fraudulent concealment of the facts alleged herein.

As alleged herein, Defendants knew of the wrongful acts set forth above, and had

material information pertinent to their discovery, and concealed them from, among

others, State and Federal regulators and the medical community, including the

CSBs. Because of Defendants' active concealment of material information, State

and Federal regulators and the medical community, including the CSBs, did not

know, or could not have known through the exercise of reasonable diligence, of its

causes of action.

         274. Defendants'    fraudulent   misrepresentations,   suppressions,   and

concealments of material facts also constitute a fraudulent concealment from the

CSBs of the existence of causes of action by which the CSBs could have sought




                                          130
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 131 of 212




recovery from Defendants for its injuries suffered because of Defendants' wrongful

conduct.

      275. As a proximate result of Defendants' fraudulent misrepresentations,

suppressions, and concealments, the CSBs have been, and continue to be, injured

and have incurred damages as stated herein.

      276. As such, to the extent one would even apply, the limitations period

has been tolled, and the CSBs have brought this action upon discovering the

existence of the facts underlying the causes of action alleged herein, within the

limitations period.

      277. The purposes of the statutes of limitations period are satisfied because

Defendants cannot claim prejudice due to a late filing where the CSBs filed suit

promptly upon discovering the facts essential to its claims, described herein, which

Defendants knowingly concealed.

      278. The continued tortious and unlawful conduct by Defendants causes a

repeated or continuous injury. The damages have not occurred all at once but have

continued to occur and have increased as time progresses.         The harm is not

completed nor have all the damages been incurred until the wrongdoing ceases.

The wrongdoing and unlawful activity by Defendants have not ceased because the

public nuisance remains unabated.


                                        131
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 132 of 212




         279. The medical community, consumers, and the CSBs and the

communities they serve were duped by Defendants' campaign to misrepresent and

conceal the truth about the opioid drugs that they were aggressively pushing in the

state.

         280. The CSBs reasonably relied on Defendants' affirmative statements

regarding their purported compliance with their obligations under the law and

consent orders.

         281. The CSBs’ claims are equitably tolled because Defendants knowingly

and fraudulently concealed the facts and their wrongful acts, and the material

information pertinent to their discovery, which Defendants concealed from the

CSBs. The CSBs did not know, or could not have known through the exercise of

reasonable diligence, of its claims, as a result of Defendants' conduct.

         282. As a result of Defendants’ misrepresentations and deceptive

statements about prescription opioids, the CSBs have suffered significant and

ongoing damages in multiple ways, including but not limited to (1) costs for

providing medical care and detoxification services to patients suffering from

opioid disorders or other related addiction or disease; (2) costs for providing

treatment, counseling, and rehabilitation services to patients suffering from opioid

disorders or other related addiction or disease; (3) costs associated with providing


                                         132
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 133 of 212




residential housing, vocational training, transportation and ongoing support

services to patients suffering from opioid disorders or other related addiction or

disease; (4) costs associated with providing care and counseling for children whose

parents suffer from opioid related disabilities or incapacitation; (5) costs for

treating pregnant or parenting women with opioid abuse disorders; and (6) lost

revenue for writing off uncompensated or undercompensated care related to opioid

abuse or likely opioid abuse disorders.

                              CLAIMS FOR RELIEF

                          Count I
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS (RICO)
                 (18 U.S.C. § 1961, et. seq.)

                                  (All Defendants)

      283. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

      284. The goal of Manufacturer and Distributor Defendants was the same:

to create a large and excessive market for opioids, to bolster their revenue, to

increase their profits, and to grow their share of the prescription painkiller market

by unlawfully and surreptitiously increasing the volume of opioids they sold.

Defendants utilized their superior knowledge and posture to accomplish this goal,

taking advantage of limited governmental resources to mislead and manipulate


                                          133
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 134 of 212




regulators in furtherance of their illegal scheme.       Manufacturer Defendants

unlawfully marketed their opioids to overturn years of medical concerns regarding

the safety and efficacy of opioids for the treatment of chronic pain. And then all

Defendants refused to comply with their obligations (and further concealed this

refusal) to prevent the diversion of controlled substances so as to continuously

expand the quantity of opioids they could manufacture and distribute.            As

discussed more fully below, Defendants acted in concert through a pattern of

racketeering activity to achieve these unlawful goals.

         The Enterprises

         285. Defendants engaged in a pattern of racketeering activity through the

following relevant enterprises in violation of 18 U.S.C. § 1962(c) and, as explained

more fully below, in aid of the "Opioid Enterprise":

         286. The definition of the term “enterprise” includes “any individual,

partnership, corporation, association, or other legal entity, and any union or group

of individuals associated in fact although not a legal entity.” 136 This definition

encompasses both legitimate and illegitimate enterprises.




136
      18 U.S.C. § 1961(4).

                                        134
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 135 of 212




      287. Defendants engaged in two relevant illegal enterprises in violation of

these statutes: the Opioid Promotion Enterprise and the Opioid Diversion

Enterprise.

      288. The Opioid Promotion Enterprise is an association-in-fact within the

meaning of 18 U.S.C. § 1961(4), consisting of Manufacturer Defendants, including

their employees and agents; Front Groups, including their employees and agents;

and KOL’s; as well as external and other as yet unknown marketing firms and

distribution agents employed by Defendants in furtherance of the Opioid

Promotion Enterprise. All entities are persons within the meaning of 18 U.S.C.

§1961(3) and acted to enable Manufacturing Defendants to fraudulently market

opioids as scientifically-proven to be safe and effective. The Opioid Promotion

Enterprise functioned as an ongoing organization and continuing unit and was

separate and distinct from 1) each of its component entities and 2) from the pattern

of racketeering activity carried out by those entities. The Opioid Promotion

Enterprise was created and organized to effectuate a pattern of racketeering activity

and maintained systematic links through corporate ties, contractual relationships,

interrelated financial interests, and continuing coordination of activities for a

common purpose: to ensure the prescription of opioids for chronic pain. The

Manufacturing Defendants participated in the operation and management of the


                                        135
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 136 of 212




opioid marketing fraud enterprise by directing its affairs. Each member of the

Opioid Promotion Enterprise shared in the bounty generated by the enterprise by

sharing the benefit derived from increased sales of opioids and other revenue

generated by the scheme to defraud prescribers and consumers in Plaintiffs’

communities.

      289. The Opioid Diversion Enterprise is an association-in-fact between

Manufacturer Defendants and Distributor Defendants and executed by each of

them. In particular, each Defendant was associated with, and conducted or

participated in, the affairs of the enterprise, whose purpose was to engage in the

unlawful sales of opioids and to deceive the public and regulators into believing

that Defendants were faithfully fulfilling their statutory obligations.

      290. Defendants’ scheme allowed them to make billions in unlawful sales

of opioids and, in turn, increase and maintain high production quotas with the

purpose of ensuring unlawfully increasing revenues, profits, and market share. As

a direct result of Defendants’ fraudulent scheme, course of conduct, and pattern of

racketeering activity, they were able to extract billions of dollars of revenue, while

Plaintiffs suffered injuries caused by the reasonably foreseeable consequences of

the opioid epidemic. As explained in detail below, Defendants’ misconduct




                                         136
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 137 of 212




violated Section 1962(c), and Plaintiffs are entitled to treble damages for its

injuries under 18 U.S.C. § 1964(c).

         291. Members of the Opioid Diversion Enterprise, finding it impossible to

legally achieve their ever-increasing sales ambitions, systematically and

fraudulently violated their statutory duties to maintain effective controls against

diversion of their drugs, to design and operate a system to identify suspicious

orders of their drugs, to halt unlawful sales of suspicious orders, and to notify the

DEA of suspicious orders. 137 As discussed in detail below, through Defendants’

scheme, members of the Opioid Diversion Enterprise repeatedly engaged in

unlawful sales of painkillers which, in turn, artificially and illegally increased the

annual production quotas for opioids allowed by the DEA. 138            In doing so,

Defendants allowed hundreds of millions of pills to enter the illicit market which

allowed them to generate enormous profits.

         292. Alternatively, Defendants were members of a legal entity enterprise

within the meaning of 18 U.S.C. § 1961(4), through which Defendants conducted

their pattern of racketeering activity in Georgia and throughout the United States.

Specifically, the Healthcare Distribution Alliance (HDA) is a distinct legal entity

that satisfies the definition of a RICO enterprise. The HDA is a non-profit
137
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
138
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

                                           137
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 138 of 212




corporation formed under the laws of the District of Columbia and doing business

in Virginia. As a non-profit corporation, the HDA qualifies as an “enterprise”

within the definition set out in 18 U.S.C. § 1961(4) because it is a corporation and

a legal entity.

       293. On information and belief, Defendants are members, participants,

and/or sponsors of the HDA and utilized it to conduct the Opioid Diversion RICO

Enterprise and to engage in the pattern of racketeering activity alleged herein.

       294. Each Defendant is a legal entity separate and distinct from the HDA,

and the HDA serves the interests of distributors and manufacturers beyond

Defendants.

       295. The HDA exists separately from the Opioid Diversion Enterprise, and

each Defendant exists separately from the HDA. Therefore, the HDA itself serves

as a RICO enterprise.

       296. The association-in-fact enterprises (Opioid Promotion Enterprise and

Opioid Diversion Enterprise) and the legal enterprise (HDA) were each used by

Defendants to conduct the RICO Enterprise by engaging in a pattern of

racketeering activity. Therefore, the legal and association-in-fact enterprises are

pleaded in the alternative and are collectively referred to as the “RICO Enterprise.”




                                         138
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 139 of 212




      297. Each Defendant qualifies as a registrant under the CSA. Their status

as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system

to disclose to the registrant suspicious orders of controlled substances and inform

the DEA of suspicious orders when discovered by the registrant.134

      298. Pursuant to the CSA and the Code of Federal Regulations, Defendants

were required to make reports to the DEA of any suspicious orders identified

through the design and operation of their system to disclose suspicious orders.

      299. It is unlawful for a registrant to manufacture a controlled substance in

Schedule II, like prescription opioids, that is (1) not expressly authorized by its

registration and by a quota assigned to it by DEA, or (2) in excess of a quota

assigned to it by the DEA.

      300. At all relevant times, Defendants operated as an association-in-fact

enterprise formed for the purpose of unlawfully increasing sales, revenues, and

profits by disregarding their statutory duty to identify, investigate, halt, and report

suspicious orders of opioids and diversion of their drugs into the illicit market, in

order to unlawfully increase the quotas set by the DEA and allow them to

collectively benefit from the unlawful formation of a greater pool of prescription




                                         139
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 140 of 212




opioids from which to profit. Defendants conducted their pattern of racketeering

activity in Georgia and throughout the United States through this enterprise.

      301. At all relevant times, the RICO Enterprise: (a) had an existence

separate and distinct from each Defendant; (b) was separate and distinct from the

pattern of racketeering in which Defendants engaged; (c) was an ongoing and

continuing organization consisting of legal entities, including each Defendants; (d)

characterized by interpersonal relationships among Defendants; (e) had sufficient

longevity for the enterprise to pursue its purpose; and (f) functioned as a

continuing unit. Each member of the RICO Enterprise participated in the conduct

of the enterprise, including patterns of racketeering activity, and shared in the

astounding growth of profits supplied by fraudulently inflating opioid sales

generated as a result of the RICO Enterprise’s disregard for their duty to prevent

diversion of their drugs into the illicit market and then requesting the DEA increase

production quotas, all so that Defendants would have a larger pool of prescription

opioids from which to profit.

      302. The RICO Enterprise also engaged in efforts to lobby against the

DEA’s authority to hold Defendants liable for disregarding their duty to prevent

diversion.




                                        140
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 141 of 212




      303. Members of the Pain Care Forum (PCF) and HDA lobbied for the

passage of legislation to weaken the DEA’s enforcement authority. The “Ensuring

Patient Access and Effective Drug Enforcement Act” significantly reduced the

DEA’s ability to issue orders to show cause and to suspend and/or revoke

registrations. The HDA and other members of the PCF contributed substantial

amounts of money to political campaigns for federal candidates, state candidates,

political action committees, and political parties. PCF and its members spent

significant funds on lobbying efforts while the HDA devoted over a million dollars

a year to its lobbying efforts between 2011 and 2016.

      304. The RICO Enterprise functioned by selling prescription opioids.

While there are some legitimate uses and/or needs for prescription opioids,

Defendants, through their illegal enterprise, engaged in a pattern of racketeering

activity, that involves a fraudulent scheme to increase revenue by violating State

and Federal laws requiring the maintenance of effective controls against diversion

of prescription opioids, and the identification, investigation, and reporting of

suspicious orders of prescription opioids destined for the illicit drug market. The

goal of Defendants’ scheme was to increase profits from opioid sales. But

Defendants’ profits were limited by the production quotas set by the DEA, so

Defendants refused to identify, investigate, and/or report suspicious orders of their


                                        141
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 142 of 212




prescription opioids being diverted into the illicit drug market. The end result of

this strategy was to increase and maintain artificially high production quotas of

opioids so that there was a larger pool of opioids for Defendants to manufacture

and distribute for public consumption.

         305. The RICO Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across

states lines, such as manufacture, sale, distribution, and shipment of prescription

opioids throughout Georgia and the corresponding payment and/or receipt of

money from the sale of the same.

         306. Within the RICO Enterprise, there were interpersonal relationships

and common communication by which Defendants shared information on a regular

basis.

         307. These interpersonal relationships also formed the organization of the

RICO Enterprise. The RICO Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a

pattern of racketeering activity.

         308. Each Defendant had a systematic link to each other through joint

participation in lobbying groups, trade industry organizations, contractual

relationships, and continuing coordination of activities. Defendants participated in


                                         142
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 143 of 212




the operation and management of the RICO Enterprise by directing its affairs, as

described herein.

      309. While Defendants participated in, and are members of, the enterprise,

they each have a separate existence from the enterprise, including distinct legal

statuses, different offices and roles, bank accounts, officers, directors, employees,

individual personhood, reporting requirements, and financial statements.

      310. Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the PCF and HDA, and through their contractual

relationships.

      311. The PCF has been described as a coalition of drug makers, trade

groups, and dozens of non-profit organizations supported by industry funding. The

PCF recently became a national news story when it was discovered that lobbyists

for members of the PCF quietly shaped federal and state policies regarding the use

of prescription opioids for more than a decade.

      312. The Center for Public Integrity and the Associated Press obtained

“internal documents shed[ding] new light on how drugmakers and their allies

shaped the national response to the ongoing wave of prescription opioid abuse.”

Specifically, PCF participants spent over $740 million lobbying in the nation’s




                                        143
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 144 of 212




capital and in all 50 statehouses on an array of issues, including opioid-related

measures.

      313. Not surprisingly, each of Defendant who stood to profit from lobbying

in favor of prescription opioid use is a member of and/or participant in PCF. In

2012, membership and participating organizations included the HDA (of which all

Defendants are members), Endo, Purdue, Allergan, and Teva. Each Manufacturer

Defendant worked together through the PCF to advance the interests of the

enterprise. But Manufacturer Defendants were not alone. Distributor Defendants

actively participated, and continue to participate in the PCF, at a minimum,

through their trade organization, the HDA.

      314. The 2012 PCF Meeting Schedule indicates that meetings were

generally held in the D.C. office of Powers Pyles Sutter & Verville on a monthly

basis. Local members were encouraged to attend the monthly meetings in person,

suggesting   interpersonal   relationships   among    the   members     and   their

representatives.

      315. The 2012 PCF Meeting Schedule demonstrates that each Defendant

participated in meetings on a monthly basis, either directly or through their trade

organization, in a coalition of drug-makers and their allies whose sole purpose was

to shape the national response to the ongoing prescription opioid epidemic,


                                       144
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 145 of 212




including the concerted lobbying efforts that the PCF undertook on behalf of its

members.

      316. The HDA also led to the formation of interpersonal relationships and

an organization between Defendants. Although the entire HDA membership

directory is private, the HDA website confirms that each Distributor and

Manufacturer Defendant is a member.

      317. The HDA and each Distributor Defendant sought the active

membership and participation of Manufacturer Defendants by advocating that one

of the benefits of membership included the ability to develop direct relationships

between Manufacturers and Distributors at high executive levels.

      318. The HDA touted the benefits of membership to Manufacturer

Defendants, advocating that membership included the ability to, among other

things, “network one on one with manufacturer executives at HDA’s members-

only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors

events,” “participate on HDA committees, task forces and working groups with

peers and trading partners,” and “make connections.”




                                       145
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 146 of 212




      319. Distributor Defendants and the HDA used membership in that

organization as an opportunity to create interpersonal and ongoing organizational

relationships between the Manufacturer and Distributor Defendants.

      320. The application for manufacturer membership in the HDA further

indicates the level of connection that existed between the Defendants. The

manufacturer membership application must be signed by a “senior company

executive,” and it requests that the manufacturer applicant identify a key contact

and any additional contacts from within its company. The HDA application also

requests that the manufacturer identify its current distribution information and its

most recent year end net sales through any HDA distributors, including but not

limited to, Defendants AmerisourceBergen, Cardinal Health, and McKesson.

      321. After becoming members, Distributor and Manufacturer Defendants

were eligible to participate on councils, committees, task forces and working

groups, which promoted the Opioid Diversion Enterprise efforts, including

lobbying and even development of chargebacks, including:

      a.    Industry Relations Council: “This council, composed of distributor
            and manufacturer members, provides leadership on pharmaceutical
            distribution and supply chain issues.”

      b.    Business Technology Committee: “This committee provides guidance
            to HDA and its members through the development of collaborative e-
            commerce business solutions. The committee’s major areas of focus
            within pharmaceutical distribution include information systems,

                                        146
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 147 of 212




     operational integration and the impact of e-commerce.” Participation
     in this committee includes distributors and manufacturer members.

c.   Health, Beauty and Wellness Committee: “This committee conducts
     research, as well as creates and exchanges industry knowledge to help
     shape the future of the distribution for health, beauty and
     wellness/consumer products in the healthcare supply chain.”
     Participation in this committee includes distributors and manufacturer
     members.

d.   Logistics Operation Committee: “This committee initiates projects
     designed to help members enhance the productivity, efficiency and
     customer satisfaction within the healthcare supply chain. Its major
     areas of focus include process automation, information systems,
     operational integration, resource management and quality
     improvement.” Participation in this committee includes distributors
     and manufacturer members.

e.   Manufacturer Government Affairs Advisory Committee: “This
     committee provides a forum for briefing HDA’s manufacturer
     members on federal and state legislative and regulatory activity
     affecting the pharmaceutical distribution channel. Topics discussed
     include such issues as prescription drug traceability, distributor
     licensing, FDA and DEA regulation of distribution, importation and
     Medicaid/Medicare reimbursement.” Participation in this committee
     includes manufacturer members.

f.   Bar Code Task Force: Participation includes               Distributor,
     Manufacturer and Service Provider Members.

g.   eCommerce Task Force: Participation includes              Distributor,
     Manufacturer and Service Provider Members.

h.   ASN Working Group: Participation includes                 Distributor,
     Manufacturer and Service Provider Members.

i.   Contracts and Chargebacks Working Group: “This working group
     explores how the contract administration process can be streamlined

                               147
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 148 of 212




                through process improvements or technical efficiencies. It also creates
                and exchanges industry knowledge of interest to contract and
                chargeback professionals.” Participation includes Distributor and
                Manufacturer Members.

      322. The councils, committees, task forces and working groups provided

the Manufacturer and Distributor Defendants with the opportunity to work closely

together in shaping their common goals and forming the RICO Enterprise’s

organization.

      323. The HDA also offers a multitude of conferences, including annual

business and leadership conferences. The HDA and Distributor Defendants

advertise these conferences to Manufacturer Defendants as an opportunity to

“bring together high-level executives, thought leaders and influential managers . . .

to hold strategic business discussions on the most pressing industry issues.” The

conferences also gave the Manufacturer and Distributor Defendants “unmatched

opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.” HDA conferences and the organization as a

whole functioned as significant opportunities for Manufacturer and Distributor

Defendants to interact at a high-level of leadership. And it is clear that

Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events.



                                           148
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 149 of 212




      324. Defendants also maintained their interpersonal relationships by

working together and exchanging information with the purpose of driving the

unlawful sales of their opioids through their contractual relationships, including

chargebacks and vault security programs. Manufacturer Defendants engaged in an

industry-wide practice of paying rebates and chargebacks to Distributor

Defendants for sales of prescription opioids. 139 As reported in the Washington

Post, identified by Senator McCaskill, and acknowledged by the HDA, there is an

industry-wide practice whereby Manufacturer Defendants paid the Distributor

Defendants rebates and/or chargebacks on their prescription opioid sales.140

      325. On information and belief, these contracts were negotiated at the

highest levels, demonstrating ongoing relationships between the Manufacturer and

Distributor Defendants. In return for the rebates and chargebacks, Distributor

Defendants provided Manufacturer Defendants with detailed information regarding
139
    Lenny Bernstein & Scott Higham, The Government’s Struggle to Hold Opioid
Manufacturers Accountable, WASH. POST, (April 2, 2017),
https://www.pharmacist.com/article/governments-struggle-hold-opioid-
manufacturers-accountable (last visited Jan. 10, 2020); see also Letter from Sen.
Claire McCaskill, (July 26, 2017),
https://www.hsgac.senate.gov/imo/media/doc/2017-07-
26%20CMC%20requests%20to%20Mallinckrodt,%20Teva,%20Endo,%20and%2
0Allergan.pdf (last visited Jan. 10, 2020);
https://www.hsgac.senate.gov/imo/media/doc/2017-07-
26%20CMC%20requests%20to%20McKesson,%20Cardinal%20Health,%20and%
20AmerisourceBergen.pdf (last visited Jan. 10, 2020).
140
    Id.

                                        149
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 150 of 212




their prescription opioid sales, including purchase orders, ship notices,

acknowledgements, and invoices. 141       The Manufacturer Defendants used this

information to gather high-level data regarding overall distribution and direct

Distributor Defendants on how to most effectively sell the prescription opioids.

      326. The contractual relationships among the Defendants also include vault

security programs. Defendants are required to maintain certain security protocols

and storage facilities for the manufacture and distribution of their opioids.

Manufacturer Defendants likely negotiated agreements whereby the Manufacturers

installed security vaults for Distributors in exchange for agreements to maintain

minimum sales performance thresholds. These agreements were used by

Defendants as a tool to violate their reporting and anti-diversion duties.

      327. Taken together, the interaction and length of the relationships between

and among Manufacturer and Distributor Defendants reflects a deep level of

interaction and cooperation between two groups in a tightly knit industry.

Manufacturer and Distributor Defendants were not two separate groups operating

in isolation or two groups forced to work together in a closed system. Defendants

operated together as a united entity, working together on multiple fronts, to engage


141
   Webinars, Healthcare Distribution Alliance, (webinar held April 27, 2011),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi (last
visited Jan. 10, 2020).

                                         150
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 151 of 212




in the unlawful sale of prescription opioids. The HDA and PCF are but two

examples of the overlapping relationships and concerted joint efforts to accomplish

common goals and demonstrates that the leaders of all Defendants were in

communication and cooperation.

      328. As stated above, the PCF has been lobbying on behalf of

Manufacturer and Distributor Defendants for more than a decade, who, from 2006

to 2016, collectively funneled over $740 million through the organization into

lobbying efforts across the country on various issues including opioid-related

measures. Similarly, the HDA has continued its work on behalf of Defendants,

without interruption, since at least 2000, if not longer.

      329. As described above, Defendants began working together as early as

2006 through the PCF and HDA to promote the common purpose of their

enterprise.

      330. Defendants worked together as an ongoing and continuous

organization throughout the existence of their enterprise.

      Defendants’ Conduct

      331. The members of the Opioid Promotion Enterprise worked together to

further the enterprise, by and among the following manner and means:




                                          151
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 152 of 212




      a.     Jointly planning to deceptively market and manufacture opioids that
             were purportedly non-addictive, safe and effective for the treatment of
             chronic, long-term pain;

      b.     Concealing the addictive qualities of the opioids from prescribers and
             the public;

      c.     Misleading the public about the addictive quality and safety and
             efficacy of opioids;

      d.     Otherwise misrepresenting or concealing the highly dangerous nature
             of opioids from prescribers and the public;

      e.     Illegally marketing, selling and/or distributing opioids; and

      f.     Collecting revenues and profits from the sale of such products for uses
             for which they are unapproved, unsafe or ineffective.

      332. To achieve their common goals, Manufacturing Defendants hid from

the general public the full extent of the unsafe and ineffective nature of opioids for

chronic pain as described herein, and they actively published misleading

information to change the minds of those who already thought opioids to be

dangerous. The Manufacturing Defendants suppressed and/or ignored warnings

from third parties, whistleblowers and governmental entities about the addictive,

unsafe and often ineffective nature of opioids. They did all of this knowingly and

intentionally and accomplished it by working together through relationships

formed as part of a common enterprise.




                                         152
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 153 of 212




      333. During the time period alleged in this Complaint, Defendants exerted

control over, conducted, and/or participated in the RICO Enterprise by fraudulently

failing to comply with their Federal and State obligations to identify, investigate

and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, to halt such unlawful sales and, in

doing so, to increase production quotas and generate unlawful profits.

      334. Defendants disseminated false and misleading statements to the public

claiming that they were complying with their obligations to maintain effective

controls against diversion of their prescription opioids.

      335. Defendants disseminated false and misleading statements to the public

claiming that they were complying with their obligations to design and operate a

system to disclose to the registrant suspicious orders of their prescription opioids.

Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligation to notify the DEA of any suspicious

orders or diversion of their prescription opioids.

      336. Defendants paid nearly $800 million dollars to influence local, state,

and federal governments through joint lobbying efforts as part of the PCF.

Defendants were all members of the PCF either directly or indirectly through the

HDA. The lobbying efforts of the PCF and its members, included efforts to pass


                                         153
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 154 of 212




legislation making it more difficult for the DEA to suspend and/or revoke the

Manufacturers’ and Distributors’ registrations for failure to report suspicious

orders of opioids.

      337. Defendants exercised control and influence over the distribution

industry by participating and maintaining membership in the HDA.

      338. Defendants applied political and other pressure on the DOJ and DEA

to halt prosecutions for failure to report suspicious orders of prescription opioids.

Defendants lobbied Congress to strip the DEA of its ability to immediately

suspend registrations pending investigation by passing the “Ensuring Patient

Access and Effective Drug Enforcement Act.”

      339. Defendants engaged in an industry-wide practice of paying rebates

and chargebacks to incentivize unlawful opioid prescription sales. Manufacturer

Defendants used the chargeback program to acquire detailed, high-level data

regarding sales of the opioids they manufactured. Manufacturer Defendants used

this high-level information to direct the Distributor Defendants’ sales efforts to

regions where prescription opioids were selling in larger volumes.

      340. Manufacturer Defendants lobbied the DEA to increase Aggregate

Production Quotas, year after year by submitting net disposal information that

Manufacturer Defendants knew included sales that were suspicious and involved


                                        154
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 155 of 212




the diversion of opioids that had not been properly investigated or reported by

Defendants.

      341. Distributor     Defendants        developed   “know     your    customer”

questionnaires and files. This information, compiled pursuant to comments from

the DEA in 2006 and 2007 was intended to help Defendants identify suspicious

orders or customers who were likely to divert prescription opioids. The “know

your customer” questionnaires informed Defendants of the number of pills that the

pharmacies sold, how many non-controlled substances are sold compared to

controlled substances, whether the pharmacy buys from other distributors, the

types of medical providers in the area, including pain clinics, general practitioners,

hospice facilities, cancer treatment facilities, and these questionnaires put the

recipients on notice of suspicious orders.

      342. Defendants refused to identify, investigate and report suspicious

orders to the DEA when they became aware of them despite their actual knowledge

of drug diversion rings.

      343. Defendants refused to identify suspicious orders and diverted drugs

despite the DEA issuing final decisions against Distributor Defendants in 178

registrant actions between 2008 and 2012, and 117 recommended decision in

registrant actions from The Office of Administrative Law Judges. These numbers


                                         155
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 156 of 212




include 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders—all for failure to report suspicious orders.

      344. Defendants’ scheme had a decision-making structure that was driven

by Manufacturer Defendants and corroborated by Distributor Defendants.

Manufacturer Defendants worked together to control the state and federal

governments’ response to the manufacture and distribution of prescription opioids

by increasing production quotas through a systematic refusal to maintain effective

controls against diversion, and to identify and report suspicious orders to the DEA.

      345. Defendants worked together to control the flow of information and

influence state and federal governments and politicians to pass legislation that

benefitted Defendants. Manufacturer and Distributor Defendants did this through

their participation in the PCF and HDA.

      346. Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas, and Procurement Quotas allowed by the

DEA stayed high and ensured that suspicious orders were not reported to the DEA.

By not reporting suspicious orders or diversion of prescription opioids, Defendants

ensured that the DEA had no basis for decreasing or refusing to increase the

production quotas for prescription opioids due to diversion of suspicious orders.

Defendants influenced the DEA production quotas in the following ways:


                                        156
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 157 of 212




a.   Distributor Defendants assisted the enterprise and Manufacturer
     Defendants in their lobbying efforts through the PCF;

b.   Distributor Defendants invited the participation, oversight and control
     of Manufacturer Defendants by including them in the HDA, including
     on the councils, committees, task forces, and working groups;

c.   Distributor Defendants provided sales information to Manufacturer
     Defendants regarding their prescription opioids, including reports of
     all opioids prescriptions filled by the Distributor Defendants;

d.   Manufacturer Defendants used a chargeback program to ensure
     delivery of Distributor Defendants’ sales information;

e.   Manufacturer Defendants obtained sales information from
     QuintilesIMS (formerly IMS Health) that gave them a “stream of data
     showing how individual doctors across the nation were prescribing
     [opioids].”

f.   Distributor Defendants accepted rebates and chargebacks for orders of
     prescription opioids;

g.   Manufacturer Defendants used Distributor Defendants’ sales
     information and the data from QuintilesIMS to instruct the Distributor
     Defendants to focus their distribution efforts to specific areas where
     the purchase of prescription opioids was most frequent;

h.   Defendants identified suspicious orders of prescription opioids and
     then continued filling those unlawful orders, without reporting them,
     knowing that they were suspicious and/or being diverted into the illicit
     drug market;

i.   Defendants refused to report suspicious orders of prescription opioids
     despite repeated investigation and punishment of Distributor
     Defendants by the DEA for failure to report suspicious orders;

j.   Defendants withheld information regarding suspicious orders and
     illicit diversion from the DEA because it would have revealed that the

                                157
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 158 of 212




            “medical need” for and the net disposal of their drugs did not justify
            the production quotas set by the DEA; and

      k.    The scheme devised and implemented by Defendants amounted to a
            common course of conduct characterized by a refusal to maintain
            effective controls against diversion, and all designed and operated to
            ensure the continued unlawful sale of controlled substances.

      347. Manufacturer Defendants worked together through Front Groups to

intentionally distribute false and misleading information intended to deceive the

public about the effects of opioids for the purpose of marketing their dangerous

product in service of the Opioid Promotion Enterprise, which in turn served the

overall opioid RICO Enterprise by driving up demand for opioids.

      Pattern of Racketeering Activity

      348. Defendants conducted and participated in the conduct of the RICO

Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

§1961(B), including mail fraud (18 U.S.C. §1341) and wire fraud (18 U.S.C.

§1343); and 18 U.S.C. §1961(D) by the felonious manufacture, importation,

receiving, concealment, buying selling, or otherwise dealing in a controlled

substance or listed chemical (as defined in section 102 of the Controlled Substance

Act), punishable under any law of the United States.




                                       158
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 159 of 212




      Mail and Wire Fraud

      349. Defendants carried out, or attempted to carry out, a scheme to defraud

federal and state regulators, and the American public, including Plaintiffs, by

knowingly conducting or participating in the conduct of the RICO Enterprise

through a pattern of racketeering activity within the meaning of 18 U.S.C.

§1961(1) that employed the use of mail and wire facilities, in violation of 18

U.S.C. §1341 (mail fraud) and §1343 (wire fraud).

      350. Defendants committed, conspired to commit, and aided and abetted in

the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§1341 and 1343) within the past ten years. The multiple

acts of racketeering activity that the RICO Defendants committed, or aided and

abetted in the commission of, were related to each other, posed a threat of

continued racketeering activity, and therefore constitute a “pattern of racketeering

activity.” The racketeering activity was made possible by Defendants’ regular use

of the facilities, services, distribution channels, and employees of the RICO

Enterprise. Defendants participated in the scheme to defraud by using mail,

telephone, and the Internet to transmit mailings and wires in interstate or foreign

commerce.




                                        159
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 160 of 212




         351. Defendants used, directed the use of, and caused to be used, thousands

of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments, and material omissions

regarding their compliance with their mandatory reporting requirements and the

actions necessary to carry out their unlawful goal of selling prescription opioids

without reporting suspicious orders or the diversion of opioids into the illicit

market.

         352. In executing the illegal scheme, Defendants devised and knowingly

carried out a material scheme and artifice to defraud by means of materially false

or fraudulent pretenses, representations, promises, or omissions of material facts.

For the purpose of executing the illegal scheme, Defendants committed these

racketeering acts, which number in the thousands, intentionally and knowingly

with the specific intent to advance the illegal scheme.

         353. Defendants’ predicate acts of racketeering include, but are not limited

to:142

         a.    Mail Fraud: Defendants violated 18 U.S.C. §1341 by sending or
               receiving, or by causing to be sent and received, materials via U.S.
               mail or commercial interstate carriers for the purpose of executing the
               unlawful scheme to design, manufacture, market, and sell the
               prescription opioids by means of false pretenses, misrepresentations,
               promises, and omissions.
142
      18 U.S.C. §1961(1).

                                          160
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 161 of 212




      b.     Wire Fraud: Defendants violated 18 U.S.C. §1343 by transmitting
             and/or receiving, or by causing to be transmitted and/or received,
             materials by wire for the purpose of executing the unlawful scheme to
             design, manufacture, market, and sell the prescription opioids by
             means of false pretenses, misrepresentations, promises, and
             omissions.

      354. Defendants’ use of the mail and wires includes, but is not limited to,

the transmission, delivery, or shipment of the following by the Manufacturers,

Distributors, or third parties that were foreseeably caused to be sent as a result of

Defendants’ illegal scheme:

      a.     The prescription opioids themselves;

      b.     Documents and communications that facilitated the manufacture,
             purchase and unlawful sale of prescription opioids;

      c.     Defendants’ DEA registrations;

      d.     Documents and communications that supported and facilitated
             Defendants’ DEA registrations;

      e.     Documents and communications that supported and facilitated
             Defendants’ request for higher aggregate production quotas,
             individual production quotas, and procurement quotas;

      f.     Defendants’ records and reports that were required to be submitted to
             the DEA pursuant to 21 U.S.C. §827;

      g.     Documents and communications related to Defendants’ mandatory
             DEA reports pursuant to 21 U.S.C. §823 and 21 C.F.R. §1301.74;




                                        161
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 162 of 212




      h.    Documents intended to facilitate the manufacture and distribution of
            Defendants’ prescription opioids, including bills of lading, invoices,
            shipping records, reports, and correspondence;

      i.    Documents for processing and receiving payment for prescription
            opioids;

      j.    Payments from the Distributors to the Manufacturers;

      k.    Rebates and chargebacks from the Manufacturers to the Distributors;

      l.    Payments to Defendants’ lobbyists through the PCF;

      m.    Payments to Defendants’ trade organizations, like the HDA, for
            memberships and/or sponsorships;

      n.    Deposits of proceeds from Defendants’ manufacture and distribution
            of prescription opioids; and
      o.    Other documents and things, including electronic communications.

      355. Manufacturer Defendants’ specific acts of mail and wire fraud in

furtherance of the Opioid Promotion Enterprise include but are not limited to,

      a.    The Federation of State Medical Boards (FSMB)’s publication of
            opioid prescribing guidelines entitled “Responsible Opioid
            Prescribing,” by Fishman;

      b.    The FSMB’s publication of “Revised and Expanded 2nd Edition [of]
            Responsible Opioid Prescribing[:] A Guide for Michigan Clinicians”;

      c.    The APF’s publication of “Exit Wounds: A Survival Guide to Pain
            Management for Returning Veterans & Their Families”;

      d.    The AAPM’s “consensus statement” and educational programs
            featuring Fine;

      e.    False or misleading communications to the public and to regulators;

                                        162
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 163 of 212




      f.    Sales and marketing materials, including slide decks, presentation
            materials, purported guidelines, advertising, web sites, product
            packaging, brochures, labeling and other writings which
            misrepresented, falsely promoted and concealed the true nature of
            opioids;

      g.    Documents intended to facilitate the manufacture and sale of opioids,
            including bills of lading, invoices, shipping records, reports and
            correspondence;

      h.    Documents to process and receive payment for opioids, including
            invoices and receipts;

      i.    Payments to the foundations and physicians that deceptively marketed
            the Manufacturing Defendants’ opioids;

      j.    Deposits of proceeds; and

      k.    Other documents and things, including electronic communications.

      356. On information and belief, Defendants, for the purpose of executing

the illegal scheme, sent and/or received (or caused to be sent and/or received) by

mail or by private or interstate carrier, shipments of prescription opioids and

related documents by mail or by private carrier affecting interstate commerce.

      357. Manufacturer Defendants also used the Internet and other electronic

facilities to carry out the scheme and conceal the ongoing fraudulent activities.

Specifically, the Manufacturer Defendants made misrepresentations about opioids

on their websites, YouTube and through online ads, all of which were intended to



                                        163
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 164 of 212




mislead prescribers and the public about the safety, efficacy and non-addictiveness

of opioids.

      358. Manufacturer Defendants also communicated by U.S. Mail, by

interstate facsimile and by interstate electronic mail with various other affiliates,

regional offices, divisions, distributors and other third party entities in furtherance

of the scheme. The mail and wire transmissions described herein were made in

furtherance of the Manufacturer Defendants’ scheme and common course of

conduct to deceive prescribers and consumers and lure consumers into purchasing

opioids, which Manufacturer Defendants knew or recklessly disregarded as being

unsafe and ineffective for chronic long-term pain and addictive. The Manufacturer

Defendants utilized mail and wire transmissions to create an extensive campaign

that advertised the exact opposite message: that opioids were safe and effective and

rarely if ever addictive.

      359. Defendants also used the internet and other electronic facilities to

carry out their scheme and conceal the ongoing fraudulent activities. Specifically,

Defendants made misrepresentations about their compliance with Federal and State

laws requiring them to identify, investigate, and report suspicious orders of

prescription opioids and/or diversion of the same into the illicit market.




                                         164
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 165 of 212




      360. At the same time, Defendants misrepresented the superior safety

features of their order monitoring programs, ability to detect suspicious orders,

commitment to preventing diversion of prescription opioids, and that they

complied with all state and federal regulations regarding the identification and

reporting of suspicious orders of prescription opioids.

      361. Defendants utilized the internet and other electronic resources to

exchange communications, to exchange information regarding prescription opioid

sales, and to transmit payments and rebates/chargebacks.

      362. Defendants communicated by U.S. Mail, by interstate facsimile, and

by interstate electronic mail and with various other affiliates, regional offices,

regulators, distributors, and other third-party entities in furtherance of the scheme.

      363. Several Defendants also entered into various Corporate Integrity

Agreements with various entities, including the Office of Inspector General and the

United States Department of Health and Human Services, that required the

Defendants to annually certify in writing that they had implemented effective

compliance programs and were otherwise in compliance with laws and regulations

regarding, among other things, the manufacture and distribution of opioids.

Defendants submitted through the mail and wires certifications that were false and

misleading, in furtherance of the Opioid Diversion RICO Enterprise’s operation


                                         165
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 166 of 212




and goals, including false and misleading certifications required annually under the

following:

      a.     Section V of the Deferred Prosecution Agreement entered in United
             States of America v. Endo Pharm., Inc., No. 1:14-CR-00066-MAD,
             ECF No. 2 (N.D.N.Y. Feb. 21, 2014);

      b.     Section III of the Corporate Integrity Agreement Between the Office
             of Inspector General of the Department of Health and Human Services
             and Endo Pharmaceuticals, Inc. (fully executed on Feb. 21, 2014); and

      c.     Section III of the Corporate Integrity Agreement between the Office
             of Inspector General of the Department of Health and Human Services
             and Purdue Pharma, L.P. (fully executed on May 8, 2007).

      364. The mail and wire transmissions described herein were made in

furtherance of Defendants’ scheme and common course of conduct to deceive

regulators and the public that Defendants were complying with their state and

federal obligations to identify and report suspicious orders of prescription opioids

all while Defendants were knowingly allowing millions of doses of prescription

opioids to divert into the illicit drug market. Defendants’ scheme and common

course of conduct was intended to increase or maintain high production quotas for

their prescription opioids from which they could profit.

      365. Many of the precise dates of the fraudulent uses of the U.S. mail and

interstate wire facilities and other criminal activity have been deliberately hidden

and cannot be alleged without access to Defendants’ books and records. But


                                        166
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 167 of 212




Plaintiffs have described the types of, and in some instances, occasions on which

numerous predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the

items and documents described in the preceding paragraphs.

      366. Defendants did not undertake the practices described herein in

isolation, but as part of a common scheme. These actions violate 18 U.S.C.

§1962(c). Various other persons, firms, and corporations, including third-party

entities and individuals not named as defendants in this Complaint, may have

contributed to and/or participated in the scheme with Defendants in these offenses

and have performed acts in furtherance of the scheme to increase revenues,

increase market share, and/or minimize the losses for Defendants.

      367. Defendants aided and abetted others in the violations of the above

laws, thereby rendering them indictable as principals in the 18 U.S.C. §§1341 and

1343 offenses.

      Criminal Activity in Relation to Entities and Scheme

      368. Defendants hid from the general public, and suppressed and ignored

warnings from third parties, whistleblowers and governmental entities, about the

reality of the suspicious orders that Defendants were filling on a daily basis—




                                       167
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 168 of 212




leading to the diversion of tens of millions of doses of prescriptions opioids into

the illicit market.

       369. Defendants, with knowledge and intent, agreed to the overall

objective of their fraudulent scheme and participated in the common course of

conduct to commit acts of fraud and indecency in manufacturing and distributing

prescription opioids.

       370. Defendants engaged in a pattern of related and continuous predicate

acts for years. The predicate acts constituted a variety of unlawful activities, each

conducted with the common purpose of obtaining significant monies and revenues

from the sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission.

The predicate acts were related and not isolated events.

       371. The predicate acts all had the purpose of generating significant

revenue and profits for Defendants while Plaintiffs are left with substantial injuries

to their interests through the damage that the prescription opioid epidemic caused.

The predicate acts were committed or caused to be committed by Defendants

through their participation in the RICO Enterprise and in furtherance of its

fraudulent scheme.




                                         168
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 169 of 212




         372. The pattern of racketeering activity and the RICO Enterprise are

separate and distinct from each other. Likewise, Defendants are distinct from the

RICO Enterprise.

         373. The pattern of racketeering activity is continuing as of the date of this

Complaint and will continue into the future unless enjoined by this Court.

         374. Defendants conducted and participated in the conduct of the affairs of

the RICO Enterprise through a pattern of racketeering activity as defined in 18

U.S.C. § 1961(D) by the felonious manufacture, importation, receiving,

concealment, buying, selling, or otherwise dealing in a controlled substance or

listed chemical (as defined in section 102 of the Controlled Substance Act),

punishable under any law of the United States.

         375. Defendants committed crimes that are punishable as felonies under

the laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful

for any person to knowingly or intentionally furnish false or fraudulent information

in, or omit any material information from, any application, report, record, or other

document required to be made, kept, or filed under this subchapter. A violation of

section 483(a)(4) is punishable by up to four years in jail, making it a felony.143




143
      21 U.S.C. § 483(d)(1).

                                          169
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 170 of 212




      Defendants’ Knowledge

      376. Defendants knowingly and intentionally furnished false or fraudulent

information in their reports to the DEA about suspicious orders, and omitted

material information from reports, records, and other documents required to be

filed with the DEA, including Manufacturer Defendants’ applications for

production quotas. Specifically, Defendants were aware of suspicious orders of

prescription opioids and the diversion of their prescription opioids into the illicit

market and failed to report this information to the DEA in their mandatory reports

and their applications for production quotas.

      377. For example, the DEA and DOJ began investigating McKesson in

2013 regarding its monitoring and reporting of suspicious controlled substances

orders. On April 23, 2015, McKesson filed a Form 8K with the SEC announcing a

settlement with the DEA and DOJ wherein it admitted to violating the CSA and

agreed to pay $150 million and have some of its DEA registrations suspended on a

staggered basis. The settlement was finalized on January 17, 2017.

      378. Purdue’s experience in Los Angeles is another striking example of

Defendants’ willful violation of the CSA and Code of Federal Regulations as it

relates to reporting suspicious orders of prescription opioids. In 2016, the Los

Angeles Times reported that Purdue was aware of a pill mill operating out of Los


                                        170
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 171 of 212




Angeles yet failed to alert the DEA. The LA Times uncovered that Purdue began

tracking a surge in prescriptions in Los Angeles, including one prescriber in

particular. A Purdue sales manager spoke with company officials in 2009 about the

prescriber, asking “Shouldn’t the DEA be contacted about this?” and adding that

she felt “very certain this is an organized drug ring.” Despite knowledge of the

staggering number of pills being issued in Los Angeles, and internal discussion of

the problem, “Purdue did not shut off the supply of highly addictive OxyContin

and did not tell authorities what it knew about Lake Medical until several years

later when the clinic was out of business and its leaders indicted. By that time, 1.1

million pills had spilled into the hands of Armenian mobsters, the Crips gang and

other criminals.”

       379. Mallinckrodt also was recently the subject of a DEA and Senate

investigation for its opioid practices. Specifically, in 2011, the DEA targeted

Mallinckrodt arguing that it ignored its responsibility to report suspicious orders as

500 million of its pills ended up in Florida between 2008 and 2012. After six years

of DEA investigation, Mallinckrodt agreed to a settlement involving a $35 million

fine. Federal prosecutors summarized the case by saying that Mallinckrodt’s

response was that everyone knew what was going on in Florida, but they had no

duty to report it.


                                         171
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 172 of 212




      380. These examples reflect the Defendants’ pattern and practice of

willfully and intentionally omitting information from their mandatory reports to the

DEA as required by 21 C.F.R. §1301.74. This conclusion is supported by the sheer

volume of enforcement actions available in the public record against the

Distributor Defendants. For example:

      a.    On April 24, 2007, the DEA issued an Order to Show Cause and
            Immediate Suspension Order against the AmerisourceBergen
            Orlando, Florida distribution center alleging failure to maintain
            effective controls against diversion of controlled substances. On June
            22, 2007, AmerisourceBergen entered into a settlement that resulted
            in the suspension of its DEA registration;

      b.    On November 28, 2007, the DEA issued an Order to Show Cause and
            Immediate Suspension Order against the Cardinal Health Auburn,
            Washington Distribution Center for failure to maintain effective
            controls against diversion of hydrocodone;

      c.    On December 5, 2007, the DEA issued an Order to Show Cause and
            Immediate Suspension Order against the Cardinal Health Lakeland,
            Florida Distribution Center for failure to maintain effective controls
            against diversion of hydrocodone;

      d.    On December 7, 2007, the DEA issued an Order to Show Cause and
            Immediate Suspension Order against the Cardinal Health Swedesboro,
            New Jersey Distribution Center for failure to maintain effective
            controls against diversion of hydrocodone;

      e.    On January 30, 2008, the DEA issued an Order to Show Cause and
            Immediate Suspension Order against the Cardinal Health Stafford,
            Texas Distribution Center for failure to maintain effective controls
            against diversion of hydrocodone;



                                        172
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 173 of 212




      f.    On May 2, 2008, McKesson Corporation entered into an
            Administrative Memorandum of Agreement (“2008 MOA”) with the
            DEA which provided that McKesson would “maintain a compliance
            program designed to detect and prevent the diversion of controlled
            substances, inform DEA of suspicious orders required by 21 C.F.R. §
            1301.74(b), and follow the procedures established by its Controlled
            Substance Monitoring Program”;

      g.    On September 30, 2008, Cardinal Health entered into a Settlement and
            Release Agreement and Administrative Memorandum of Agreement
            with the DEA related to its Auburn, Lakeland, Swedesboro and
            Stafford Facilities. The document also referenced allegations by the
            DEA that Cardinal failed to maintain effective controls against the
            diversion of controlled substances at its distribution facilities located
            in McDonough, Georgia, Valencia, California and Denver, Colorado;

      h.    On February 2, 2012, the DEA issued an Order to Show Cause and
            Immediate Suspension Order against the Cardinal Health Lakeland,
            Florida Distribution Center for failure to maintain effective controls
            against diversion of oxycodone;

      i.    On December 23, 2016, Cardinal Health agreed to pay a $44 million
            fine to the DEA to resolve the civil penalty portion of the
            administrative action taken against its Lakeland, Florida Distribution
            Center; and

      j.    On January 5, 2017, McKesson Corporation entered into an
            Administrative Memorandum Agreement with the DEA wherein it
            agreed to pay a $150 million civil penalty for violation of the 2008
            MOA as well as failure to identify and report suspicious orders at its
            facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI,
            Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen MA,
            Santa Fe Springs CA, Washington Courthouse OH and West
            Sacramento CA.

      381. These actions against them confirm that Distributor Defendants knew

they had a duty to maintain effective controls against diversion, design and operate

                                        173
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 174 of 212




a system to disclose suspicious orders, and to report suspicious orders to the DEA.

These actions also demonstrate that Manufacturer Defendants were aware of the

enforcement against their distributors and the diversion of the prescription opioids

and a corresponding duty to report suspicious orders.

      Defendants’ RICO Liability

      382. The pattern of racketeering activity is continuing as of the date of this

Complaint and will likely continue into the future unless enjoined by this Court.

      383. The last racketeering incident occurred within five years of the

commission of a prior incident of racketeering.

      384. Each instance of racketeering activity alleged herein was related, had

similar purposes, involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, including Plaintiffs.

Defendants calculated and intentionally crafted the diversion scheme to increase

and maintain profits from unlawful sales of opioids, without regard to the effect

such behavior would have on Georgia or Plaintiffs. Defendants were aware that

Plaintiffs rely on Defendants to maintain a closed system of manufacturing and

distribution to protect against the non-medical diversion and use of their

dangerously addictive opioid drugs.




                                        174
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 175 of 212




      385. By intentionally refusing to report and halt suspicious orders of their

prescription opioids, Defendants engaged in a fraudulent scheme and unlawful

course of conduct constituting a pattern of racketeering activity.

      386. It was foreseeable to Defendants that refusing to report and halt

suspicious orders, as required by the CSA and Code of Federal Regulations would

harm Plaintiffs by allowing the flow of prescriptions opioids from appropriate

medical channels into the illicit drug market.

      387. Defendants are liable to Plaintiffs under RICO.

      RICO Damages

      388. Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiffs’ injuries because Plaintiffs paid for costs

associated with the opioid epidemic. These harms are on-going.

      389. Plaintiffs’ injuries, were, and are being, proximately caused by

Defendants’ racketeering activities. But for Defendants’ conduct, Plaintiffs would

not have paid the exorbitant costs and expenditures required as a result of the

epidemic, including but not limited to (1) costs for providing medical care and

detoxification services to patients suffering from opioid disorders or other related

addiction or disease; (2) costs for providing treatment, counseling, and

rehabilitation services to patients suffering from opioid disorders or other related


                                         175
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 176 of 212




addiction or disease; (3) costs associated with providing residential housing,

vocational training, transportation and ongoing support services to patients

suffering from opioid disorders or other related addiction or disease; (4) costs

associated with providing care and counseling for children whose parents suffer

from opioid related disabilities or incapacitation; (5) costs for treating pregnant or

parenting women with opioid abuse disorders; and (6) lost revenue for writing off

uncompensated care related to opioid abuse or likely opioid abuse disorders.

      390. Plaintiffs have injuries that were directly caused by Defendants’

racketeering activities.

      391. Plaintiff seeks all legal and equitable relief as allowed by law,

including but not limited to, actual damages, treble damages, equitable relief,

forfeiture as deemed proper by the Court, attorney’s fees and all costs and

expenses of suit and pre and post-judgment interest.

                                     COUNT II

                               RICO CONSPIRACY
                               (18 U.S.C. § 1962(d))

                              (Against All Defendants)

      392. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.



                                          176
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 177 of 212




         393. At all relevant times, Defendants were associated with the RICO

Enterprise and agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they

agreed to conduct and participate, directly and indirectly, in the conduct of the

affairs of the RICO Enterprise through a pattern of racketeering activity. Under

Section 1962(d) it is unlawful for “any person to conspire to violate” Section

1962(c), among other provisions. 144

         394. Defendants conspired to violate Section 1962(c), as alleged more fully

in Count I, by conducting the affairs of the RICO Enterprise through a pattern of

racketeering activity, as incorporated by reference herein.

                                         COUNT III

                     GEORGIA DRUG DEALER LIABILITY ACT
                           (O.C.G.A. § 51-1-46, et. seq)

                                   (Against All Defendants)

         395. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

         396. Georgia’s Drug Dealer Liability Act (DDLA),145 provides a civil

remedy against participants in “illegal marketing” of controlled substances for

“damages to persons in a community as a result of illegal drug use.”146


144
      18 U.S.C. § 1962(d).
145
      O.C.G.A. §51-1-46, et seq.

                                          177
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 178 of 212




         397. The DDLA defines “participat[ion] in illegal marketing” as

“[m]anufacturing, distributing, or delivering or attempting or conspiring to

manufacture, distribute, or deliver, a controlled substance” in violation of federal

or state law.

         398. A controlled substance within the meaning of the DDLA is defined as

a substance referenced under O.C.G.A. § 16-13-26(4), which, in turn, is defined as

“a drug, substance, or immediate precursor in Schedules I through V of Code

Sections 16-13-25 through 16-13-29 and Schedules I through V of 21 C.F.R. Part

1308.” 147

         399. Defendants distributed prescription opioids which are included within

this list and are therefore controlled substances, including but not limited to,

hydrocodone, oxycodone, oxymorphone, Roxicodone, OxyContin, Opana, and

Lortab.

         400. Defendants did so in violation of state and federal laws such as those

which require registered distributors of controlled substances to report suspicious

orders.

         401. Among the persons to whom the DDLA provides a remedy is “a

medical facility, insurer, governmental entity or other legal entity that financially
146
      O.C.G.A. § 51-1-46(d).
147
      O.C.G.A. § 51-1-46(c)(1).

                                         178
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 179 of 212




supports a drug treatment or other assistance program for, or that otherwise

expends money or provides unreimbursed service on behalf of, the individual

abuser.” 148

       402. The CSBs pay for drug treatments as contemplated by the DDLA and

have expended significant sums of money as a result of the illegal distribution of

opioids in Georgia.

       403. One of the intents of the DDLA, among others, is “to shift, to the

extent possible, the cost of the damage caused by the existence of the illegal drug

market in a community to those who illegally profit from that market.”149

       404. The CSBs may bring an action and recover damages under the DDLA

on behalf of a person injured by an individual drug abuser for injury resulting from

an individual’s use of an illegal drug” from “a person who participated in illegal

marketing of the controlled substance.”150

       405. The definition of a person injured by an individual drug abuser

includes “a medical facility, insurer, governmental entity, or other legal entity that

financially supports a drug treatment or other assistance program for, or that




148
    O.C.G.A. § 51-1-46(d)(2)(D).
149
    O.C.G.A. § 51-1-46.
150
    O.C.G.A. § 51-1-46(d)(1).

                                         179
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 180 of 212




otherwise expends money or provides unreimbursed service on behalf of, the

individual drug abuser.” 151

      406. An “individual drug abuser” is one who uses a controlled substance

that is not obtained directly from or pursuant to a valid prescription or order of a

practitioner who is acting in the course of the practitioner's professional practice or

which use is not otherwise authorized by state law.152

      407. Upon information and belief, individuals acquired and used

hydrocodone, oxycodone, oxymorphone, Roxicodone, OxyContin, and/or Opana in

the communities the CSBs serve without a valid prescription and/or in a manner

not authorized by state law.

      408. Those who did so are “individual drug user[s]” under the DDLA.153

      409. The DDLA also imposes market liability on those who participate in

the unlawful distribution of drugs in the area where illegal drugs cause damages. 154

      410. Market share liability obtains if “(A) [t]he defendant was participating

in the illegal marketing of the market area controlled substance at the time the

individual abuser obtained or used that market area controlled substance; and (B)



151
    O.C.G.A. § 51-1-46(d)(2)(D).
152
    O.C.G.A. § 51-1-46(c)(2).
153
    O.C.G.A. § 51-1-46(c)(2).
154
    O.C.G.A. § 51-1-46(e).

                                         180
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 181 of 212




[t]he individual abuser obtained or used the market area controlled substance, or

caused the injury, within the defendant's market area.”155

         411. Defendants knowingly participated in the manufacture and/or

distribution of prescription opioids that reached the communities and counties the

CSBs serve during all times relevant to this complaint. For purposes of the DDLA,

Defendants’ “market area for the controlled substance” is the entire state of

Georgia, because Defendants participated in the illegal drug market by distributing

650 grams or more of a “specified controlled substance.”156

         412. As noted by the Georgia Attorney General’s Office, the Georgia

market for opioid pills prescribed between June 2016 and May 2017 reached 541

individual doses, or 54 per Georgia Resident. Given that a single oxycodone tablet,

on information and belief, weighs approximately 135 mg and contains at least 10

mg of opioid, there can be no question that each Manufacturer Defendant far

exceeded the 650 grams level.

         413. Manufacturer Defendants knowingly failed to implement effective

controls and procedures in their supply chains to guard against theft, diversion, and

abuse of prescription opioids, and failed to adequately design and operate a system

to detect, halt, and report suspicious orders of prescription opioids.
155
      O.C.G.A. § 51-1-46(e).
156
      O.C.G.A. §§ 51-1-46(c)(1)(6) & (e)(1)(D).

                                         181
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 182 of 212




      414. As a result, Manufacturer Defendants knowingly disseminated

massive quantities of prescription opioids for distribution to Gwinnett County,

including “pill mills,” and other drug dealers.

      415. Defendants also knowingly enabled and/or failed to prevent the illegal

diversion of prescription opioids into the black market, including “pill mills” as

well as and other drug dealers, knowing that such opioids would be illegally

trafficked and abused.

      416. The diversion of prescription opioids into the secondary, criminal

market and the increase in the number of individuals who abuse or are addicted to

opioids has placed unnecessary and excessive demands on the medical, public

health and financial resources of the CSBs.

      417. Having knowingly participated in the illegal distribution of

hydrocodone, oxycodone, oxymorphone, OxyContin, Roxicodone, and/or Opana,

the drugs purchased or obtained by residents of Georgia in the “market area of

controlled substance,” Defendants are liable to Plaintiffs under the DDLA for

damages caused by opioids in Georgia including those that were acquired from

distribution channels in which Defendants were only market participants.




                                         182
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 183 of 212




                                      COUNT IV

                                PUBLIC NUISANCE

                              (Against All Defendants)

      418. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

      419. A nuisance is "anything that causes hurt, inconvenience, or damage to

another and the fact that the act done may otherwise be lawful shall not keep it

from being a nuisance." 157

      420. Under Georgia law, a "public nuisance" is defined as one "which

damages all persons who come within the sphere of its operation, though it may

vary in its effects on individuals."158

      421. “Significant interference with 'the public health, the public safety, the

public peace, the public comfort or the public convenience' may support a finding

of public nuisance.”159 For example, the illegal dealing of drugs constitutes ample

evidence of a public nuisance. 160

      422. The public nuisance caused by Defendants includes the over-

saturation, unlawful availability, and abuse of opioids in the state for non-medical
157
    O.C.G.A. § 41-1-1.
158
    O.C.G.A. § 41-1-2.
159
    City of College Park v. 2600 Camp Creek, LLC, 293 Ga. App. 207, 208 (2008).
160
    Moreland v. Cheney, 267 Ga. 469 (1997).

                                          183
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 184 of 212




purposes, as well as the adverse social and environmental outcomes associated

with widespread illegal opioid use.         Manufacturer Defendants deceptively

marketed their opioids to change the prescribing habits of doctors and increase

their use for non-cancer chronic pain.         Distributor Defendants knowingly,

intentionally, recklessly, and/or negligently disseminated massive quantities of

prescription opioids to suspect physicians and pharmacies and into the black

market, including so-called “pill mills” and other dealers.

      423. Defendants knew or should have known that their promotion of opioid

use and failure to prevent the diversion of opioids for illicit use would create a

public nuisance. As a Schedule II controlled substance, prescription opioids are as

addictive and dangerous as heroin and, not surprisingly, addiction to prescription

opioids has caused an increase in the prevalence of heroin within Georgia.

      424. Defendants' actions were a substantial factor in opioids becoming

widely available and widely used. Without Defendants' actions, opioid use would

not have become so pervasive and widespread and the enormous public health

hazard of opioid overuse, abuse, and addiction that now exists would have been

averted.




                                        184
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 185 of 212




      425. The public nuisance created by Defendants has caused, and continues

to cause, significant harm to, and the expenditure of taxpayer dollars by the CSBs,

including, but not limited to:

      a.     The staggering rate of opioid use among adults in Georgia has led to
             unnecessary opioid abuse, addiction, injuries, overdose, and deaths.

      b.     Defendants' success in extending the market for opioids to new
             patients and chronic conditions has also created an abundance of
             drugs available for illicit use and fueled a new wave of addiction,
             abuse, and injury. Defendants' scheme created a new secondary
             market for opioids - providing both the supply of narcotics to sell and
             the demand of addicts to buy them.

      c.     The diversion of opioids into the secondary, illicit market and the
             increase in the number of individuals who abuse or are addicted to
             opioids has placed unnecessary and excessive demands on the
             medical, public health, and financial resources of the CSBs.

      d.     Adults and children in Georgia who have never taken opioids have
             also suffered the costs of Defendants' public nuisance. Many have
             endured both the emotional and financial costs of caring for loved
             ones addicted to or injured by opioids. All of these problems harm the
             CSBs by diminishing its revenues and forcing it to make increased
             expenditures on treating opioid abuse related services.

      e.     The addictive nature of prescription opioids has also spawned a new
             crisis of heroin and fentanyl abuse and death. Use and overdoses from
             use of heroin and heroin contaminated with fentanyl have skyrocketed
             as users have switched from prescription opioids to illegal opioids.

      426. The CSBs and the patients they serve have a right to be free from

conduct that endangers their health and safety. Yet, Defendants have engaged in

conduct which endangers or injures the health and safety of the CSBs and their

                                        185
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 186 of 212




patients by their production, promotion, marketing of opioids for use by patients of

the CSBs and their failure to monitor, report, and prevent such abuses.

      427. The CSBs’ resources are being overwhelmed in efforts to address the

opioid epidemic.

      428. Each Defendant has created or assisted in the creation of a condition

that is injurious to the health and safety of the CSBs and their patients, and

interferes with the comfortable enjoyment of life and property of entire

communities and/or neighborhoods.

      429. Defendants’ conduct has caused deaths, serious injuries, and a severe

disruption of the public peace, order, and safety, fueling the homeless and heroin

crises facing the CSBs. Defendants’ conduct is ongoing and continues to produce

permanent and long-lasting damage.

      430. The health and safety of the patients of the CSBs, including those who

use, have used, or will use opioids, as well as those affected by the users of

opioids, are matters of substantial public interest and of legitimate concern to the

CSBs’ patients.

      431. Defendants’ conduct has impacted and continues to impact a

substantial number of people within the CSBs’ communities and is likely to

continue causing significant harm.


                                        186
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 187 of 212




      432. But for Defendants’ actions, opioid use and ultimately its misuse and

abuse are widespread, and the massive epidemic of opioid abuse that currently

exists could have been avoided.

      433. At all relevant times, Defendants possessed the right, ability,

knowledge, opportunity, and position to control the nuisance-causing outflow of

prescription opioids to pharmacy locations and other points of sale in Georgia.

Defendants had the power to shut off the supply of illicit opioids into the state, or

to control their flow so that widespread diversion did not occur. Defendants could

have stopped providing false information to the market about the dangers of

opioids and the highly addictive nature of their opioid products. Had Defendants

adhered to their duties, as discussed in detail in this Complaint, there would be no

opioid crisis.

      434. The opioid crisis created by the Defendants is not a single

accident/event or one-off emergency situation necessitating the normal provision

of police, fire, and emergency services. Rather, it is a public harm of substantial

magnitude that was caused by the Defendants’ intentional, repetitive, and

persistent course of deceptive conduct.

      435. Defendants’ intentional misconduct alleged in this case does not

concern a discrete event or discrete emergency, and is not part of the normal and


                                          187
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 188 of 212




expected costs of a local government’s existence. The CSBs allege wrongful acts

which are neither discrete nor of the sort a local government can reasonably

expect.

        436. The Defendants designed and implemented materially deceptive

marketing campaigns to mislead the public and prescribers about the risks and

benefits of prescription opioids

        437. The CSBs have incurred expenditures over and above their ordinary

services and their effort to combat this unique crisis will continue for years to

come.

        438. Further, Defendants’ conduct has not only impacted the CSBs’

delivery of services supported by public funding, but also services supported by

cash-paying patients or patients with private insurance.

        439. The CSBs have suffered, and will continue to suffer, unique harms as

described in this Complaint, which are of a different kind and degree than Georgia

citizens at large. These are harms that can only be suffered by the CSBs.

        440. The CSBs are asserting their own rights and interests and their claims

are not based upon or derivative of the rights of others.

        441. As detailed herein, the Defendants’ conduct has interfered, and

continues to interfere with rights common to the general public and has caused the


                                         188
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 189 of 212




CSBs to sustain damages special and particular of a kind not sustained by the

general public, including, but not limited to increased behavioral and other

healthcare expenditures, increased substance abuse treatment expenditures,

increased medical care services, lost economic opportunity, including but not

limited to costs related to the provision of uncompensated or undercompensated

care for patients with opioid abuse disorder.

      442. As a direct and proximate result of the public nuisance, the CSBs have

sustained harm by spending a substantial amount of money trying to respond,

assess, and solve the societal harms caused by Defendants' nuisance-causing

activity, including, but not limited to: (1) costs for providing medical care and

detoxification services to patients suffering from opioid disorders or other related

addiction or disease; (2) costs for providing treatment, counseling, and

rehabilitation services to patients suffering from opioid disorders or other related

addiction or disease; (3) costs associated with providing residential housing,

vocational training, transportation and ongoing support services to patients

suffering from opioid disorders or other related addiction or disease; (4) costs

associated with providing care and counseling for children whose parents suffer

from opioid related disabilities or incapacitation; (5) costs for treating pregnant or

parenting women with opioid abuse disorders; and (6) lost revenue for writing off


                                         189
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 190 of 212




uncompensated or undercompensated care related to opioid abuse or likely opioid

abuse disorders.

      443. For all of these reasons, this public nuisance is extraordinary in its

scope and severity. It is an unprecedented epidemic unseen in Georgia's history.

This nuisance is man-made, and a consequence of Defendants' premeditated plan

to profit by targeting multiple victims over a prolonged period of time using

misconduct, corruption and deceit.

      444. The nuisance created by Defendants' conduct is abatable.

      445. Defendants should be required to pay the expenses the CSBs have

incurred or will incur in the future to respond to this corporate-made crisis and

further to fully abate the nuisance.

                                       COUNT V

                                   NEGLIGENCE

                                  (All Defendants)

      446. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

      447. The elements of negligence under Georgia law are that a defendant

has "a legal duty; breached that duty; a causal connection exists between the




                                          190
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 191 of 212




defendant's conduct and the plaintiffs injury; and the plaintiff suffered

damages."161

      448. Each Defendant owed a duty of care to CSBs, their patients, and their

communities to exercise reasonable care in the manufacturing, marketing, and

distribution of highly dangerous opioid drugs in Georgia.

      449. In violation of this duty, Defendants have failed to take reasonable

steps to prevent the misuse, abuse, and over-prescription of opioids in the counties

the CSBs serve by misrepresenting the risks and benefits associated with opioids.

      450. The injuries and harms to the CSBs and their patients were

foreseeable, and in fact were foreseen by each Defendant.

      451. Defendants breached this duty by failing to take any action to prevent

or reduce the improper and unlawful manufacture, marketing as well as

distribution of the opioid drugs.

      452. Reasonably prudent wholesale drug manufactures, marketers, and

distributors would have anticipated the scourge of opioid addiction that would

wreak havoc on communities, including the CBS in the counties they serve, when

weighed against Defendants' conduct. Defendants were repeatedly warned by law

enforcement. The escalating amounts of addictive drugs flowing through
161
   Seymour Elec. and Air Conditioning Service, Inc. v. Statom, 309 Ga. App. 677
(2011).

                                        191
       Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 192 of 212




Defendants' businesses and the sheer volume of these prescription opioids further

alerted Defendants that addiction was fueling the increased consumption and that

legitimate medical purposes were not being served.

       453. Defendants knew or should have known that opioids were

unreasonably dangerous and were likely to cause addiction.

       454. Defendants were negligent in failing to monitor and guard against

third-party misconduct and participated and enabled such misconduct. Defendants

were negligent in failing to disclose suspicious orders for opioids to the State

pursuant to the requirements of Georgia law and the federal Controlled Substances

Act.

       455. Defendants' acts and omissions combined and concurred to impose an

unreasonable risk of harm to others and combined and concurred with the

negligent and/or criminal acts of third parties to impose an unreasonable risk of

harm to others.

       456. Defendants are in a class of a limited number of parties that can

legally manufacture and distribute opioids which places them in a position of great

trust by the State.




                                       192
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 193 of 212




      457. The trust placed in Defendants by the State through the license to

manufacture and distribute opioids in Georgia creates a duty on behalf of

Defendants to prevent diversion of the medications they supply.

      458. Defendants breached their duty to exercise the degree of care,

prudence, watchfulness, and vigilance commensurate to the dangers involved in

the transaction of their businesses.

      459. Defendants are in exclusive control of the management of the opioids

they manufacture, market, and distribute in Georgia.

      460. The CSBs are without fault and the injuries to the CSBs and the

residents they serve would not have occurred in the ordinary course of events had

Defendants used due care commensurate to the dangers involved in the

manufacture and distribution of opioids.

      461. Defendants’ conduct described above created and was the primary

cause of the conditions described above - Georgia’s opioid crisis, and directly

caused Plaintiffs’ damages. The cause and conditions giving rise to Plaintiffs’

damages resides with Defendants and not prescribing physicians, criminals, or

other third parties.

      462. Additionally, given the conduct of Defendants and conditions arising

therefrom, as described above, the actions of prescribing physicians, criminals, and


                                        193
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 194 of 212




other third parties related to excessive opioid use in Georgia was foreseeable, as

was the consequence thereof, including excessive prescriptions and criminal drug

activity.

        463. The CSBs have incurred expenditures over and above their ordinary

services and their effort to combat this unique crisis will continue for years to

come.

        464. Further, Defendants’ conduct has not only impacted the CSBs’

delivery of services supported by public funding, but also services supported by

cash-paying patients or patients with private insurance. The CSBs have suffered,

and will continue to suffer, unique harms as described in this Complaint, which are

of a different kind and degree than Georgia citizens at large. These are harms that

can only be suffered by the CSBs.

        465. The CSBs are asserting their own rights and interests and their claims

are not based upon or derivative of the rights of others.

        466. As detailed herein, the Defendants’ conduct has interfered, and

continues to interfere with rights common to the general public and has caused the

CSBs to sustain damages special and particular of a kind not sustained by the

general public, including, but not limited to increased behavioral and other

healthcare expenditures, increased substance abuse treatment expenditures,


                                         194
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 195 of 212




increased medical care services, and lost economic opportunity, including but not

limited to costs related to the provision of uncompensated or undercompensated

care for patients with opioid abuse disorder.

      467. As a direct and proximate cause of Defendants' negligence, the CSBs

have suffered and will continue to suffer harm, and are entitled to damages in an

amount determined at trial.

      468. Specifically, the CSBs seek economic damages from Defendants as

reimbursement for the costs associated with past, present, and future efforts to

permanently eliminate the hazards to public health and safety and abate this crisis.

Categories of past and continuing sustained damages include but are not limited to:

(1) costs for providing medical care and detoxification services to patients

suffering from opioid disorders or other related addiction or disease; (2) costs for

providing treatment, counseling, and rehabilitation services to patients suffering

from opioid disorders or other related addiction or disease; (3) costs associated

with providing residential housing, vocational training, transportation and ongoing

support services to patients suffering from opioid disorders or other related

addiction or disease; (4) costs associated with providing care and counseling for

children whose parents suffer from opioid related disabilities or incapacitation; (5)

costs for treating pregnant or parenting women with opioid abuse disorders; and


                                        195
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 196 of 212




(6) lost revenue for writing off uncompensated or undercompensated care related

to opioid abuse or likely opioid abuse disorders.

                                     COUNT VI

                             UNJUST ENRICHMENT

                                  (All Defendants)

      469. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

      470. As an expected and intended result of their conscious wrongdoing as

set forth in this Complaint, Defendants have profited and benefited from the opioid

epidemic.

      471. Unjust enrichment arises not only where an expenditure by one party

adds to the property of another, but also where the expenditure saves the other

from expense or loss.

      472. For years, the CSBs conferred a benefit on Defendants by attempting

to address all aspects of the opioid epidemic, including, but not limited to:

supplying medical care and treatment to opioid users; education, counseling,

rehabilitation, and therapy services to opioid users; abatement of nuisances; and

other efforts and remedial measures designed to address and curb the increasing

epidemic.


                                          196
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 197 of 212




      473. The CSBs have conferred a benefit upon Defendants by paying for

Defendants' externalities: the cost of the harms caused by Defendants' improper

marketing, promotion and distribution practices. Moreover, the CSBs have

incurred expenditures for treatments and services over and above the CSB’s

ordinary services.

      474. Defendants directly profited from the CSBs’ remedial expenditures.

Without such expenditures, there would not have been a profitable market for these

dangerous and addictive drugs. These expenditures have helped to sustain

Defendants' businesses.

      475. The opioid crisis created by the Defendants is not a single

accident/event or one-off emergency situation necessitating the normal provision

of police, fire, and emergency services. Rather, it is a public harm of substantial

magnitude that was caused by the Defendants’ intentional, repetitive, and

persistent course of deceptive conduct.

      476. Defendants’ intentional misconduct alleged in this case does not

concern a discrete event or discrete emergency, and is not part of the normal and

expected costs of a local government’s existence. The CSBs allege wrongful acts

which are neither discrete nor of the sort a local government can reasonably

expect.


                                          197
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 198 of 212




        477. The Defendants designed and implemented materially deceptive

marketing campaigns to mislead the public and prescribers about the risks and

benefits of prescription opioids

        478. The CSBs have incurred expenditures over and above their ordinary

services and their effort to combat this unique crisis will continue for years to

come.

        479. The CSBs have suffered, and will continue to suffer, unique harms as

described in this Complaint, which are of a different kind and degree than Georgia

citizens at large. These are harms that can only be suffered by the CSBs.

        480. The CSBs are asserting their own rights and interests and their claims

are not based upon or derivative of the rights of others.

        481. As detailed herein, the Defendants’ conduct has interfered, and

continues to interfere with rights common to the general public and has caused the

CSBs to sustain damages special and particular of a kind not sustained by the

general public, including, but not limited to increased behavioral and other

healthcare expenditures, increased substance abuse treatment expenditures,

increased medical care services, and lost economic opportunity, including but not

limited to costs related to the provision of uncompensated or undercompensated

care for patients with opioid abuse disorder.


                                         198
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 199 of 212




      482. Defendants were, and are, aware of these obvious benefits, and their

retention of these benefits is unjust. The misconduct alleged in this Complaint is

ongoing and persistent.

      483. Because of their conscious failure to exercise due diligence in

preventing diversion, Defendants obtained enrichment that they would not

otherwise have obtained. This enrichment was without justification.

      484. Defendants have unjustly retained benefits to the detriment of the

CSBs, and Defendants' retention of such benefits violates the fundamental

principles of justice, equity, and good conscience.

      485. Defendants, through the wrongful conduct described above, have been

unjustly enriched at the expense of the CSBs.

      486. In equity and good conscience, it would be unjust and inequitable to

permit Defendants to enrich themselves at the expense of the CSBs.

      487. The CSBs seek an order compelling Defendants to disgorge all unjust

enrichment to the CSBs and awarding such other, further, and different relief as

this Honorable Court may deem just.




                                        199
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 200 of 212




                                       COUNT VII

                               CIVIL CONSPIRACY

                                  (All Defendants)

      488. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

      489. Defendants engaged in (1) a common design between two or more

persons, (2) to accomplish by concerted action an unlawful purpose, or a lawful

purpose by unlawful means, (3) an overt act in furtherance of the conspiracy, and

(4) resulting in injury to the CSBs.

      490. Defendants engaged in one or more unlawful tortious activities to

further the conspiracy. The objects of the conspiracy were racketeering, nuisance,

negligence, fraud, misrepresentation and other unlawful tortious conduct as

described above in this Complaint. Defendants knew that these objects were

unlawful and would be accomplished by unlawful means such as fraud,

misrepresentations, and omissions.

      491. Defendants had a meeting of the minds on the object of or course of

action for this conspiracy. Defendants knew and agreed upon the unlawful object

of or course of action for this conspiracy. Defendants also knew that their wrongful




                                          200
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 201 of 212




actions would inflict injury upon the targets of the conspiracy, including the CSBs

and the communities they serve.

      492. As described above, Defendants committed multiple unlawful and

overt acts to further the object of or course of action for this conspiracy as

described above.

      493. These unlawful acts proximately caused the damages suffered by the

CSBs. Accordingly, the CSBs are entitled to recover their actual damages.

      494. Defendants conspired to create a public nuisance and to commit

tortious conduct and are therefore liable for the damages flowing from the

conspiracy.

                                     COUNT VIII

                              FALSE ADVERTISING
                            (O.C.G.A. § 10-1-420, et seq.)

                                    (All Defendants)

      495. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

      496. Defendants, in marketing opioids, made numerous false statements

about the nature of these drugs, including:

      a.      that they are safe;

      b.      that they are appropriate for the treatment of chronic, non-cancer pain;

                                          201
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 202 of 212




      c.     that they can improve bodily and mental function long-term or
             otherwise improve quality of life;

      d.     that they are safe and effective for continued, long-term use;

      e.     that they are not addictive;

      f.     that pseudoaddiction is a legitimate medical concept;

      g.     that patients who seem addicted are merely "pseudoaddicted," and
             should be treated with more opioids;

      h.     that opioid addiction is the product of problem patients and doctors,
             not inherently of opioids; and

      i.     that opioid abuse and addiction manifest themselves through snorting
             and injecting the drugs, and not oral or topical administration.

      497. These false statements were made in order to induce residents of

Georgia to purchase Defendants' opioids, and in turn, caused CSBs to expend

extraordinary resources and funds to treat such residents.

      498. These false statements were disseminated in public in the state

through marketing brochures, websites, publications, advertising in periodicals,

educational materials, speeches sponsored by Defendants, misleading scientific

studies, statements to medical professionals, and endorsement of statements by

others.

      499. Defendants knew or should have known these statements were false.



                                            202
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 203 of 212




                                     COUNT IX

                              NEGLIGENCE PER SE

                                  (All Defendants)

         500. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

         501. Georgia law provides that "[w]hen the law requires a person to

perform an act for the benefit of another or to refrain from doing an act which may

injure another, although no cause of action is given in express terms, the injured

party may recover for the breach of such legal duty if he suffers damage

thereby."162

         502. Defendants were under an obligation to implement a system to

monitor, identify, investigate, and halt suspicious orders and to stop and report

confirmed suspicious orders. Furthermore, Georgia law incorporates federal

requirements set out under the Controlled Substances Act and related controlled

substance laws and regulations.

         503. Each Defendant has an affirmative duty under Georgia and federal

law to act as a gatekeeper guarding against the diversion of the highly addictive,

dangerous opioid drugs. Federal law requires that distributors of Schedule II


162
      O.C.G.A. § 51-1-6.

                                          203
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 204 of 212




drugs, including opioids, maintain "effective control against diversion of particular

controlled substances into other than legitimate medical, scientific, and industrial

channels."163 Those requirements are adopted and incorporated into Georgia law,

as set out above.

        504. Defendants failed to implement an effective system for accomplishing

this duty and continued to ship suspicious orders to pharmacies and other

dispensers in Georgia, and they did not report such sales to the proper legal

authorities of the State of Georgia.

        505. As a result, opioid drugs have been diverted, illicitly used, and

abused, resulting in thousands of overdoses, hospitalizations, and deaths.

        506. That diversion proximately caused the opioid crisis which is the

source of the injuries here complained of.     Thousands of Georgia residents are

now struggling with addiction. Criminal enterprises are increasing the supply of

heroin and fentanyl to exploit the market for opioid addiction.

        507. The purpose of the disclosure requirement for suspicious orders of

opioids is to alert governing agencies and officials of the potential for abuse and

harm resulting from large quantities of opioids within a community.




163
      21 U.S.C. § 823(b)(l); 21 CFR 1301.74; . O.C.G.A. § 26-4-115.

                                        204
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 205 of 212




      508. The CSBs fall within the class of persons that O.C.G.A. § 26-4-115

and the Controlled Substances Act were intended to protect.

      509. The expenses incurred by the CSBs in combating the opioid epidemic

is the harm that the reporting requirements of O.C.G.A. § 26-4-115 and 21 U.S.C.

§ 823(b) were intended to prevent or mitigate.

      510. The Defendants’ illegal activity caused damages to the CSBs

including but not limited to costs for providing medical care and detoxification

services to patients suffering from opioid disorders or other related addiction or

disease; (2) costs for providing treatment, counseling, and rehabilitation services to

patients suffering from opioid disorders or other related addiction or disease; (3)

costs associated with providing residential housing, vocational training,

transportation and ongoing support services to patients suffering from opioid

disorders or other related addiction or disease; (4) costs associated with providing

care and counseling for children whose parents suffer from opioid related

disabilities or incapacitation; (5) costs for treating pregnant or parenting women

with opioid abuse disorders; and (6) lost revenue for writing off uncompensated or

undercompensated care related to opioid abuse or likely opioid abuse disorders.

      511. Defendants are liable for the costs of all of the CSBs’ damages

including those just listed, other past damages already incurred as a result of


                                         205
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 206 of 212




Defendants’ actions, and all future damages that will likely occur as a result of

those actions.

         512. The CSBs seek to recover the cost of all such damages resulting from

Defendants’ negligence per se.

         513. The CSBs seek all legal and equitable relief as allowed by law.

                                     COUNT X

                        BREACH OF STATUTORY DUTY
                             (O.C.G.A. § 51-1-6)

                                   (All Defendants)

         514. Plaintiffs reincorporate by reference and reallege the factual

allegations stated in paragraphs 1-287 as if fully set forth herein.

         515. Each Defendant had a duty under federal and state law to maintain

effective controls against diversion of prescription opioids and to guard against,

prevent, and report suspicious orders of opioids. 164

         516. The purpose of the disclosure requirement for suspicious orders of

opioids is to alert governing agencies and officials of the potential for abuse and

harm resulting from large quantities of opioids within a community, so drug

diversion does not occur.



164
      O.C.G.A. § 26-4-115.

                                          206
         Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 207 of 212




         517. These laws are intended to protect the health, safety, and welfare of

individuals and communities, such as the CSBs from the deleterious effects of

dangerous drugs by prevention their diversion. 165 Thus, they were enacted for the

CSBs’ benefit.

         518. As explained in the facts section of this Complaint, Defendants'

failure to monitor and report suspicious orders of opioids and shipment of

suspicious orders resulted in injury to the CSBs and the communities they serve.

         519. In violation of these laws, Defendants intentionally distributed and/or

sold dangerous controlled substances without performing these required duties.

         520. Defendants’ violations of these laws breached a legal duty to Plaintiff

created by the laws.

         521. This breach resulted in the type of harm the laws seek to prevent,

namely the diversion, illegal sale, and illegal use of dangerous drugs, which caused

injury to the CSBs and the communities they serve.

         522. Under O.C.G.A. § 51–1–6, Plaintiff is entitled to recover damages for

caused by Defendants’ breach of their legal duty to maintain effective controls

against diversion of prescription opioids and to guard against, prevent, and report

suspicious orders of opioids.


165
      21 U.S.C.A. § 801; O.C.G.A. § 26-4-2.

                                         207
        Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 208 of 212




        523. The expenses incurred by the CSBs in combating the opioid epidemic

is the harm that the reporting requirements of O.C.G.A. § 26-4-115 were intended

to prevent or mitigate.

        524. The CSBs seek economic losses (direct, incidental, or consequential

pecuniary losses) resulting from Defendants' tortious activity.

        525. The CSBs seek all legal and equitable relief as allowed by law.

                              PUNITIVE DAMAGES

        526. Plaintiffs re-incorporate by reference and re-allege the factual

allegations stated in paragraphs 1-287 as though fully set forth herein.

        527. The facts set forth above regarding Defendants’ conduct, including

but not limited to Defendants’ fraudulent and intentionally deceptive acts,

demonstrate that the Defendants’ actions showed willful misconduct, malice,

fraud, wantonness, oppression, or that entire want of care which would raise the

presumption of conscious indifference to consequences.

        528. Defendants' actions had a great probability of causing substantial

harm.

        529. When such harm materialized, Defendants acted with a prolonged

indifference to the dire consequences of their wrongful conduct.




                                         208
      Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 209 of 212




      530. Defendants were selling dangerous drugs statutorily categorized as

posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed

incorrectly or diverted to other than legitimate medical, scientific, or industrial

channels.

      531. Because of the severe level of danger posed by, and indeed visited

upon the CSBs the communities they serve, Defendants owed a high duty of care

to ensure that these drugs were only used for proper medical purposes.

      532. Defendants not only failed to live up this duty, but actively sought to

undermine it in order to increase the volume of drugs they could sell.

      533. Defendants chose profit over the safety of the community, and an

award of punitive damages is appropriate as punishment and a deterrent.

      534. In light of Defendants' wrongful conduct, an award of punitive

damages is necessary to deter future operations that harm the public.

      535. By engaging in the above-described wrongful conduct, Defendants

also engaged in willful misconduct and exhibited an entire want of care that gives

rise to the presumption of a conscious indifference to consequences.




                                        209
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 210 of 212




                        PRAYER FOR RELIEF

WHEREFORE, the CSBs pray for an Order that this Honorable Court:

A.   Enter judgment against Defendants jointly and severally and in favor

     of the CSBs;

B.   Award nominal, economic and/or consequential damages in an

     amount sufficient to fairly and completely compensate the CSBs for

     all compensable damages;

C.   Award actual and treble damages based on the amount of the CSBs’

     losses resulting from Defendants’ violations of the Racketeer

     Influenced and Corrupt Organization (“RICO”);

D.   Award pre-judgment and post-judgment interest as provided by law,

     and award such interest at the highest legal rate;

E.   Enter an Order requiring Defendants to fund an "abatement fund" for

     the purpose of abating the opioid nuisances, and further order

     Defendants to pay damages sufficient to fund an abatement plan;

F.   Award the CSBs the costs of suit, including reasonable attorneys' fees

     as provided by law;




                                 210
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 211 of 212




G.    Require Defendants to disgorge their unjustly acquired profits and

      other monetary benefits resulting from their unlawful conduct and

      provide restitution to the CSBs; and

H.    Award such further and additional relief as the Court may deem just

      and proper under the circumstances.


                           JURY DEMAND

The CSBs demand, and are entitled to, a trial by jury on all issues so triable.

Respectfully submitted, this 20th day of August, 2020.

                                 /s/ Charles W. Byrd
                                 Charles W. Byrd
                                 Georgia Bar No. 100850
                                 Jay F. Hirsch
                                 Georgia Bar No. 357185
                                 Michael J. Moore
                                 Georgia Bar No. 520109
                                 Courtney L. Mohammadi
                                 Georgia Bar No. 566460
                                 Elizabeth S. White
                                 Georgia Bar No. 258844

                                 Pope, McGlamry, Kilpatrick, Morrison &
                                 Norwood, P.C.
                                 3391 Peachtree Road, NE, Suite 300
                                 P.O. Box 19337 (31126-1337)
                                 Atlanta, GA 30326
                                 (404) 523-7706
                                 efile@pmkm.com
                                 chuckbyrd@pmkm.com
                                 jayhirsch@pmkm.com

                                  211
Case 1:20-cv-03442-SDG Document 1 Filed 08/20/20 Page 212 of 212




                             michaelmoore@pmkm.com
                             courtneymohammadi@pmkm.com
                             lizwhite@pmkm.com

                             Counsel for Plaintiff CSBs




                              212
